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                                      215 30, 2020                                 ·

  1                    UNITED STATES DISTRICT COURT

  2                    SOUTHERN DISTRICT OF FLORIDA

  3                     CASE NO. 9:18-cv-80176-BB/BR

  4
       IRA KLEIMAN, as the personal representative
  5    of the Estate of David Kleiman, and
       W&K Info Defense Research, LLC,
  6
                   Plaintiffs,
  7
       -vs-
  8
       CRAIG WRIGHT,
  9
                   Defendant.
 10

 11    * * * * * * * * * * * * * * * * * * *

 12    VIDEOTAPED TELECONFERENCE DEPOSITION OF JIMMY NGUYEN

 13    DATE TAKEN: April 30, 2020

 14    TIME: 12:05 p.m. - 7:35 p.m.

 15
       TAKEN BEFORE: RICK E. LEVY, RPR, FPR
 16                  AND NOTARY PUBLIC

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       1   APPEARANCES:                                                  1                       ---
       2   On behalf of the Plaintiff:
       3        VEL FREEDMAN, ESQUIRE                                    2        THE VIDEOGRAPHER: We are now on the record.
                ROCHE FREEDMAN, P.A.                                     3   Participants should be aware that this proceeding
       4        200 S. Biscayne Boulevard
                Suite 5500
                                                                         4   is being recorded. As such all conversations held
       5        Miami, Florida 33131                                     5   will be recorded unless there is a request or
       6        ANDREW BRENNER, ESQUIRE
                                                                         6   agreement to go off the record. Private
                BOIES SCHILLER & FLEXNER, P.A.
       7        100 S.E 2nd Avenue                                       7   conversations and attorney-client interaction
                Suite 2800                                               8   should be held outside the presence of this remote
       8        Miami, Florida 33131
                abrenner@bsfllp.com                                      9   interface. This is the remote video recorded
       9                                                                10   deposition of James Nguyen taken by counsel for the
      10   On behalf of the Defendant:
      11        ANDRES RIVERO, ESQUIRE
                                                                        11   plaintiff.
                ZALMAN KASS, ESQUIRE                                    12        Today is Thursday April 30th 2020 and the time
      12        RIVERO MESTRE, P.A.
                                                                        13   is now 12:04 p.m in the Eastern Time Zone. We are
                2525 Ponce de Leon Boulevard
      13        Suite 1000                                              14   here in the matter of Kleiman vs Wright. My name
                Coral Gables, Florida 33134                             15   is Michael Hollander, remote video technician on
      14
      15   APPEARING ON BEHALF OF THE WITNESS:                          16   behalf of US Legal Support. I am not related to
      16        SPENCER SILVERGLATE, ESQUIRE                            17   any party in this action nor am I financially
                TREVOR GILLUM, ESQUIRE
      17        CLARKE SILVERGLATE, P.A.                                18   interested in the outcome.
                799 Brickell Avenue                                     19        At this time will the reporter Rick Levy on
      18        Suite 900
                Miami, Florida 33131
                                                                        20   behalf of US Legal please enter the statement for
      19                                                                21   remote proceedings into the record.
      20   Also Present: Michael Hollander, The Videographer
                                                                        22        THE COURT REPORTER: The attorneys
      21
      22                                                                23   participating in this deposition acknowledge that I
      23                                                                24   am not physically present in the deposition room
      24
      25                                                                25   and that I will be reporting this deposition

                                                               Page 3                                                         Page 5
       1                               - - -                             1   remotely.
                                      I N D E X
       2                               - - -                             2        They further acknowledge that in lieu of an
       3   WITNESS:            DIRECT    CROSS    REDIRECT    RECROSS
                                                                         3   oath administered in person I will administer the
           JIMMY NGUYEN
       4   BY MR. FREEDMAN:         6                                    4   oath remotely. This arrangement is pursuant to the
       5
       6                                 - - -
                                                                         5   Florida Supreme Court Administrative Order No.
                                     E X H I B I T S                     6   AOSC20-16.
       7                                 - - -
       8   NUMBER                                      PAGE
                                                                         7        The parties and their counsel consent to this
           PLAINTIFF'S   EX.   1                        15               8   arrangement and waive any objections to this manner
       9   PLAINTIFF'S   EX.   2                        24
           PLAINTIFF'S   EX.   3                        29               9   of reporting. Please indicate your agreement by
      10   PLAINTIFF'S   EX.   4                        45              10   stating your name and your agreement on the record.
           PLAINTIFF'S   EX.   5                        53
      11   PLAINTIFF'S   EX.   6                        54              11        MR. FREEDMAN: Vel Freedman for the
           PLAINTIFF'S   EX.   7                        67              12   plaintiffs, we agree.
      12   PLAINTIFF'S   EX.   8                        76
           PLAINTIFF'S   EX.   9                        102             13        MR. RIVERO: Andres Rivero for Dr. Wright, we
      13   PLAINTIFF'S   EX.   10                       124
           PLAINTIFF'S   EX.   11                       140
                                                                        14   agree.
      14   PLAINTIFF'S   EX.   12                       147             15        MR. KASS: Zalman Kass for Dr. Craig Wright,
           PLAINTIFF'S   EX.   13                       149
      15   PLAINTIFF'S   EX.   14                       152
                                                                        16   we agree.
           PLAINTIFF'S   EX.   15                       157             17        MR. SILVERGLATE: Spencer Silverglate, counsel
      16   PLAINTIFF'S   EX.   16                       161
           PLAINTIFF'S   EX.   17                       167             18   for the witness Jimmy Nguyen, we agree.
      17   PLAINTIFF'S   EX.   18                       172             19        MR. GILLUM: Trevor Gillum with Jimmy Nguyen
           PLAINTIFF'S   EX.   19                       176
      18   PLAINTIFF'S   EX.   20                       192             20   agree.
           PLAINTIFF'S   EX.   21                       195             21        THE WITNESS: My name is James. I go by Jimmy
      19
      20                                                                22   Nguyen, N-G-U-Y-E-N. I declare my testimony in
      21
                                                                        23   this matter is under penalty of perjury.
      22
      23                                                                24                       ---
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      25
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       1   Thereupon,                                                  1        A. Yes.
       2                       (JAMES NGUYEN)                          2        Q. And you understand both by a court reporter
       3                       having been first duly sworn or         3   who is taking a transcript and a videographer who is
       4   affirmed, was examined and testified as follows:            4   taking a video?
       5                      DIRECT EXAMINATION                       5        A. Yes.
       6   BY MR. FREEDMAN                                             6        Q. And you understand that your testimony may be
       7        Q. Good morning Mr. Nguyen, how are you?               7   shown to a jury at some point in this case?
       8        A. Fine. How are you?                                  8        A. Yes, I understand that.
       9        Q. Before we just get started with the                 9        Q. And I know you're a lawyer but you understand
      10   formalities of the deposition I just wanted to lay out a   10   that your testimony is being given today under oath,
      11   quick schedule the way I was hoping this would go. I       11   correct?
      12   know it's about 9:00 by you. Obviously we can take some    12        A. Yes, I do.
      13   breaks but I wanted to take our lunch break at 12:00 by    13        Q. If you don't understand a question,
      14   you which would be 3:00 here.                              14   Mr. Nguyen, I need you to let me know and I'll re-ask
      15             A break for about an hour or hour and 15 if      15   it, is that fair?
      16   that's enough for you. Then if we still have more to go    16        A. Yes, that's fair.
      17   we can finish up and if we're done obviously we're done.   17        Q. If you don't I will assume you understood the
      18        A. Okay.                                              18   question and I'm going to rely on your answer, okay?
      19        Q. All right.                                         19        A. Okay.
      20             MR. RIVERO: Vel, if I may, just for avoidance    20        Q. Are you -- I'm going to also assume you have
      21        of doubt we're going to designate the deposition as   21   familiarity with the groundrules of a deposition like
      22        confidential and then review it subsequently to       22   oral responses and breaks and anything like that given
      23        de-designate but just for avoidance of that we're     23   your experience. Tell me if I'm wrong.
      24        invoking that.                                        24        A. Generally. It's been a number of years since
      25                                                              25   I've been involved in a deposition.

                                                           Page 7                                                          Page 9
       1   BY MR. FREEDMAN                                             1        Q. Do you want me to go through? I'll go through
       2        Q. Mr. Nguyen, can you please state your name --       2   them just to refresh your memory. You know I need you
       3   just before we begin am I pronouncing it correctly, is      3   to give oral responses -- sorry?
       4   it Nguyen?                                                  4        A. I haven't practiced law in a while so it's
       5        A. Tough name to pronounce. That's good.               5   been a while.
       6        Q. What is properly I'll give it one shot and          6        Q. So I need you to give oral responses if you
       7   then we'll move on.                                         7   can so the court reporter can take them down.
       8        A. Well, Vietnamese pronunciation is Nguyen but        8   Intuitively we nod our heads but I actually need you to
       9   that's very difficult for American English and you so a     9   say yes or no. And if you need a break at any point in
      10   lot of people say Nguyen or sometimes I just say Nguyen.   10   time just let me know. This isn't a marathon. We'll
      11        Q. Got it. I am going to stick to Nguyen because      11   stop. You can stretch your legs, get a drink, whatever,
      12   you are right I would not have gotten that correct.        12   use the restroom. Are you on any medications that would
      13   Mr. Nguyen, can you please state your name and date of     13   affect your ability to testify today?
      14   birth for the record?                                      14        A. No.
      15        A. Name is N-G-U-Y-E-N. I pretty much go by           15        Q. Have you ever been deposed before?
      16   Jimmy                                        .             16        A. I believe so. I have never testified in court
      17        Q.                                                    17   proceedings before but I think I've been deposed.
      18        A.                                    ,           .   18        Q. Did it have anything to do with the matters at
      19        Q. Actually Mr. Nguyen, every once in a while         19   issue in this case?
      20   your voice is cutting out a little bit. I don't know if    20        A. No.
      21   there is a microphone if you can bring it a little         21        Q. One last housekeeping matter. Do you hold
      22   closer?                                                    22   citizenship for any country besides the United States?
      23        A. I'll talk louder.                                  23        A. No.
      24        Q. That works. Perfect. Mr. Nguyen, you               24        Q. Can you give me a brief professional
      25   understand that your testimony is being recorded today?    25   background of your career?
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       1        A. Sure. I have been a lawyer most of my               1   departure from the law firm.
       2   professional career. I graduated law school in 1995 and     2        Q. Can you walk me through the positions you held
       3   I was in private practice at corporate law firms from       3   at nChain starting from -- actually take one step back.
       4   1995 until I left legal practice, at least private          4   Are you still at nChain today?
       5   practice, in early 2017.                                    5        A. No, I am not.
       6             So I have been an associate and then a partner    6        Q. Can you walk me through the positions you held
       7   at several major law firms. I can list them for you if      7   at nChain starting from November 2016 when you started
       8   you need?                                                   8   and going up until you left?
       9        Q. Sure.                                               9        A. Sure. In the beginning I didn't have a formal
      10        A. Most of my career was spent at Foley & Lardner     10   title. The company was fairly new and part of my, you
      11   in the Los Angeles office. I lived in Los Angeles most     11   know, job that I was asked to do was help figure out a
      12   of my life. Foley & Lardner in Los Angeles with a          12   number of things at the company such as in particular
      13   little gap in between where I went to a boutique firm      13   focusing on its IP program since my legal practice that
      14   before I came back. Then I think I was in total at         14   I had in law was focused on IP and digital technology
      15   Foley & Lardner about 12 years or so. Then I went to       15   areas.
      16   help a Chicago based firm launch their Beverly Hills/Los   16             So in the beginning I would say I didn't have
      17   Angeles office called Wildman, Herald. It's now merged     17   a title. Eventually we gave me a title to cover those
      18   into another firm and then the last major firm of my       18   duties but the general area in which I was asked to work
      19   career was Davis, Wright & Tremaine where I was for        19   was the commercialization of intellectual property.
      20   about I think six years. All of those were in Los          20             Eventually I got the title of IP
      21   Angeles offices.                                           21   Communications and Legal Officer to summarize the
      22             Then after I left Davis, Wright & Tremaine to    22   variety of tasks that were described in my first
      23   work with nChain which I know we'll talk about I was       23   contract with nChain because it included IP strategy,
      24   there for a short period of time kept my own legal         24   some communications, marketing related things as well as
      25   practice to assist some of my longstanding clients on      25   legal advice related to particularly the IP.

                                                          Page 11                                                         Page 13
       1   some matters they wanted me to continue helping them on     1             Then I became later chief business officer for
       2   for a period of time. It wasn't something I did for a       2   a very short period of time because then I got asked to
       3   long time.                                                  3   become CEO of the company.
       4        Q. Go ahead.                                           4             So I was CEO for a while and then when I left
       5        A. Then I joined the Bitcoin world.                    5   that role I was appointed to be chair of what we call a
       6        Q. When did you stop practicing law?                   6   Strategic Advisory Board and I maintained that role
       7        A. Good question. I went on inactive status with       7   until last month, March 2020.
       8   the California Bar when I moved out of California which     8        Q. Did you say the Strategic Advisory Board?
       9   was in December 2018. I would say I stopped doing legal     9        A. Yes.
      10   work, legal advice work, towards the end of 2017.          10        Q. So I am going to try -- I think I took some
      11        Q. Then I know that you said you left private         11   notes I'll try to break it down a little bit. You
      12   practice to join nChain. Was that around 2018?             12   started with nChain in November 2016 and you didn't have
      13        A. No, we -- I signed on with nChain in I believe     13   a formal title until you got the title of IP
      14   it was in September of 2016. I notified my law firm        14   Communications and Legal Officer. How long did that no
      15   that I was intending to leave the law firm partnership     15   formal title period last?
      16   to pursue other ventures and it took -- there was kind     16        A. I have to correct you one thing about your
      17   of a bit of a transition process. A long period of time    17   question. I signed on to nChain in September of 2016, I
      18   to wind down, transfer my client relationships and         18   believe, not November.
      19   matters. I had been a lawyer for so long. Departing        19        Q. Sorry. I have September written down. I
      20   and you don't want to leave your clients in a difficult    20   don't know why I said November. September.
      21   situation.                                                 21        A. What was your question?
      22             It took me longer than I expected to actually    22        Q. There was this intermediate period where you
      23   complete the process to transition out of the law firm     23   didn't have a formal title. How long did that last?
      24   but I signed on to join nChain in September of 2016 I      24        A. From September 2016 to sometime I think in
      25   believe is the month and sort of overlapped with my        25   spring of 2017. I would say around March or April.


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       1        Q. Of 2017?                                            1   until December so about a month or so; right?
       2        A. Correct.                                            2        A. About right. About a month approximately.
       3        Q. And then -- so I'm assuming around -- I             3        Q. And then on December of 2017 you became the
       4   understand these aren't exact but around April of 2017      4   CEO?
       5   you obtained this title of IP Communications and Legal      5        A. Correct.
       6   Officer?                                                    6        Q. And that lasted until November of 2018;
       7        A. Yes.                                                7   correct?
       8        Q. And then how long did that last until you were      8        A. Yes, approximately. My transition out of the
       9   made chief business officer?                                9   CEO role was sort of gradual and so it's -- exact date
      10        A. I think -- I have these dates on my LinkedIn       10   is hard to define. It was right around -- there was I'm
      11   profile. I think I would say it was around September,      11   sure you've heard about a hash war in the Bitcoin cash
      12   October. I think October because I was only the chief      12   and Bitcoin SV world so it was right after that time.
      13   business officer for two months before I got asked to      13        Q. Got it. Then you slowly transitioned out in
      14   take on the CEO role and I took on the CEO role in 2017.   14   November of 2018 or so and then from about December of
      15   I think it was October 2017 when I became Chief Business   15   2018 until March of 2020 you were then the chair of the
      16   Officer.                                                   16   Strategic Advisory Board?
      17        Q. Got it. As you know this isn't a test so           17        A. Yes.
      18   you've referenced your LinkedIn page. So if that helps     18        Q. And at what point in this progression did you
      19   you I'm happy to bring that up on the screen for you.      19   stop performing any kind of legal services for nChain?
      20   Do you see that here?                                      20        A. I would say after I took the chief business
      21        A. I saw it for a second.                             21   officer title. I certainly still had to be involved in
      22        Q. What if I put it here and make it bigger. How      22   legal matters, particularly with outside counsel since I
      23   is that?                                                   23   was the executive on the team that was a former lawyer
      24        A. I can see that now.                                24   but I did -- was not acting in a legal advisor role I
      25             MR. FREEDMAN: Let's mark this as Exhibit 1       25   think after that point. Managing the legal affairs that

                                                          Page 15                                                         Page 17
       1        though I'm never going to be able to keep track of     1   happened but more from a business perspective.
       2        them all. One drawback of these electronic             2        Q. Got it. Who was your contact to initially
       3        depositions but I'll do my best and maybe Rick,        3   join nChain?
       4        Mr. Court reporter, you can help me here.              4        A. Robert MacGregor.
       5             (Plaintiff's Exhibit No. 1 was                    5        Q. How did you know Robert MacGregor?
       6             marked for identification.)                       6        A. I've known Rob for many years. Originally he
       7   BY MR. FREEDMAN                                             7   was a client contact of mine in my legal practice and
       8        Q. I'm going to scroll down here to your nChain        8   that's how I first got to know him.
       9   titles. Do you see that here?                               9        Q. Got it. Let's get back to that. When did you
      10        A. Yes.                                               10   first meet Calvin Ayre?
      11        Q. So I guess -- why don't we go down to the          11        A. A long time ago. I'm trying to remember. I
      12   bottom. You have from February 2017 to October 2017.       12   don't remember the exact year. I would say around 2006.
      13   So I guess if I'm reading this correctly that no formal    13        Q. What was the context of that meeting?
      14   title period probably went from September of 2016 until    14        A. When I was a lawyer I was asked to start doing
      15   February of 2017?                                          15   legal work for I think it was a media agency or media
      16        A. That's correct.                                    16   business that worked with or was related to his Bodog
      17        Q. And then we had February of 2017 you were the      17   business at the time?
      18   IP -- chief IP Communications and Legal Officer, right?    18        Q. Did you ever do legal work for him or his
      19        A. Yes.                                               19   companies?
      20        Q. That went about until November of 2017 it          20        A. I definitely did legal work for Bodog
      21   looks like; right?                                         21   companies. I'm trying to remember if -- I believe my
      22        A. Correct.                                           22   firm also did some legal work for him individually.
      23        Q. At which time you then became the Chief            23        Q. Did you yourself?
      24   Business Officer. Sorry, I'm reading it wrong. Then        24        A. I was involved in it since I was the law
      25   that lasted until as you said a very short period just     25   firms -- the relationship partner, the key contact with


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       1   the client but you use colleagues with other specialty      1        A. Probably 2015 but I don't know for sure.
       2   areas, you know, that are outside of my specialty area.     2        Q. Have you ever talked to Craig about that?
       3        Q. Is it safe to say you have not acted as a           3        A. About the introduction? I've talked to Craig
       4   lawyer for -- let me just ask you. When is the last         4   about his work with Stefan in years past. I don't think
       5   time you worked as a lawyer or gave legal advice to         5   I've ever talked with Craig about how --
       6   Calvin Ayre?                                                6        Q. Do you know whether or not Calvin is funding
       7        A. To Calvin Ayre personally?                          7   Craig Wright?
       8        Q. Yes.                                                8        A. Funding what I guess?
       9        A. Quite a long time.                                  9        Q. You tell me. Do you know if he is funding
      10        Q. 10 years?                                          10   anything?
      11        A. Probably sooner than that. I'm trying to           11        A. So I understand they have some kind of
      12   remember the sequence of law firms. Probably we're in      12   financial agreement that I don't know the terms of.
      13   2020 so around 2000 -- in the mid 2000s I think. Sorry     13        Q. Who told you they have a funding agreement?
      14   not 2000s. Around the 2013, 2014 maybe time period.        14        A. I wouldn't call it a funding agreement. I
      15        Q. Is that the same response for any companies        15   don't know the terms of it. I know they have some
      16   that are affiliated with him as well?                      16   agreement that I have heard about from some of Calvin's
      17        A. It's been a long time so that's why I don't        17   representatives. Calvin has a whole family office and
      18   remember.                                                  18   lawyers and executives so the subject has come up in
      19        Q. I understand. Is that the same answer for          19   discussions since I don't represent either Calvin or
      20   companies that may have been affiliated with him as well   20   Craig individually that's sort of between the two of
      21   not since 2013, 2014ish?                                   21   them.
      22        A. Trying to remember that as well. It would          22        Q. And Craig has never made any statements to you
      23   probably be somewhere similar in that time period.         23   about this financial relationship?
      24   That's tougher for me to answer because I know at some     24        A. No.
      25   point Calvin left the Bodog organization from the online   25        Q. Do you know whether or not Calvin has given

                                                          Page 19                                                         Page 21
       1   gaming industry and so there were some of the companies     1   Craig a loan that is secured by Craig's Bitcoin or
       2   that I did legal work for from that organization or I       2   intellectual property?
       3   continued to do legal work for but I don't think Calvin     3        A. I do not know.
       4   was involved any more.                                      4        Q. Does Calvin own Coin Geek?
       5        Q. Got it.                                             5        A. Yes. As far as -- does he own it personally I
       6        A. At least that's what I was told.                    6   don't know. Sometimes from my understanding there's
       7        Q. Do you know what Calvin's connection to Craig       7   companies that he is associated with but is he the
       8   Wright is?                                                  8   founder general owner of Coin Geek businesses that's my
       9        A. Yes. So I wasn't involved personally but what       9   understanding.
      10   I've been told and tell me if you want me to testify       10        Q. When I say owner I understand that affluent
      11   about things I've been told but Stefan Matthews had        11   individuals use complex structures to control assets.
      12   known Craig Wright for many years ago from Australia.      12   The ultimate beneficial owner essentially traced back to
      13   They had a working relationship because Stefan was the I   13   Calvin?
      14   think CIO or CTO of an online gaming company in            14        A. From what I understand, yes.
      15   Australia that was going public and they needed auditing   15        Q. Does Calvin have any financial interest in
      16   work done and at the time Craig worked for BDO, one of     16   nChain?
      17   those auditing firms. He used to work in the auditing      17        A. He is now as I understand it a shareholder.
      18   field and so they had -- you know, they had a prior        18        Q. When did that start?
      19   working relationship they knew each other.                 19        A. You know, this was after I was CEO so I was
      20             At some point Craig's Australian companies       20   less involved in operational structure but -- there's I
      21   were in financial distress, financial trouble, and as I    21   think a press release or something about it. I think it
      22   understand it I was told by Stefan that Craig contacted    22   was announced in December last year. I don't know when
      23   Stefan to try and find routes for help. Stefan then        23   it became effective.
      24   introduced Craig to Calvin and that's how they met.        24        Q. And before that date did he have any interest
      25        Q. Do you know about when that was?                   25   in nChain at all even through holding companies or other


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       1   companies affiliated with him?                              1        Q. Of course. Just what you know, all I'm asking
       2        A. Not that I'm aware of. I was always told he         2   for is what you know. So does Calvin -- do Calvin's
       3   was not a shareholder and didn't have a financial stake     3   companies invest in nChain?
       4   in nChain at the time.                                      4        A. Well, I don't -- I don't think I can answer
       5        Q. It doesn't -- I'm trying to figure it out           5   that because I was not involved in the share or whatever
       6   because you're saying that you've heard that Craig          6   agreement that led to him becoming a shareholder.
       7   turned to Stefan Matthews for help in bailing out the       7   Presumably something happened there but I don't know the
       8   businesses in Australia?                                    8   terms.
       9        A. Yes.                                                9        Q. I understand. Give me a second here. Does
      10        Q. And then Stefan introduced Craig to Calvin?        10   nChain find lots of ways to work very closely with
      11        A. Yes.                                               11   Calvin's companies?
      12        Q. And then as we'll talk about there is a            12        A. Yes, that's a fair claim. I don't know how
      13   transfer of intellectual property from those Australian    13   it's defined but there are a lot of common goals for the
      14   companies to nChain; right?                                14   growth of Bitcoin in particular, Bitcoin SV so there's
      15        A. Yes.                                               15   definitely a close working relationship.
      16        Q. And so I'm trying to figure out why Calvin         16             (Plaintiff's Exhibit No. 2 was
      17   doesn't have a stake in it, doesn't add up to me?          17             marked for identification.)
      18        A. There's another step in the process you hadn't     18   BY MR. FREEDMAN
      19   asked me about yet.                                        19        Q. I am going to share with you Exhibit 2 to this
      20        Q. Okay.                                              20   deposition which is a video or an interview that you did
      21        A. Calvin and Stefan introduced Craig to Robert       21   I believe with Cryptofinder. Do you recall this
      22   MacGregor.                                                 22   interview?
      23        Q. Got it. I see. And Robert MacGregor was the        23        A. Yes. I don't recall the interview but I
      24   one who provided all the funds then?                       24   recall doing it.
      25        A. Robert MacGregor was -- had a company in the       25        Q. Fair to say what the video captured is what

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       1   UK called The Workshop and it's a holding company as I      1   you said?
       2   understand it it's the one that did the deal with the       2        A. I would assume so.
       3   marketing group.                                            3        Q. I am going to play for you I hope this works
       4        Q. Got it.                                             4   where at the 26 minute and 16 second mark let me know if
       5        A. Craig's company in Australia.                       5   you can hear this, okay?
       6        Q. But where is Robert MacGregor now?                  6        A. Sure. I cannot hear it.
       7        A. You know, I'm not sure. I haven't heard from        7             MR. FREEDMAN: You cannot hear it? That is a
       8   him in a while. Last I heard he was in London.              8        problem. Let me see if I can fix that.
       9        Q. Do you have contact information for him?            9             MR. SILVERGLATE: Do you want to go off the
      10        A. I do. I would say the last time I e-mailed         10        record?
      11   him I didn't hear back so I don't know if it's still       11   BY MR. FREEDMAN
      12   valid. He's had health -- a serious health issue over      12        Q. Give me one second. I might be able to fix
      13   the last few years so he has not been as active.           13   that this way. Can you still hear me?
      14        Q. Does Robert MacGregor or any of his companies      14        A. Yes.
      15   maintain any kind of interest in nChain?                   15        Q. Let's try I am going to go back to the 26
      16        A. Not that I know of.                                16   minute if it lets me.
      17        Q. So getting back to Calvin and nChain, Coin         17        A. Still cannot hear it.
      18   Geek is it fair to say that Calvin's companies invest in   18        Q. All right. If this doesn't work we'll have to
      19   nChain?                                                    19   go off the record but I'm hopeful we got it. How about
      20        A. I'm sorry, could you repeat that question?         20   now?
      21        Q. Is it fair to say --                               21             VIDEO AUDIO VOICE: That relationship stopped
      22        A. Give qualification to my last answer which is      22        between Coin Geek and nChain.
      23   since I've been out of the CEO role of nChain I'm less     23             MR. NGUYEN: Well, Calvin's been interested in
      24   aware of anything that's happened with respect to the      24        Bitcoin for a while. Online gaming industries one
      25   ownership structure, corporate structure.                  25        of the first industries to adopt Bitcoin a long


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       1        time ago. So he got introduced to Craig and they       1   Bitcoin Cash after that split which happened in 2017.
       2        became friends a number of years ago. I could say      2   There became disagreements among the different group
       3        2015 or so and then obviously Calvin has learned a     3   protocol developer groups involved in Bitcoin Cash and
       4        lot about Bitcoin from Craig so when nChain emerged    4   Craig wanted to basically compete against the other
       5        Calvin was kind of getting more involved in            5   Bitcoin Cash implementation and see which the miners
       6        Bitcoin. He started the Coin Geek brand as a media     6   would follow, that led to what's called this hash war.
       7        site at first and then decided to start getting        7   To do that work to create a new version of the software
       8        into mining.                                           8   that more aligned to Craig's vision that's why we call
       9             So mining operations got more started             9   it the Satoshi Vision that took work.
      10        investing so nChain and Coin Geek are very close      10             The nChain team is the development team that
      11        business allies. We I do lot of things together.      11   did that work. It's done under a service agreement with
      12        Obviously we both have money operations. We have      12   the Bitcoin Association which I now run and Calvin funds
      13        the hash fork together. We align on things. We're     13   the Bitcoin Association right now until we find other
      14        starting new efforts and investing where for          14   ways of revenue which is membership revenue which is
      15        example Coin Geek is providing investment funds and   15   something that's going to start happening soon.
      16        nChain is providing access to its IP and technical    16             The work that is done on not all of nChain but
      17        portfolio to the investment companies.                17   the work -- nChain does a variety of things. The
      18   BY MR. FREEDMAN                                            18   development work done for Bitcoin SV, the software
      19        Q. I want to stop there for a minute. I don't         19   implementation, the technical scaling work for that
      20   know if you recall I asked you whether or not Calvin's     20   infrastructure is done through nChain under a service
      21   companies invested in nChain I don't recall what your      21   agreement through Bitcoin Association which is funded by
      22   answer was but I don't think it was yes. Not sure if it    22   I don't know that it's Coin Geek it's maybe -- some
      23   was no but this help refresh your recollection Coin Geek   23   entity associated with Calvin.
      24   does provide investment funds to nChain?                   24        Q. That's helpful. Would it also be fair to say
      25        A. It actually confirms what I -- my prior            25   nChain is a team that is the Bitcoin SV no team and they

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       1   answer. I think you're referring to the last part of        1   are financially supported by Coin Geek.
       2   the clip you just played where I'm talking about they       2        A. I don't know if it's by Coin Geek per se but
       3   collaborate where Coin Geek is investing in new Bitcoin     3   ultimately by a Calvin funded organization. That's
       4   tech start ups and nChain is involved by providing          4   pretty public. Very public about that.
       5   access to nChain's IP technology to help the new start      5             (Plaintiff's Exhibit No. 3 was
       6   ups.                                                        6             marked for identification.)
       7             That happened because -- so it's not Coin Geek    7   BY MR. FREEDMAN
       8   investing in nChain. I was talking about Coin Geek          8        Q. So I am going to attempt to share with you
       9   investing in -- we even had nChain at first and then        9   again I guess we're now on Exhibit 3. See this You Tube
      10   Coin Geek has invested in a number of the Bitcoin start    10   page that's the popped up?
      11   ups in the world. That's what I was talking about.         11        A. Okay.
      12        Q. Thank you for that clarification. Would it be      12        Q. This appears to be a little I'm not sure if
      13   fair to say that Coin Geek financially supports nChain's   13   it's an interview. It looks like an interview Coin Geek
      14   teams?                                                     14   put out in April 2019. Do you recall this interview?
      15        A. Here is how I would answer that. Certainly         15        A. I do so many interviews -- meeting interviews.
      16   not all the teams but the arrangement is when Calvin and   16   I don't recall every single one but it looks familiar.
      17   Coin Geek wanted to support a competing what we call       17        Q. That's you?
      18   software implementation, by completing reference           18        A. Yes, that's me. I do a lot so when people ask
      19   implementation of Bitcoin protocol when there were         19   me do I remember particular interviews they sort of blur
      20   disagreements at the time in 2000 -- I guess this was      20   together.
      21   2018 we were supporting a version of Bitcoin called        21        Q. I totally understand that. Do you understand
      22   Bitcoin Cash. As you know now there's several competing    22   from an evidentiary perspective I just need to make sure
      23   versions of Bitcoin.                                       23   it's you, it's a video, it's what you said?
      24             There was a split between BTC, Bitcoin core as   24        A. I understand.
      25   we call it, and Bitcoin Cash. Then we were supporting      25        Q. All those things are true?


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       1        Q. I want to jump with Robert MacGregor if you'll      1        Q. Can you give me a kind of high level summary
       2   come with me. You gave me some information about him        2   understanding that it may not be 100 percent accurate of
       3   already. Can you explain to me how -- I understand          3   what that deal looked like?
       4   practically how because you've told me Stefan Matthews      4             MR. RIVERO: Object to the form.
       5   introduced Craig to Calvin and Calvin to Robert             5             THE WITNESS: Not really. Honestly I know
       6   MacGregor but so not mechanically how but I guess what      6        there was the agreement, some payments and transfer
       7   is Robert's connection to Craig. How did that whole         7        of assets. At a high level that's what happened.
       8   thing come about?                                           8   BY MR. FREEDMAN
       9        A. Sure. Again I'll just repeat I wasn't               9        Q. Do you know which assets got transferred?
      10   directly involved in any of this so I'm just going to      10        A. I couldn't tell you. There's a long list I
      11   tell you what I've been told. As I understand it so        11   know. Without looking at that agreement I wouldn't
      12   Stefan outreached from Craig. I introduced Calvin          12   know. Even looking at the agreement since I was not
      13   because obviously he had an interest in Bitcoin. Craig     13   involved with its negotiation. I don't know I have the
      14   used to also do work in the online gaming industry as      14   basis to answer that.
      15   well in some parts. And then at the time Rob, I don't      15        Q. Have you seen an agreement that involved the
      16   know if it was at the time but he had started a company    16   transfer of Satoshi Nakamoto's life rights?
      17   in Canada called nTrust. It was a set of businesses        17        A. I don't know if I've seen -- I know there is
      18   that brand name to the public was nTrust that was          18   one. I think life story rights.
      19   involved in electronic money transfer and international    19        Q. Do you know if the deal included all
      20   remittance.                                                20   intellectual property created?
      21             So -- as I found out later I think Craig had     21             MR. RIVERO: Objection.
      22   even talked once to Rob before and might have been         22   BY MR. FREEDMAN
      23   introduced to by Stefan because Rob and I have to be a     23        Q. Do you know if the deal included beyond just
      24   bit careful because nTrust was a client of mine for many   24   life story rights but also included intellectual
      25   years when I was a lawyer so I have to be careful about    25   property rights?

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       1   what I disclose related to that but I can tell you that     1             MR. RIVERO: Object to the form.
       2   nTrust and Rob MacGregor were interested in exploring       2             THE WITNESS: As I understand it it included
       3   Bitcoin and virtual currency technologies as a fast,        3        certain -- I understand the deal included transfer
       4   more efficient way to be able to send funds across          4        of certain IP assets but sitting here today I could
       5   countries for example.                                      5        not tell you what those are.
       6             The remittance fee could be very high. An         6   BY MR. FREEDMAN
       7   overseas worker from the Philippines who is young and       7        Q. Owned by Robert MacGregor at the time these
       8   left to move to Canada work and send money back to my       8   transactions took place?
       9   family in the Philippines the percentage you have to pay    9        A. Can you repeat that question?
      10   to do that is high and so for the nTrust business I know   10        Q. Was nChain owned by Robert MacGregor at the
      11   Rob MacGregor had been interested and once Bitcoin and     11   time these transactions took place?
      12   digital currencies came out in exploring how that could    12        A. There was no nChain at the time.
      13   be useful for his business and so as I understand it       13        Q. The BITC Holdings, let me amend that.
      14   that's why Stefan and Calvin introduced Craig to Rob at    14        A. I think I don't know -- I'm not sure which was
      15   this time thinking what Craig was doing with Bitcoin       15   the entity that acquired the DeMorgan Group assets and I
      16   could be useful for what nTrust could possibly do.         16   know that the entity that is now known as nChain I think
      17        Q. Do you know the final deal that Robert             17   got created as I understand it in connection with what
      18   MacGregor struck with Craig?                               18   happened with this transaction.
      19        A. No. I was not involved in that at all.             19             So that's why it's hard for to answer did Rob
      20        Q. Did you ever review the deal documents that        20   MacGregor own nChain because I'm not sure the nChain
      21   came out of that deal?                                     21   entity existed at the time. I'm not certain. I wasn't
      22        A. I did later after I started working for nChain     22   involved in the transaction of the structure.
      23   but they're very long and so I won't say I read them all   23        Q. So the assets that were acquired by Robert
      24   in detail. I have seen them but yes, it was after --       24   MacGregor in that deal with Craig eventually ended up
      25   well after the transaction.                                25   being controlled by nChain?


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       1             MR. RIVERO: Object to the form.                   1   involved in cryptography. They would not believe a
       2             THE WITNESS: I don't know that I have a basis     2   statement like that without some other proof and there
       3        to answer that.                                        3   was supposed to be -- I can't remember the date it was a
       4   BY MR. FREEDMAN                                             4   date in May where he was supposed to -- I am not exactly
       5        Q. Haven't you reviewed the agreements?                5   sure what he was supposed to do. I think he was
       6             MR. RIVERO: Objection.                            6   supposed to either sign a transaction using private keys
       7             THE WITNESS: They were long and I didn't          7   from one of the early Bitcoin block chain blocks which
       8        review them for that purpose. In general the           8   the Bitcoin community would recognize as only being held
       9        assets that were acquired from the DeMorgan Group      9   or owned or accessible by Satoshi Nakamoto and he did
      10        got transferred I believe -- I just don't know if     10   a -- I don't know if he was supposed to sign a
      11        they all got transferred to the same entity.          11   transaction or move a coin, I'm not entirely sure but
      12        That's part of why I'm pausing. It's like which       12   something using private key associated with one of the
      13        entity owned which assets I'm not sure.               13   first early Bitcoin blocks.
      14   BY MR. FREEDMAN                                            14             He did something but -- that the Bitcoin
      15        Q. I'll just go where I'm getting to maybe you        15   community then quickly thought well, that's -- it's
      16   can help me make it easier which is I'm trying to find     16   using -- it wasn't using that private key of Satoshi.
      17   out how Robert MacGregor ended up out of the picture.      17   It was using information he could have found publicly so
      18   Because you told me he was the one that purchased          18   people thought well, he's just -- that doesn't prove he
      19   everything from Craig then you told me he no longer has    19   is Satoshi.
      20   interest in nChain. How did he get removed?                20        Q. It's fair to say it was a pretty big issue at
      21        A. He became unhappy with Craig at a certain          21   the time, right?
      22   point and again I'm telling you this all second hand       22        A. Yes, very much. There was a lot of news about
      23   because I wasn't there. So it's what I've heard from       23   both his claim coming forward saying I'm Satoshi and
      24   other people and he thought about closing the nChain       24   then there was a lot of news that came when the proof --
      25   operation at one point. Stefan Matthews wanted to          25   proof, you know, session, proof providing not believed

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       1   continue it and there was a transaction which was           1   by the Bitcoin community and I think he posted something
       2   announced in 2017 about a public investment fund in         2   on the blog he had at the time saying I'm sorry.
       3   Malta acquiring the nChain set of companies from Rob's      3        Q. I saw you produced documents in response to
       4   company. Basically he was unhappy with Craig and didn't     4   our subpoena so thank you for that. We just got through
       5   necessarily want to be involved any more.                   5   them last night and I saw that you were involved in, you
       6        Q. Do you know why he was unhappy with Craig?          6   know, PR campaigns to kind of correct that narrative and
       7        A. Yes. Well, Craig is -- can be a difficult           7   kind of remediate the harm so to speak that had been
       8   business colleague. You know, has been widely reported      8   caused by the false procession?
       9   in the media there was an effort in the spring of 2016 I    9        A. I wouldn't describe it that way because I
      10   believe it was or in 2016 to show that Craig is Satoshi    10   joined --
      11   Nakamoto, creator of Bitcoin.                              11        Q. I didn't hear that. I apologize, can you
      12             It happened after there was some media           12   repeat that?
      13   articles that tried to out Craig as Satoshi I believe in   13        A. Sure. I would not -- the way you characterize
      14   the December before that this process to establish Craig   14   the question is not how I would characterize it. I
      15   as Satoshi at the end did not go well and as I             15   joined nChain after this attempt of proving Craig was
      16   understand it Rob was upset with Craig.                    16   Satoshi and the PR work I was asked to oversee was more
      17        Q. Can you explain what you mean "did not go          17   focused on the launch of nChain publicly as a company
      18   well?"                                                     18   which would of course trigger a question of Craig he is
      19        A. Well, I'm telling you all that from reports        19   your chief scientist, is he really Satoshi why didn't he
      20   obviously because I wasn't -- I knew it was happening      20   fully prove he was Satoshi back then so this was an
      21   because this was when I was in talks with Rob to start     21   element of it but that was not the main purpose of the
      22   working for nChain but I wasn't directly involved with     22   PR work I was asked to manage.
      23   it. Craig did not media interviews to come out and say     23        Q. You consider Craig to be a friend?
      24   I am Satoshi Nakamoto creator of Bitcoin. The Bitcoin      24        A. I do now. He is a colleague. We're
      25   community, you know, they're very technical people         25   colleagues at first and eventually we became friends as


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       1   you often do with people you work with.                    1        record. The time is 1:13 p.m.
       2        Q. Fair to call him your partner?                     2   BY MR. FREEDMAN
       3             MR. RIVERO: Object to the form.                  3        Q. Mr. Nguyen, do you know what happened to the
       4             THE WITNESS: Not in any legal sense. We          4   deal that -- where Satoshi Nakamoto's life rights were
       5        don't have any business partnership arrangements      5   sold to Rob MacGregor? Strike that. Let me take a step
       6        together and, you know, we work together in           6   back actually.
       7        building his vision of Bitcoin and the Bitcoin        7             Before the break you told me that there was a
       8        ecosystem.                                            8   Malta based firm that ended up buying Robert MacGregor's
       9   BY MR. FREEDMAN                                            9   interest out of the nChain related companies; right?
      10        Q. Do you understand whether or not this failed      10        A. Bought the nChain companies.
      11   proof session had an affect on Craig?                     11        Q. From Robert MacGregor's companies?
      12             MR. RIVERO: Object to the form.                 12        A. I would say he was the principal. As far as I
      13             THE WITNESS: I don't know how to answer that.   13   understood it of the nChain companies.
      14   BY MR. FREEDMAN                                           14        Q. So let's talk for a second about these
      15                                                             15   companies. So nChain Holdings Limited is the parent
      16                                                             16   company, right?
      17                                                             17        A. I don't think that's true any more. It was I
      18                                                             18   think at one time.
      19                                                             19        Q. Let's do before the Malta based purchase
      20                                                             20   nChain Holdings -- actually I wrote myself a little
      21                                                             21   chart here because it was hard to follow but I think I
      22                                                             22   got it to the point where the Workshop companies
      23                                                             23   Holdings, the Workshop Holdings was the ultimate parent
      24                                                             24   company and it owned nChain's Holdings formerly called
      25                                                             25   EITC Holdings. Is that consistent with your

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       1                                                              1   recollection?
       2                                                              2        A. Yes, at one point in time. I will also
       3                                                              3   preface saying is I was not involved in the structuring
       4                                                      ,       4   so I am answering based on just what I've seen in
       5                                                              5   documents after I started working for nChain.
       6                                                              6        Q. And then nChain Holdings eventually acquired
       7                                                              7   NT International Holdings and its five subsidiaries. Do
       8                                                              8   you recall that?
       9                                                              9        A. I was involved at the time in terms of the
      10                                                             10   transactions the process by which they got held by
      11                                                             11   nChain Holdings or what entities were held by them I
      12                                                             12   couldn't answer for you.
      13                                                             13        Q. I might be able to help you with that. I
      14                                                             14   think your document production helped me with it.
      15                                                             15        A. I know there are documents.
      16                                                             16             (Plaintiff's Exhibit No. 4 was
      17            MR. FREEDMAN: I don't know why but my            17             marked for identification.)
      18       technology is glitching on me. We've been going       18   BY MR. FREEDMAN
      19       for a while anyways. Why don't we take a five         19        Q. I think I can help you with that. I am going
      20       minute break, you can use the restroom and get a      20   to share with you I think we're now on Exhibit 4. It's
      21       drink. I'll figure out my technical issues.           21   a document you produced to us yesterday Nguyen 424. Do
      22            THE VIDEOGRAPHER: We are going off the           22   you recognize this as an e-mail from you to Jamie
      23       record. The time is 1:06 p.m.                         23   Diaferia?
      24            (Discussion held off the record.)                24        A. Yes.
      25            THE VIDEOGRAPHER: We are back on the video       25        Q. And on January 23rd 2017?
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       1        A. That's what it says.                                1        A. I didn't -- did not deal with the fund
       2        Q. Do you want to take a moment to review the          2   directly much. As I understand it's an investment fund
       3   e-mail and it appears -- I'll tell you I read it last       3   so it doesn't really have owners, it has a fund manager
       4   night and it is you conveying over to Mr. Deaferia who      4   and then there's people who invest into the fund.
       5   works with a PR firm called Infinite Global the             5        Q. Do you know who has invested into the fund and
       6   structure of how the at the time nChain company was         6   who its investors are?
       7   structured and so it was very helpful to me in mapping      7        A. I do not.
       8   out the entities and I think this might refresh your        8        Q. Have you ever -- I want to go back for a
       9   recollection. Do you want to take a moment to review        9   second to Robert MacGregor have you ever texted or
      10   it?                                                        10   messaged Robert MacGregor not through e-mail?
      11        A. Yes, I will. I generally remember. As you          11        A. I think I've tried a couple of times but don't
      12   can see it's a complex set of transactions.                12   think I ever had a response which --
      13        Q. I can map it out. I have a sketch pad in           13        Q. What about Stefan Matthews, have you ever
      14   front of me to map it out. It seems to me that nChain      14   texted or messaged him not through e-mail?
      15   Holdings -- let's -- why don't we go in the order you've   15        A. Not through e-mail, yes.
      16   laid out. NChain Holdings acquires the nTrust companies    16        Q. We did not have any text messages in your
      17   through two different transactions and this is             17   production of documents. Did you collect them?
      18   accomplished by first having nTrust Tech Solutions sell    18        A. I did not have any text messages with any of
      19   itself be purchased by NT International Holdings?          19   the people that were responsive to your request.
      20        A. Yes, that's what it says.                          20        Q. Have you ever text messaged or otherwise
      21        Q. And then NT International Holdings then has        21   non-e-mail messaged Craig Wright?
      22   itself and six subsidiaries underneath it that of          22        A. Yes.
      23   various nCrypt nTrust companies and then nChain Holdings   23        Q. Did you collect those and review them for
      24   purchases NT International Holdings and -- hold on, let    24   production?
      25   me find it. Sorry, so then purchases NT International      25        A. I reviewed what text messages I have had with

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       1   Holdings and it already owns nChain Limited and nChain      1   Craig and they are not responsive to your request.
       2   Technology Limited and nChain Labs Limited.                 2        Q. So in 2015 there was a leak I think it's
       3        A. Here is what I would say. I wasn't involved         3   described -- you know what, strike that. In 2015 Wired
       4   in the transactions that led to this structure. The         4   and Gizmodo ran articles contending that Craig Wright
       5   information that's contained in this e-mail was             5   was Satoshi. Do you remember that?
       6   summarized for me so that I could pass on to the PR         6        A. I do.
       7   firm.                                                       7        Q. Were you involved in orchestrating that leak?
       8             So I believe I would assume that the              8        A. No.
       9   information I summarized here is accurate because that's    9        Q. Do you know who was involved in orchestrating
      10   what we were trying to communicate but I don't have        10   that leak?
      11   personal knowledge of all these transactions happening     11        A. No.
      12   in this way.                                               12        Q. Do you know if anyone was involved -- let me
      13        Q. Right. But at the time you were hired by the       13   strike that. Do you know if that was an orchestrated
      14   company to manage their PR; right?                         14   leak or if it was actually a leak?
      15        A. Correct. I don't have any reason to believe        15        A. I have no idea.
      16   this is incorrect. I just can't give you personal          16        Q. So then we talked about this in May of 2016
      17   knowledge about this is what happened.                     17   there was a coordinated effort to out Craig as Satoshi
      18        Q. And then -- so at the end what ended up            18   which ended up not being successful and he failed to
      19   happening was at the end of this transaction this          19   provide public proof. Did you talk -- do you recall
      20   Pi-High Tech and PE Fund ends up purchasing three          20   that?
      21   different companies; nChain Limited, nChain Holdings and   21        A. I recall that happening, yes.
      22   NT International Holdings which basically sweeps all the   22        Q. Did you talk to -- were you involved in that
      23   nChain and nTrust companies into its ownership; right?     23   coming out?
      24        A. In effect, yes.                                    24        A. Not directly. I knew it was happening.
      25        Q. Who owns Pi-High Tech and PE Fund?                 25        Q. Did you talk to or e-mail Andrew O'Hagan about


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       1   this coming out?                                            1        A. No.
       2        A. No.                                                 2        Q. Can you tell me how this occurred? How did
       3        Q. Are you familiar with an article called The         3   you come about e-mailing his literary agent?
       4   Satoshi Affair?                                             4        A. Rob MacGregor asked me to help them find a
       5        A. Yes.                                                5   writer to write about the story of Satoshi Nakamoto
       6        Q. Are you aware that in The Satoshi Affair            6   Craig Wright and so he asked me to reach out and see if
       7   Andrew O'Hagan says that you e-mailed him?                  7   I could find a contact to Andrew O'Hagan.
       8        A. I'm aware my name is referenced. I don't know       8        Q. Was that the extent of your conversation
       9   it's my e-mail though.                                      9   with -- about this issue that you just said -- sorry,
      10        Q. Let's take a look at it. I'm sharing with you      10   strike that. Did you follow up and ask him any details
      11   docket entry 83-1 to the Second Amended Complaint. It      11   about what was going on and who Satoshi was?
      12   is a copy of Andrew O'Hagan's The Satoshi Affair. Let      12        A. Ask who?
      13   me show you the title I successfully lost our place. I     13        Q. I guess Robert MacGregor.
      14   think we're on page ten. Why don't you read from this      14        A. At this point I was already in discussions
      15   paragraph that starts with A in the middle of page nine    15   with Mr. MacGregor about possibly working with nChain
      16   for the record?                                            16   but at this time I knew that he thought this was going
      17        A. I see it.                                          17   to be obviously a significant public interest in that he
      18        Q. Do you want me to go ahead and read that for       18   was acquiring through one of the companies the life
      19   the record for us?                                         19   story rights of Craig about Satoshi Nakamoto and he
      20        A. "A few weeks before the raid on Craig Wright's     20   thought it was going to be a great book.
      21   house, when his name still hadn't ever been public         21        Q. And you wrote -- in your e-mail you wrote he
      22   associated with Satoshi Nakamoto I got an e-mail from a    22   had already acquired at this point. Is that what you
      23   Los Angeles lawyer called Jimmy Nguyen from the firm       23   understood?
      24   Davis, Wright & Tremaine (self described as a one stop     24        A. That's what I was told.
      25   shop for companies in entertainment, technology,           25        Q. You had no other insight into the plan other

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       1   advertising, sports and other industries). Nguyen told      1   than this?
       2   me they were looking to contract me to write the life of    2        A. I don't understand what you mean by the plan.
       3   Satoshi Nakamoto. My client has acquired life story         3        Q. The plan to come out and reveal the true
       4   rights dot dot dot from the true person behind the          4   person behind the pseudonym Satoshi Nakamoto?
       5   pseudonym Satoshi Nakamoto the creator of the Bitcoin       5        A. I am not sure if I had any understanding when
       6   protocol the lawyer wrote. Quote, the story will be in      6   I sent that e-mail to Mr. O'Hagan's literary agent.
       7   brackets of, end of bracket, great interest to the          7        Q. Do you know what date you sent that e-mail to
       8   public and we expect the book project will generate         8   him?
       9   significant publicity and media coverage once Satoshi's     9        A. I don't remember.
      10   true identity is revealed" end quote.                      10        Q. Throughout the documents you produced you make
      11        Q. Does this refresh your recollection that you       11   references to something called Project Satoshi?
      12   did e-mail Andrew O'Hagan?                                 12        A. Yes.
      13        A. No. My memory is I e-mailed who I believe          13        Q. Can you tell me what that is?
      14   Andrew O'Hagan's literary agent.                           14        A. It's just a name I think I gave to a project
      15        Q. I see. Suppose he didn't say you e-mailed him      15   that I was asked to work on.
      16   directly he says I got an e-mail from a Los Angeles        16             MR. FREEDMAN: Just as a housekeeping matter
      17   lawyer not necessarily that he got directly from you.      17        before we continue this line of questioning I want
      18   Okay. Do you see that he -- I got a couple questions       18        to make sure we marked for the record The Satoshi
      19   here. He redacts out -- he replaces an ellipsis my         19        Affair as Exhibit 5.
      20   client has acquired life story rights dot dot dot from.    20             (Plaintiff's Exhibit No. 5 was
      21   What did he remove?                                        21             marked for identification.)
      22        A. I have no memory of that e-mail. That would        22   BY MR. FREEDMAN
      23   have been a number of years ago.                           23        Q. So getting back what was the project that you
      24        Q. Then he replaced the original quote with the       24   were asked to work on that you named the Satoshi --
      25   word of. Do you remember what it said previously?          25        A. In short it was to help with the process to --


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       1   how do I describe it? It changed over time. That's why     1   Robert MacGregor to this e-mail. Did he call you in
       2   I'm trying to figure out how to describe it. Ultimately    2   response to your e-mail?
       3   what it became is to help guide the efforts to             3        A. (Indicating).
       4   commercialize and monetize intellectual property that      4        Q. No, he did not?
       5   was going to be created at nChain.                         5        A. No.
       6        Q. So did that project post date the failed           6        Q. So you just never got a response to that?
       7   reveal in 2016?                                            7        A. No.
       8        A. I started talking about it before but it did       8        Q. Were you not -- I mean you then proceeded to
       9   not happen until afterwards.                               9   engage in Project Satoshi which was premised on this IP
      10        Q. Besides the e-mail to --                          10   that partly was Craig and -- it seems odd you wouldn't
      11        A. Correct. At the time I was not really part of     11   inquire about what happened?
      12   the project team. It was something I got asked to do,     12        A. I did not hear from Rob for a long time after
      13   you know, while I was a lawyer.                           13   this. Eventually I think I reached out to his
      14        Q. Why do you think they asked you to do that if     14   assistant.
      15   it's not exactly legal advice to contact a literary       15        Q. When that happened and you got back in touch
      16   agent?                                                    16   with Rob did you discuss this?
      17        A. Because I have a lot of connections and both      17        A. Discuss what?
      18   client and business relationships in the entertainment    18        Q. This failure and this debacle of May of 2016?
      19   media world in the United States.                         19        A. I wouldn't call it a debacle but we did
      20             (Plaintiff's Exhibit No. 6 was                  20   discuss or -- I had not heard from him after Craig did
      21             marked for identification.)                     21   not provide the cryptographic proof that the Bitcoin
      22   BY MR. FREEDMAN                                           22   community would like to see. So we did eventually
      23        Q. Got it. And then let's introduce I think          23   discuss it.
      24   we're on Exhibit 6 now which is Nguyen 229 and it         24        Q. What did he say?
      25   appears to me to be an e-mail from you to Robert          25        A. He said it's a really long story so I didn't

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       1   MacGregor on -- let me take that back. It appears to be    1   get the whole story. He said, you know, Craig didn't
       2   an e-mail chain between you and Robert MacGregor           2   sign using a private key that the Bitcoin world would
       3   starting on May 1st you responding on May 2 and him        3   accept as from a Satoshi block and he was very angry and
       4   respond -- you responding again on May 5th. Is that        4   very upset.
       5   consistent with your observations?                         5        Q. Did he say why?
       6        A. Yes, that's what it says.                          6        A. Rob?
       7        Q. Do you recall this e-mail?                         7        Q. Yes.
       8        A. Yes.                                               8        A. That's what we expected Craig to do.
       9        Q. Did you send this e-mail?                          9        Q. That was a bad question. Did he say why Craig
      10        A. I sent two of the e-mails on this chain.          10   didn't sign using a private key the Satoshi blocks?
      11        Q. Did you receive the first one on the bottom?      11        A. No.
      12        A. Yes.                                              12        Q. You were a partner at a top law firm in the
      13        Q. So Robert MacGregor tells you that the embargo    13   country; right at Davis, Wright & Tremaine?
      14   will lift and the news will break in 50 minutes. Then     14        A. Yes.
      15   the next day you say "I see the online articles. How      15        Q. And you left that position to work on the
      16   has reaction been in your world." At this point did you   16   Satoshi Project and further nChain, right?
      17   know there was a failure?                                 17        A. Yes.
      18        A. A failure of what?                                18        Q. Don't you think the responsible thing would
      19        Q. At this point had it blown up essentially that    19   have been to kind of dig into that a little bit more
      20   Craig had not actually produced valid proof?              20   before you gave up something so great for this new
      21        A. I don't think that happened by May 2nd. I         21   venture you were betting on?
      22   don't remember if it was -- it was certainly by May 5th   22        A. Not necessarily. I had been wanting to leave
      23   when I sent the top e-mail. I don't remember what date    23   law for many years before this.
      24   it was between the May 1st and May 5th sequence.          24        Q. So you -- it's your testimony today that you
      25        Q. Got it. And I don't have a response from          25   did not push for what happened and why there was a


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       1   failure?                                                    1   he cannot access?
       2        A. Well, I asked questions but I don't think even      2             MR. RIVERO: Object to the form.
       3   Rob could even tell me why Craig didn't do it.              3             THE WITNESS: I'm aware that he's claimed -- I
       4        Q. Did you ever Craig why he didn't do it?             4        can't -- I am aware that in this case he's claimed
       5        A. No.                                                 5        that he cannot access private keys to certain
       6        Q. Did you ever ask -- have you ever asked Craig       6        Bitcoin and so yes, I'm aware of that.
       7   to give you a private proof session?                        7   BY MR. FREEDMAN
       8        A. Sorry, you cut off.                                 8        Q. And how then would he demonstrate a proof for
       9        Q. Have you ever -- can you hear me now?               9   you if you asked him to?
      10        A. Yes.                                               10        A. Well --
      11        Q. Have you ever asked Craig to give you a            11             MR. RIVERO: Object to the form. Go ahead.
      12   private proof session?                                     12        Sorry, Mr. Nguyen.
      13        A. No.                                                13             THE WITNESS: Probably why I've never asked
      14        Q. Why not?                                           14        him.
      15        A. Because I knew he would if I asked him to and      15   BY MR. FREEDMAN
      16   I made a decision including before I decided to sign on    16        Q. Has Craig ever explained the trust to you?
      17   to nChain and leave my law practice that I wasn't doing    17        A. Only in the context of this litigation.
      18   it based upon Craig having to be Satoshi Nakamoto. That    18        Q. What has he said?
      19   I wasn't -- that that was certainly relevant to            19             MR. SILVERGLATE: Wait a second. If it's in
      20   everything, right, but since there's all this              20        the context of the litigation then it's privileged.
      21   controversy over whether he is or he isn't and how could   21             MR. FREEDMAN: Mr. Nguyen testified he has not
      22   it be proven, you know, either way I had to make a         22        acted as a lawyer since late 2018 or 2017 I think
      23   decision am I going to join this opportunity based upon    23        it is. I don't have the date.
      24   that and could be left disappointed if it turned out not   24             MR. SILVERGLATE: Well --
      25   to be true so decided for myself while it certainly is     25             MR. RIVERO: I'll join the objection and the

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       1   relevant that the technology that can be built and his      1   instruction.
       2   vision for it is powerful and that I needed to focus on     2        MR. FREEDMAN: Actually I will actually say
       3   that because otherwise you can drive yourself crazy with    3   that in this deposition Mr. Nguyen testified that
       4   is he or isn't he Satoshi and it's also what I said         4   he is not a lawyer for Craig Wright.
       5   publicly not what I asked. So I did ask questions about     5        MR. SILVERGLATE: Right. I'm not suggesting
       6   it but I didn't make my decision to join nChain based       6   that he is a lawyer for Craig Wright. What I am
       7   upon it.                                                    7   saying is that Mr. Nguyen has a joint interest
       8        Q. How do you know he would show it to you if you      8   agreement with Craig Wright and he has also served
       9   asked him to?                                               9   as Craig Wright's liaison to his counsel in the
      10        A. I've had this discussion with Steve Shadders,      10   litigation.
      11   the chief technology officer at nChain, and Steve has      11        So he's part of the litigation team even
      12   said to me we're pretty confident Craig would do it if     12   though he is not serving as a lawyer but a liaison.
      13   we asked because, you know, Craig doesn't trust very       13   So the conversation that you're inquiring about is
      14   many people so we work together a lot. I have never        14   privileged both under the joint interest privilege
      15   asked him the question flat out so I don't know            15   and under the attorney-client privilege.
      16   100 percent he would say yes but I think he would.         16        MR. FREEDMAN: What is the joint interest that
      17        Q. How would he have access to the private keys       17   you're protecting?
      18   if they are -- let me take a step back. Are you aware      18        MR. SILVERGLATE: They both have a community
      19   that Craig has claimed the properties are locked in a      19   of interest and they have a signed agreement.
      20   trust?                                                     20        MR. FREEDMAN: A signed agreement can't extend
      21             MR. RIVERO: Sorry, you cut out and I could       21   the privilege, it just memorializes an existing
      22        not hear that question.                               22   privilege under existing law. I just want to -- I
      23   BY MR. FREEDMAN                                            23   understand you're instructing him not to answer and
      24        Q. Are you aware that Craig has claimed the           24   I can't do anything about that but I need a record
      25   private keys to his Bitcoin are locked in a trust that     25   of it so we can challenge it eventually. What is


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       1   the joint interest that you are memorializing with      1      couple questions ago.
       2   the joint common interest privilege?                    2           (Thereupon, a portion of the record
       3        MR. SILVERGLATE: Well, I believe you're            3           was read back by the reporter.)
       4   misstating what my objection was. So first of all,      4           MR. RIVERO: I am asserting on behalf of Craig
       5   I'm asserting two privileges. One is                    5      Wright his common interest privilege with
       6   attorney-client privilege because Mr. Nguyen is on      6      Mr. Nguyen.
       7   the team. He is on the defense team, Mr. Wright's       7           MR. FREEDMAN: What is the common interest
       8   defense team, okay and because of that there is         8      that's seeking to be protected?
       9   also a community of interest which implicates the       9           MR. RIVERO: I've now answered your question.
      10   joint interest agreement and joint interest            10      Please ask your next question. Let's move on.
      11   privilege.                                             11           MR. FREEDMAN: You're not answering what is
      12        MR. FREEDMAN: What is Mr. Nguyen's capacity       12      the common interest question for the record?
      13   on the -- I'll direct this to Mr. Nguyen and           13           MR. RIVERO: Sir, I've made an instruction.
      14   obviously you can instruct him not to answer so I      14      Your -- my role is to state an objection or
      15   don't need to tell you Mr. Nguyen take a second to     15      instruction. I think your role is to ask the next
      16   allow your lawyer to give an instruction team.         16      question. I think that's what you should do next.
      17   What is your capacity on the defense team?             17           MR. FREEDMAN: You are declining to answer my
      18        MR. SILVERGLATE: You can answer that, Jimmy.      18      question, Mr. Rivero?
      19        THE WITNESS: When the lawsuit first got filed     19           MR. RIVERO: Sir, if you want to have a good
      20   Craig asked me to assist him in both finding           20      faith conference about this, sir, I've already told
      21   counsel and helping to communicate with counsel        21      you you can speak to me and I'll be glad to discuss
      22   regarding his defense.                                 22      it. We don't have to do it on the record, you know
      23        MR. RIVERO: And I haven't interrupted the         23      that. We already discussed this week so please
      24   question but Mr. Nguyen, obviously you have a          24      move on to your next question.
      25   lawyer but I just ask you to be careful since there    25           MR. FREEDMAN: Mr. Rivero, respectfully your

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       1        are dates where you were counsel to nChain, dates     1   client's breaches of protective orders or maybe at
       2        where there was this common interest.                 2   this point alleged or perceived breaches of
       3             Please refrain from testifying about anything    3   protective order don't relate to this particular
       4        that would invade those privileges and I'll just      4   instance here.
       5        join as necessary, stay out of it.                    5        Mr. Rivero, you need to let me finish my
       6   BY MR. FREEDMAN                                            6   statement and then I'll give you an opportunity to
       7        Q. So you are not a lawyer on the defense team,       7   respond.
       8   you are not providing legal advice; is that correct?       8        MR. RIVERO: I didn't know you weren't
       9        A. Correct. Basically how I would describe it is      9   finished. Go ahead.
      10   I am his liaison with his lawyers because to help with    10        MR. FREEDMAN: I am simply trying to make a
      11   communication Craig is a difficult communicator on what   11   record here so when we go back to the Court here we
      12   are complex topics here and he felt that he asked me to   12   have a clear record of what your position is and I
      13   do this because to help him because of the need to        13   know what's happening. So I'm only asking what is
      14   communicate with his lawyers especially about dealing     14   the joint interest you're seeking to protect?
      15   with complex issues in this case.                         15        MR. RIVERO: Mr. Freedman, it does not work
      16             MR. FREEDMAN: Okay, so as I understand this     16   like that. We make objections and instructions.
      17        is directed to the lawyers you're asserting --       17   We don't litigate the objections or instructions.
      18        Mr. Rivero, you're asserting Craig's                 18   Go ahead and ask your next question. If you want
      19        attorney-client privilege through you because        19   to discuss this after this deposition is over I'll
      20        Mr. Nguyen is the go between between you and the     20   be glad to. That's a good faith conference, sir.
      21        client, is that an accurate assertion of your        21        At that time you'll identify to me what your
      22        privilege?                                           22   theory is why you get this answer. Then I'll
      23             MR. RIVERO: Can I hear the last question read   23   respond to you in a good faith conference. That's
      24        back? Sorry, the last question where these           24   how it works. Go ahead, continue with your
      25        objections were actually posed? It was probably a    25   deposition.


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       1             MR. FREEDMAN: We'll agree to disagree on how     1        A. Yes.
       2        it works. Mr. Silverglate, are you also asserting     2        Q. That's your signature at the bottom?
       3        a privilege to prevent the answer to this question    3        A. Yes.
       4        or is it identical to the privilege that's been       4        Q. Mr. Matthew's signature at the bottom?
       5        asserted by Mr. Rivero?                               5        A. Yes.
       6             MR. SILVERGLATE: I think I've already voiced     6        Q. This is the actual Contracted Services
       7        my objection. It's we've raised two objections,       7   Agreement and its terms. Do you recognize this?
       8        attorney-client privilege and joint interest          8        A. Yes.
       9        agreement and we're making both of those              9        Q. I'm going to scroll down. At any point you
      10        objections. I'm making them on behalf of this        10   want me to stop let me know. This is Schedule A;
      11        witness, Mr. Nguyen.                                 11   correct? Is this the Schedule A of that agreement,
      12             MR. FREEDMAN: Okay, whose attorney-client       12   Mr. Nguyen?
      13        privilege are you invoking?                          13        A. Yes.
      14             MR. SILVERGLATE: For this particular question   14
      15        we're invoking Mr. Wright's attorney-client          15
      16        privilege because Mr. Nguyen is on his defense       16
      17        team.                                                17
      18   BY MR. FREEDMAN                                           18
      19        Q. Okay. Mr. Nguyen, when did you start in your      19
      20   role as a liaison?                                        20
      21        A. When the lawsuit got filed.                       21
      22        Q. Are you still in a role as a liaison?             22
      23        A. Yes.                                              23
      24        Q. Is there an agreement memorializing your          24
      25   liaison, a written agreement memorializing this liaison   25

                                                        Page 67                                                       Page 69
       1   agreement?                                                 1
       2        A. No, there is not a written agreement. There        2
       3   is an e-mail.                                              3
       4                                                              4
       5                                                              5
       6                                                              6
       7                                                              7
       8                                                              8
       9                                                              9
      10                                                             10
      11                                                             11
      12                                                             12
      13                                                             13
      14                                                             14
      15                                                             15
      16                                                             16
      17   BY MR. FREEDMAN                                           17
      18        Q. I'm going to share with you, Mr. Nguyen, a        18
      19   document that you have shared with us pursuant to the     19
      20   subpoena. I'm going to go to the top of this agreement    20        Q. Did you tell me when this agreement
      21   so you can see it's Schedule A. Why don't we go to the    21   terminated?
      22   top of the actual agreement itself and then we can look   22        A. I can't remember exact time.
      23   at all of it. It looks like it starts at approximately    23        Q. The agreement continues until Nguyen 1597;
      24   Nguyen 1586. Do you recognize this Contracted Services    24   correct?
      25   Agreement?                                                25        A. Correct.
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       1        Q. Mr. Nguyen, do you act as a liaison for anyone      1             MR. SILVERGLATE: Hang on. Andres, do you
       2   else between them and their lawyers besides Craig           2        feel like that implicates your strategy, your
       3   Wright?                                                     3        defense strategy?
       4        A. No.                                                 4             MR. RIVERO: From my perspective I would allow
       5        Q. Has your liaison role in this litigation been       5        that question but Mr. Nguyen, you're on thin ice of
       6   continuous?                                                 6        the whole situation but you can answer the
       7        A. Yes.                                                7        question.
       8        Q. Were you acting as a liaison then to Rivero,        8             THE WITNESS: I would say it varied. There
       9   Mestre while we were attempting to serve process on you?    9        were times where sometimes Craig asked me to deal
      10             MR. SILVERGLATE: Object to the form.             10        with his lawyers about a particular topic.
      11             MR. RIVERO: Join.                                11        Sometimes they asked me to interface with Craig on
      12             THE WITNESS: I was acting as a liaison to        12        a topic. Sometimes it was all joint.
      13        Craig.                                                13   BY MR. FREEDMAN
      14   BY MR. FREEDMAN                                            14        Q. Are these via e-mail? So are there e-mail
      15        Q. Between him and Rivero, Mestre?                    15   communications from you to Craig and then without his
      16        A. Yes.                                               16   lawyers -- let's start there. Are there e-mail
      17        Q. Has Rivero, Mestre hired you or has Craig          17   communications about litigation from you to Craig that
      18   engaged you in this task?                                  18   his lawyers are not on?
      19             MR. RIVERO: Object to the form.                  19        A. I don't remember.
      20             THE WITNESS: Craig.                              20        Q. Are there e-mail communications between you
      21   BY MR. FREEDMAN                                            21   and Rivero, Mestre that Craig is not on?
      22        Q. Does he pay you for this?                          22        A. I think so.
      23        A. No.                                                23        Q. Sorry?
      24        Q. Can you walk me through without talking about      24        A. I think so.
      25   I'm sure your lawyers will make sure so just make a beat   25        Q. Are there e-mails from Rivero, Mestre to Craig

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       1   again but I think this is a permissible question. Can       1   and from Craig to Rivero, Mestre that you are on as
       2   you walk me through not the substance but the mechanics     2   well?
       3   of how the liaisoning goes between you and Craig and his    3        A. I have been on joint e-mails among them. That
       4   lawyers?                                                    4   was the most common.
       5             MR. SILVERGLATE: Obviously I'll object if         5        Q. Do you have a stake in this litigation
       6        it -- if you're asking for specific communications.    6   Mr. Nguyen?
       7             MR. RIVERO: Mr. Nguyen, I know you know this      7        A. No.
       8        but there are occasions where the procedure could      8        Q. Can you be adversely affected by the outcome
       9        reveal confidences so answer to the extent you can     9   of this litigation?
      10        without revealing confidences.                        10        A. I don't think so, no.
      11             THE WITNESS: So just procedurally it began       11
      12        with me being the person to help find Craig counsel   12
      13        to represent him. So I am the one that sought out     13
      14        law firm options and helped Craig choose the          14
      15        Rivero, Mestre firm which represents Craig, not me.   15
      16             And then after that I was involved in            16
      17        communications to -- between Craig and his lawyers    17
      18        about subject matter in the case, helping             18
      19        understand things and helping understand Craig I      19                                                      e
      20        guess most importantly because he is a difficult      20
      21        communicator.                                         21
      22   BY MR. FREEDMAN                                            22
      23        Q. So is the procedure Craig calls you and you        23
      24   call Rivero, Mestre or is it procedure you all get on a    24
      25   call together or how does it work?                         25
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       1        A. Marco it's Bianchi I think is how the name is       1   Association president I'm responsible for, you know,
       2   pronounced.                                                 2   being a leader in the building of the whole business
       3        Q. Thank you.                                          3   ecosystem for Bitcoin SV around the world. There were
       4        A. He is principal at a firm called Stairway           4   concerns about whether in that role I would be perceived
       5   Global some other words. Just call it Stairway Global.      5   to have conflicts of interest if I also had roles with
       6        Q. What was his involvement with the -- what was       6   other key companies in the Bitcoin SV space and so I
       7   his involvement with this transaction?                      7   resigned from that advisory board position as well as
       8        A. Marco is a director of some of the nChain           8   some others.
       9   companies.                                                  9        Q. Does Calvin Ayre own any interest in TAAL?
      10        Q. Do you know why?                                   10        A. He is a shareholder.
      11        A. No, I don't. He was before I got involved.         11        Q. Do you know what percent his shareholding is?
      12        Q. Do you know what his role was with any of the      12        A. I don't know.
      13   nChain companies?                                          13        Q. Does Craig Wright have any equity interest in
      14        A. Like I said he is director of some of the          14   TAAL?
      15   companies so he is one of the directors that I would       15        A. I do not know that.
      16   report to.                                                 16        Q. As the president of the Bitcoin Association --
      17        Q. Does Craig Wright have any equity in nChain?       17   sorry, you are the president of the Bitcoin Association?
      18        A. Not that I know of.                                18        A. Yes.
      19        Q. Does Ramona Watts have any equity in nChain?       19        Q. Is that position paid?
      20        A. I can tell you what I know as of the time I        20        A. Yes.
      21   was CEO and the answer to both of those questions is no.   21
      22        Q. Did they ever have equity in any nChain            22
      23   companies?                                                 23
      24        A. Not that I know of.                                24
      25        Q. What about Hi-Tech Private Equity Fund?            25

                                                        Page 79                                                          Page 81
       1        A. No.                                                 1
       2        Q. What about the Workshop Holdings?                   2
       3        A. Not that I know of.                                 3
       4        Q. What about Nuovo Capital?                           4
       5        A. I don't know anything about the ownership           5
       6   structure of Nuovo Capital.                                 6
       7        Q. Are you familiar with the company called            7
       8   Squire Mining?                                              8
       9        A. Yes.                                                9
      10                                                              10
      11                                                              11
      12                                                              12
      13                                                              13
      14                                                              14
      15                                                              15
      16                                                              16
      17        Q. Are you on the -- I apologize. Hold on, give       17
      18   me one second. Nevermind. Are you -- do you have a         18
      19   position in Squire Mining?                                 19
      20        A. I was one of its advisory board members until      20
      21   last month.                                                21
      22        Q. Was that a paid position?                          22
      23        A. I have to look at the stock option.                23        Q. Do you currently have any other jobs or is
      24        Q. Why did you step away from the advisory board?     24   that your full time position?
      25        A. I stepped away because my new role as Bitcoin      25        A. This is it. Full time. More than a full time
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       1   job.                                                        1   time. That's why the purpose of nChain has evolved over
       2        Q. Is there a difference between the Bitcoin           2   time given what's in the Bitcoin network.
       3   Association and the B Com Association?                      3        Q. So would it be fair to say when you were first
       4        A. It's the same thing. We rebranded the name B        4   brought on board nChain it was sitting on this massive
       5   Com to Bitcoin Association.                                 5   pot of intellectual property it had a required from the
       6        Q. Do you know what Calais Holdings is?                6   DeMorgan Group and you were tasked with essentially
       7        A. No.                                                 7   commercializing that asset?
       8        Q. Have you ever heard of Calais Holdings?             8        A. I would not describe it that way.
       9        A. Don't think so.                                     9        Q. How would you describe it?
      10        Q. Have you ever heard of the Sterling Group?         10        A. First I would not say that nChain was sitting
      11        A. I've heard of Sterling. I don't know that          11   on this pot of IP from the DeMorgan Group that could be
      12   I've ever heard it referred to as Sterling Group.          12   monetized.
      13        Q. What is Sterling?                                  13        Q. Well, had -- why don't we break that down into
      14        A. I'm not sure.                                      14   it parts. Had nChain acquired -- when you were brought
      15        Q. Do you know anything about it other than that      15   on board did you believe that nChain had been
      16   you've heard of it?                                        16   acquired -- sorry, let me restart that question. Strike
      17        A. I've heard of it. I've seen it somewhere. I        17   that.
      18   don't know. About it.                                      18             When you were brought on board to nChain did
      19        Q. Before you left nChain as CEO was it making        19   you understand and believe that nChain had acquired
      20   any revenue?                                               20   significant intellectual property assets from the
      21        A. Very little.                                       21   DeMorgan Group?
      22        Q. About how much?                                    22        A. I would say I knew they acquired assets from
      23        A. I don't recall. I only know of -- I think it       23   the DeMorgan Group. I could not say they were
      24   had received about 500,000 I don't know if it was          24   significant IP assets.
      25   British pounds in revenue from a source before you left.   25        Q. So then your task was to review those

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       1        Q. That was for licensing of technology?               1   intellectual property assets and determine how to
       2        A. It was for under an agreement to help another       2   commercialize them?
       3   company build a more secure Bitcoin wallet.                 3        A. No.
       4        Q. Could you explain to me what nChain's purpose       4        Q. What was your task?
       5   was?                                                        5        A. My task was to get involved with the new IP
       6        A. Not sure I know how to answer that question.        6   program that nChain was developing and figuring out how
       7        Q. Like every company has like a goal or mission       7   to commercial those new IP assets in the nChain
       8   statement. What was nChain's?                               8   agreement.
       9        A. At what point in time?                              9        Q. So then you had absolutely nothing to do with
      10        Q. Why don't you start from when you joined until     10   intellectual property that was acquired from the
      11   you left if it ever changed let me know.                   11   DeMorgan Group?
      12        A. That's a difficult question to answer because      12        A. I just answered no. I don't know what you
      13   when I first joined nChain I think the mission was not     13   mean by nothing to do with intellectual property
      14   that clear. That was part of my task trying to help        14   acquired from the DeMorgan Group.
      15   bring clarity to it. When I joined nChain it was set up    15        Q. Well, if nChain -- is it your testimony that
      16   to research and development work, build an IP program,     16   nChain did not develop any intellectual that it obtained
      17   to basically based upon Bitcoin block chain technology.    17   from the DeMorgan Group?
      18   What to do with that next became less clear. I would       18        A. I can't answer that question because I never
      19   say today from what I understand of nChain that it's       19   reviewed in detail the assets that were acquired from
      20   more clearly focused on enterprise level solutions and     20   DeMorgan.
      21   services that want to provide the enterprises to build     21        Q. Do you know how much money Rob MacGregor paid
      22   block chain technology innovations and particular now      22   to purchase those assets from the DeMorgan Group?
      23   focus on Bitcoin SV chain as the scalable big block        23        A. No.
      24   Bitcoin which did not exist when I first joined nChain.    24        Q. Did you ever get the intellectual property
      25             There was no split of the Bitcoin chain over     25   from -- that was purchased from The DeMorgan Group


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       1   valuated or appraised?                                      1   sourced from DeMorgan?
       2        A. From the DeMorgan Group?                            2        A. I don't know that one can answer that without
       3        Q. "Uh-uh." So you never got an evaluation of          3   getting into questions. Not even about this litigation,
       4   intellectual property assets nChain had acquired from       4   about -- I can't remember if it violates the legal
       5   The DeMorgan Group?                                         5   advice I ever gave in my role.
       6        A. I was not involved in The DeMorgan Group            6
       7   transaction. So I was not involved.                         7
       8        Q. I'm not talking about the time of the               8
       9   transaction. I'm saying at some point in time you           9
      10   became the CEO of nChain and even before that you were     10
      11   tasked with commercializing nChain's IP and I am trying    11
      12   to figure out whether or not you have ever and I think I   12
      13   know the answer to this because I think I've seen copies   13
      14   of it whether you had ever obtained or reviewed an         14
      15   appraisal of the intellectual property that resulted       15
      16   from -- that was obtained from The DeMorgan Group?         16
      17        A. So the way you phrased the question. So I          17
      18   have never tried to get a valuation or analysis of the     18
      19   IP -- the value of the IP assets from the DeMorgan Group   19
      20   of companies. I have been involved with looking at         20
      21   valuation of nChain's IP assets which were newly created   21
      22   after the DeMorgan transaction.                            22
      23        Q. Did the assets that you had evaluated at           23
      24   nChain include assets that had been received from the      24
      25   DeMorgan Group?                                            25

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       1        A. I'll tell you what was valuated was looking at      1
       2   the patent program that was being developed at nChain       2
       3   which did not start until after the DeMorgan Group          3
       4   transaction.                                                4
       5        Q. Were any of the patents that were in the            5
       6   patent portfolio of nChain focused on intellectual          6
       7   property obtained from the DeMorgan Group?                  7
       8        A. I don't know.                                       8
       9        Q. Never looked at that as CEO of the company and      9
      10   former IP lawyer?                                          10
      11        A. First of all, the patent program was started       11
      12   before I got to nChain and was going. That's just a        12
      13   difficult question to answer anyway.                       13
      14        Q. Why?                                               14
      15        A. Well, you have to look at each individual          15
      16   patent application and go back and compare it to           16
      17   anything the DeMorgan Group had done to be able to         17
      18   answer that question.                                      18
      19        Q. You never conducted that analysis?                 19
      20        A. No.                                                20
      21        Q. Are you aware of whether or not lawyers have       21
      22   opined on whether -- where certain intellectual            22
      23   property -- strike that. Are you aware of whether          23       Q.   When did you first meet Craig Wright?
      24   lawyers have opined on whether or not certain IP or        24       A.   Not sure of the year. Probably around 2007.
      25   intellectual property currently owned by nChain was        25       Q.   I said Craig Wright.
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       1        A. Oh, sorry, I thought you said Rob MacGregor.        1        Q. Do you remember the first time you had a
       2   When did I first meet Craig Wright, 2016.                   2   discussion with Craig about him -- his Satoshiness?
       3        Q. Do you remember when in 2016?                       3        A. It wasn't for a long time after that.
       4        A. I believe it was in September.                      4        Q. Do you remember the context of that setting?
       5        Q. Do you remember the circumstances of that           5        A. No, I don't. I mean it's obviously a topic
       6   meeting?                                                    6   that comes up a lot in my world with lots of people so I
       7        A. Yes. After I -- it was clear I don't know if        7   don't remember the first time I spoke with Craig about
       8   I had signed the contract yet but after it was clear I      8   it.
       9   was going to start working with nChain I went to London     9        Q. I would imagine something you kind of needed
      10   for some meetings and Stefan introduced me to Craig.       10   to know about because you were taking a leading role in
      11        Q. Do you remember what you talked about in that      11   nChain or like it or not it was a big feature of nChain;
      12   initial conversation with Craig?                           12   right?
      13        A. We had dinner and I don't have any memory of       13        A. The answer to that is I needed to know about
      14   what we talked about other than trying to get to know      14   it but I didn't need to know for myself as I explained
      15   each other.                                                15   earlier. I made a decision personally that I would be
      16        Q. Did Craig ever mention Satoshi Nakamoto to         16   willing to do this opportunity whether it was true or
      17   you?                                                       17   not.
      18        A. I guess I don't know how to answer that. Had       18        Q. When you eventually got on to the topic of
      19   he ever used that phrase Satoshi Nakamoto with me?         19   Craig being Satoshi Nakamoto what did he say?
      20        Q. I'm trying to figure out. Let me take a step       20        A. I'm trying to remember how the first time I
      21   back. You were aware before meeting him he claimed to      21   even talked to him about it.
      22   be Satoshi Nakamoto?                                       22        Q. I mean would say tell me the story, did you
      23        A. Yes.                                               23   never say tell me your story?
      24        Q. Who told you initially that they believed he       24        A. I know you might think I would but you know
      25   was Satoshi Nakamoto?                                      25   it's a sensitive topic. Obviously specially after that

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       1        A. Rob MacGregor.                                      1   year with the potential reveal and I at the time thought
       2        Q. When was that?                                      2   you know what, I'm not going to ask about it now.
       3        A. The year before this so sometime in the summer      3        Q. That's fair. So when eventually he got to
       4   of 2015.                                                    4   know you well enough and you got to know him well enough
       5        Q. Did you ask Rob MacGregor how he knew that,         5   when it came up what did he say?
       6   why he knew that, what his proof was?                       6        A. Not really how it happened. It's not like one
       7        A. I didn't ask him all those questions. We had        7   day I asked tell me whether you're Satoshi or not. It
       8   a conversation about it.                                    8   was part of general conversations and communications we
       9        Q. What did he say?                                    9   had at the company about him being Satoshi.
      10        A. He said I think I found Satoshi Nakamoto.          10        Q. Tell me what you remember him telling you.
      11        Q. You knew who that was at the time?                 11   Like tell me the narrative he told you.
      12        A. The name didn't immediately trigger my memory.     12        A. I don't think I -- he's told me a number of
      13   I had seen the name in the past about Bitcoin but my       13   times he is Satoshi Nakamoto, the creator of Bitcoin. I
      14   first response was who. He said you know, the creator      14   don't think he ever -- he told me any details about the
      15   of Bitcoin. I said oh, yes, that's right.                  15   story until gosh it might have been in maybe in 2018 we
      16        Q. And then in September of 2016 you come to          16   did like an interview at one of the Coin Geek
      17   meet -- let me take a step back. Going to meet Craig in    17   conferences, G-E-E-K, conferences where he was going to
      18   September 2016 did you have an opinion one way or          18   talk about it for the first time publicly with me and I
      19   another whether he was or was not Satoshi Nakamoto?        19   think that's the first time I went into any detail with
      20        A. No.                                                20   him about the story.
      21        Q. So you come to meet the individual who is          21        Q. What did he tell you in that preparation
      22   claiming to be Satoshi Nakamoto who your long time         22   session?
      23   client thought was Satoshi and trying to figure out        23        A. It wasn't a preparation session.
      24   whether -- so you're Satoshi Nakamoto how did that work?   24        Q. So you took -- let me ask it. Did you not
      25        A. Not in that first time I met him.                  25   prepare for that interview?


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       1        A. I came up with some sample questions and sent       1   of the media prep sessions that led up to his 2016
       2   them to him. We did not -- I sent him a list of sample      2   reveal?
       3   questions to make sure he was comfortable talking about     3        A. No.
       4   them but we did not meet or rehearse or go over any of      4        Q. Are you aware that there were media prep
       5   them beyond him saying I'm comfortable answering these      5   sessions?
       6   questions.                                                  6        A. I am aware now.
       7        Q. And until that Coin Geek conference you never       7        Q. Did you ever review any of the transcripts
       8   discussed him becoming Satoshi or being Satoshi?            8   that were taken during those media prep sessions?
       9        A. I can't say we never discussed it. I just           9        A. No.
      10   don't have any memory of the conversation where we went    10        Q. I'll represent to you that in those
      11   into any detail about the story of, you know, how he       11   transcripts Craig gives a lot of credit to Dave Kleiman
      12   created Bitcoin or why. I think little bits of it would    12   for --
      13   come out in regular communication such as when -- it       13             MR. RIVERO: Sorry?
      14   became more of a work function.                            14   BY MR. FREEDMAN
      15             For example, when we would talk about why does   15        Q. A lot of credit to Dave Kleiman for helping
      16   nChain need support, you know, the big block position in   16   him create Bitcoin and I am surprised to hear that you
      17   Bitcoin why is it so important that we oppose this thing   17   don't recall hearing Dave Kleiman's name prior to that
      18   at this time called Segregated Witness that the Bitcoin    18   date although you said you recall hearing it but not
      19   core people were going to add to Bitcoin which we          19   prominently. So I guess my question is can you think
      20   thought was going to change Bitcoin and not make it no     20   hard and recall what it was he said about Dave Kleiman
      21   longer Bitcoin and be detrimental.                         21   that causes you to remember the name?
      22             The topic of -- would come up where he would     22             MR. RIVERO: Objection to the form.
      23   say well, that would change what I created. That's no      23             THE WITNESS: That's a hard -- I don't even
      24   longer a Bitcoin and he might sometimes talk about         24        know how to answer that question. I'm not sure I
      25   things he did at the beginning and why certain parts of    25        even heard of Dave Kleiman first from Craig.

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       1   the technical design of Bitcoin are there. It came up       1   BY MR. FREEDMAN
       2   more in that context as -- than going through all the       2        Q. Did you ever hear about Dave Kleiman from
       3   details.                                                    3   Craig?
       4        Q. Did he ever talk about -- when he was talking       4        A. From Craig?
       5   to you about the things he did at the beginning of          5        Q. Yes.
       6   Bitcoin did he discuss specifics of what he did?            6        A. Yes, at different points in time, yes.
       7        A. Not really until that interview I did of him        7        Q. What did he say?
       8   at Coin Geek Toronto.                                       8        A. Well, some of it I learned in the context of
       9        Q. Prior to that Coin Geek interview in Toronto        9   this litigation so I'm sure my lawyer would tell me not
      10   did Craig ever mention Dave Kleiman?                       10   to talk about that.
      11        A. I think I heard the name before but I didn't       11        Q. I'm sure he will. Why don't we hear that
      12   know that much about their relationship.                   12   instruction from the lawyer.
      13        Q. Did you ever ask Craig whether he was Satoshi      13             MR. SILVERGLATE: You're instructed not to
      14   alone or whether there was a team of people involved?      14        talk about things you learned during the course of
      15        A. I didn't ask it that way.                          15        the litigation that are privileged but outside of
      16        Q. How did you ask it?                                16        that you can answer the question.
      17        A. I think I asked him if he had help.                17             MR. RIVERO: Join.
      18        Q. What did he answer?                                18             THE WITNESS: Well, in sum he told me that
      19        A. He said "I was the primary creator but some        19        Dave was a very good friend of his. Probably his
      20   people helped me."                                         20        best friend. He doesn't have a lot of close
      21        Q. Did you ask him who?                               21        friends and that Dave was one of the few people who
      22        A. I don't remember if I did at the time.             22        he felt close to and that he told me some of Dave's
      23        Q. Did you ever ask him how they helped?              23        life story I think at one point that he was -- that
      24        A. I don't remember.                                  24        Dave would tell Craig he was very ill at the end
      25        Q. Were you involved in preparing Craig for any       25        before Dave died and that Craig was very hurt and


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       1        sad when he found out that Dave died and that he       1   that was a first big effort time where he sat down and
       2        had helped him with Bitcoin. I think he said at        2   talked about the creation of Bitcoin, you know, I want
       3        one point he helped Craig edit the white paper of      3   him to be extra mindful.
       4        Bitcoin and trying to think if there was anything      4        Q. Perfectly reasonable thing to do. Did -- what
       5        else. That's the gist of it.                           5   did he say?
       6   BY MR. FREEDMAN                                             6        A. What do you mean what did he say?
       7        Q. Did he ever refer to Dave Kleiman as his            7        Q. When you told him be careful because opposing
       8   partner?                                                    8   counsel can review what's being said and he just said
       9        A. No. Not to me.                                      9   okay? Did he comment? Did he not respond? What was
      10        Q. You have a very clear recollection he never        10   his response?
      11   referred to Dave Kleiman as his partner?                   11             MR. SILVERGLATE: Objection, it calls for a
      12             MR. RIVERO: Object to the form.                  12        privilege.
      13             THE WITNESS: I have never heard him use that     13             MR. RIVERO: Join.
      14        word with almost anybody.                             14   BY MR. FREEDMAN
      15   BY MR. FREEDMAN                                            15        Q. Did Craig Wright ever tell you that Dave
      16        Q. Did you ever ask Craig how much Bitcoin he         16   Kleiman was not his partner?
      17   mined as Satoshi and again given your lawyer's             17             MR. SILVERGLATE: Outside the scope of the
      18   instruction that will stay outside -- obviously without    18        privilege, Jimmy.
      19   prejudice to my right to get this later but I understand   19             THE WITNESS: I can't answer the question.
      20   the instruction you've been given so for purposes of the   20   BY MR. FREEDMAN
      21   deposition stay outside your liaison role?                 21        Q. Just so it's clear while obviously I want to
      22        A. No, I never asked the question.                    22   know all the answers within that scope and your lawyers
      23        Q. Did he ever tell you how much he mined?            23   and I don't see eye to eye on that you've been
      24        A. No.                                                24   instructed not to answer so you should assume for all of
      25        Q. When you had that Coin Geek conference where       25   my questions that you are not -- unless you are

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       1   you hosted an interview of Craig about him being Satoshi    1   instructed otherwise by your lawyer you are not to give
       2   what was that date?                                         2   me answers for that time period, okay? We already have
       3        A. It was sometime in 2018.                            3   a record that you're not going to answer anything so
       4        Q. Had the lawsuit already been filed?                 4   don't want to waste our time to ask questions that
       5        A. Yes.                                                5   you'll be instructed.
       6        Q. So you put Craig on a public stage, asked him       6             In the media sessions that I referenced
       7   about Dave Kleiman's participation in the Bitcoin and       7   earlier there are notes from the PR company about how to
       8   you had absolutely no preparation sessions with him         8   alter the tone of the message or tweak the message
       9   about that?                                                 9   that's being given to make Craig more of a central focus
      10        A. That is correct.                                   10   of the Satoshi Nakamoto team or the driving force behind
      11        Q. Did anybody have preparation sessions with him     11   it. Was that concern carried over into your tenor at
      12   about it?                                                  12   nChain?
      13        A. Not that I know of. Not how Craig works.           13        A. I'm not familiar with the notes you're talking
      14        Q. Did you think that was advisable?                  14   about. I have never seen them.
      15        A. I told him we should be aware of what he said      15        Q. So then let's -- let me rephrase that
      16   publicly. It would be viewed by opposing counsel.          16   question. During your time at nChain was there a
      17        Q. So there was --                                    17   concern about making sure Craig spoke very prominently
      18        A. I didn't have a session with him to prepare        18   about his contribution to being Satoshi as opposed to
      19   what he would say.                                         19   giving credit out to anyone else?
      20        Q. But you admonished him to be careful?              20        A. No.
      21        A. Yes.                                               21        Q. Did you see that Craig had a tendency to give
      22        Q. Which is --                                        22   credit to other people when he talked about Satoshi --
      23        A. Not the right word. I obviously said, you          23   about being Satoshi?
      24   know, be aware that not just in that interview, anything   24        A. I saw that he would acknowledge people often.
      25   he says publicly, right, could be reviewed and since       25   From what I've seen in his public statements were fairly


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       1   consistent about that.                                      1             THE WITNESS: Well, I can answer he's never
       2        Q. Do you believe that Dave Kleiman participated       2        told me that.
       3   in Bitcoin's early days?                                    3   BY MR. FREEDMAN
       4        A. I don't have any basis to answer that.              4        Q. I'm not sure if you're including the time you
       5        Q. Do you think that a lot of people will              5   were as a liaison there but I think your lawyers will
       6   acknowledge that?                                           6   let you answer the question. I just want to be clear as
       7             MR. SILVERGLATE: Object to the form.              7   the timeframe you gave that answer for.
       8             MR. RIVERO: Objection to the form.                8             MR. RIVERO: Let me just be clear from our
       9             THE WITNESS: I can't speculate on what people     9        perspective Mr. Nguyen, which we already talked
      10        would acknowledge.                                    10        about we're instructing you not to answer in that
      11             (Plaintiff's Exhibit No. 9 was                   11        time period at all so just be careful. That's the
      12             marked for identification.)                      12        instruction.
      13   BY MR. FREEDMAN                                            13             THE WITNESS: No, he's never told me that.
      14        Q. I am going to share with you Mr. Nguyen a news     14   BY MR. FREEDMAN
      15   article. I think we're going to be marking now as          15        Q. When you gave your answer before when you were
      16   Exhibit 9. You see that article and let me scroll to       16   limiting it to the permissible timeframe let's say?
      17   the top for you. It's an interview with you conducted      17        A. I guess I wasn't thinking about the timeframe.
      18   by Finance Magnates and it was about April 9th of 2019.    18             MR. SILVERGLATE: Well, we'll move to strike
      19   Do you see that?                                           19        his testimony if it was within the impermissible
      20        A. Yes.                                               20        timeframe.
      21        Q. Do you remember giving this interview?             21             MR. FREEDMAN: Why don't we just get a clear
      22        A. Like I said I give a lot of interviews. I          22        answer whether it was or wasn't. Was it in the --
      23   remember this happened but I don't remember the actual     23        did your answer include the impermissible
      24   interview itself but I remember it happened.               24        timeframe?
      25        Q. I want to point you to this quote where the        25             THE WITNESS: I didn't think about it so --

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       1   reporter -- can you read it for the record? Can you         1             MR. RIVERO: You know what it is a negative --
       2   read this quote for the record?                             2        I don't want to have an argument about this later
       3        A. "And more importantly if you look at the Court      3        on. So if it's a negative it's a negative.
       4   order even though Craig disagrees with it, the Judge        4             THE WITNESS: I don't recall any time.
       5   decided to find that Craig was in a partnership with        5             MR. RIVERO: Exactly.
       6   Dave Kleiman. A lot of people, even if they are             6   BY MR. FREEDMAN
       7   detractors of Craig will acknowledge that Dave was a        7        Q. Let's stay within the timeframe that you're
       8   good person who participated in Bitcoin's early days."      8   permitted to talk about. Did he -- did he ever tell you
       9        Q. Do you remember giving that quote?                  9   that they did not mine Bitcoin together?
      10        A. I don't remember saying it but it it's there       10             MR. RIVERO: Object to the form.
      11   and that's what it says.                                   11             THE WITNESS: I think to the time period which
      12        Q. Do you doubt that you said it?                     12        is covered by the privilege.
      13        A. I don't have any reason to doubt it.               13   BY MR. FREEDMAN
      14        Q. So do you think you can agree with this            14        Q. No, just asking outside of that timeframe did
      15   statement that a lot of people acknowledge that Dave       15   he ever tell you "I did not mine Bitcoin with Dave
      16   participated in Bitcoin's early days?                      16   Kleiman?"
      17        A. From what I hear I think what I was                17        A. I don't think so.
      18   referencing there I rely on looking at the Bitcoin block   18        Q. Did Craig ever tell you within the permissible
      19   chain industry and there are people who believe Dave       19   timeframe that he was holding backup files for Dave
      20   Kleiman participated in the -- in helping Craig with       20   Kleiman?
      21   Bitcoin.                                                   21        A. No.
      22        Q. Again outside of your role as a liaison did        22        Q. When is the first time you heard of W&K Info
      23   Craig ever tell you that he mined Bitcoin with Dave        23   Defense Research?
      24   Kleiman?                                                   24        A. After this lawsuit was filed.
      25             MR. RIVERO: Objection, asked and answered.       25        Q. So it's safe to say Craig never mentioned W&K


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       1   prior to this lawsuit?                                      1        thank you all see you back in about an hour 20.
       2        A. That's correct.                                     2        I'm terrible with math so 3:20 about?
       3        Q. You don't recall ever seeing W&K in any             3             THE VIDEOGRAPHER: Going off the video record
       4   documents you reviewed prior to this document?              4        the time is 2:50 p.m.
       5        A. I do not recall seeing it before.                   5             MR. SILVERGLATE: 4:20.
       6        Q. You don't recall any documents showing              6             MR. FREEDMAN: I gave the caveat I am terrible
       7   potential concerns over ownership of intellectual           7        at math. I wish I wouldn't have said it on the
       8   property vis a vis nChain because of W&K?                   8        record because now I look like an idiot. It is
       9        A. I don't recall that.                                9        what it is. 4:20 it is. Thank you everyone. See
      10        Q. Has Craig ever expressed a concern to you          10        you soon.
      11   about having to pay taxes on his Bitcoin?                  11             (Thereupon, a brief recess was taken.)
      12        A. He's not expressed a concern to me about that.     12             THE VIDEOGRAPHER: We are back on the video
      13        Q. Has he ever talked to you about strategically      13        record. The time is 4:26 p.m.
      14   deploying his Bitcoin so as to avoid taxation?             14   BY MR. FREEDMAN
      15        A. No. He has not said that.                          15        Q. Good afternoon, Mr. Nguyen, I hope your lunch
      16        Q. Has he ever expressed a desire to become           16   was nice. That was a little broken up but I don't know
      17   Antiguan before he accesses his Bitcoin in order to        17   if it was your connection or can you try to speak one
      18   avoid a taxable event?                                     18   more time?
      19        A. He's never said that to me.                        19        A. Yes, thank you.
      20        Q. Has he ever expressed any kind of tax planning     20        Q. I want to spend a little bit more time
      21   statement around accessing Bitcoin?                        21   unpacking your liaison role. So cautionary word of
      22        A. I have heard him generally say he needed to        22   caution wait a minute before -- after I ask my question
      23   deal with paying tax on Bitcoin when his family accesses   23   allow Spencer and Mr. Rivero to object if they feel
      24   it one day. That's pretty much all I know.                 24   necessary. Is there a joint defense agreement that you
      25             MR. FREEDMAN: I think this is a good place       25   are a party to?

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       1   for me to stop. We're close enough to 12:00 your       1             A. Yes.
       2   time that we had talked about having a lunch break.    2             Q. What is the date of that joint defense
       3   So if that works. Do we want to take like an hour      3        agreement?
       4   20 and then come back on the record?                   4             A. There are two.
       5        MR. SILVERGLATE: I am not sure we even need       5             Q. Sorry, I can't hear you.
       6   that much time do you Andres or Jimmy?                 6             A. There are two. I'm individually a party to is
       7        MR. RIVERO: No. It may be Amanda when we          7        the signed one in April of 2020.
       8   resume but I don't think we need an hour 20.           8             Q. So both joint defense agreements were signed
       9        MR. SILVERGLATE: Want to say an hour?             9        in April of 2020?
      10        MR. FREEDMAN: I need the hour 20. I will --      10             A. No. There is a joint defense agreement --
      11   if you want I think there's an e-mail chain with      11        Spencer I'm assuming I can answer the question.
      12   all of us on it if we can finish up earlier but I     12                  MR. SILVERGLATE: You can describe the other
      13   need an hour 20.                                      13             joint defense agreement, Jimmy.
      14        MR. SILVERGLATE: Any idea when you intend to     14                  THE WITNESS: This is the first joint defense
      15   complete the deposition?                              15             agreement is between nChain and Craig Wright.
      16        MR. FREEDMAN: I've got to go back through my     16        BY MR. FREEDMAN
      17   notes see how your instruction has altered the        17             Q. What is the date of that agreement?
      18   timeframe. So let me figure that out and hopefully    18             A. I don't remember the exact date. I don't have
      19   when we get back I'll have a better sense of that.    19        a copy of it. It would have been executed shortly after
      20        MR. SILVERGLATE: Okay. Before we break I'm       20        the lawsuit was filed after outside counsel was selected
      21   going to join in designating the deposition as        21        so early on in the case in 2018.
      22   confidential.                                         22             Q. And are you a party to that individually?
      23        MR. FREEDMAN: Okay. You have a copy of the       23             A. That I'm not a party to individually.
      24   protective order, there's timeframes you have to      24             Q. There is a second joint defense agreement.
      25   de-designate and that sort of thing. Great. So        25        What is the date on that one?


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       1        A. I don't know it has a specific date. It's           1   under the first joint interest agreement between nChain
       2   signed in April 2020.                                       2   and Craig and now that I am not with nChain any more
       3        Q. That's between you personally and who?              3   because the knowledge I have that relates to nChain
       4        A. Between Craig Wright, nChain and me                 4   lawsuit is obviously being examined in this case I
       5   personally.                                                 5   thought it was appropriate to enter into a second
       6        Q. Did an amendment of the original or is it a         6   agreement to add to the first one to cover going forward
       7   brand new defense agreement?                                7   Craig Wright, nChain and me individually.
       8        A. Second joint defense agreement. Not an              8        Q. What is your specific interest in this
       9   amendment. It's not called a joint defense agreement        9   litigation that aligns with nChain and Craig Wright?
      10   it's called interest agreement or common interest          10        A. I don't have a -- Spencer, can I answer this
      11   agreement.                                                 11   question?
      12        Q. So the joint defense agreement from early 2018     12             MR. SILVERGLATE: Well, I would say -- so I've
      13   between nChain and Craig Wright what is the basis of       13        already asserted what the interest is when you
      14   that joint defense agreement?                              14        asked me the question and I've already explained he
      15        A. I guess I'm not sure I understand the              15        is a liaison to Craig in the litigation. So that's
      16   question.                                                  16        the interest. If Jimmy wants to expand on that
      17        Q. What is the joint interest that is seeking to      17        that's fine but we've already plowed that ground I
      18   be protected?                                              18        think.
      19        A. I don't have the agreement in front of me. I       19   BY MR. FREEDMAN
      20   know it discusses that. I can tell you assuming Spencer    20        Q. Do you have anything to add to that,
      21   is allowing me to answer the question. Can I answer the    21   Mr. Nguyen?
      22   question?                                                  22        A. Not at this time.
      23             MR. SILVERGLATE: You can answer, yes.            23        Q. Are you aware of communications between Craig
      24             THE WITNESS: The general feeling at the time     24   and nChain that are subject to the joint defense
      25        was -- at the time I was nChain's CEO we heard the    25   agreement?

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       1        lawsuit was filed. We knew the lawsuit was against     1        A. I'm not sure how to answer that question.
       2        Craig personally but the lawsuit I believe reading     2   Obviously an employee of nChain as well as a separate
       3        the complaint asserted claims to an interest in any    3   individual capacity.
       4        intellectual property. I don't know how it was         4        Q. So in your role as a liaison did you ever do
       5        phrased but from or created by Craig in connection     5   your -- did you ever liaise in person?
       6        with Bitcoin.                                          6        A. Yes.
       7             We believed there was a chance that the           7        Q. Did you ever liaise through e-mail?
       8        Kleiman estate which you represent would either        8        A. Yes.
       9        assert claims directly or indirectly against nChain    9        Q. Did you ever liaise through text messages?
      10        or any of its assets and since Craig was an           10        A. Yes.
      11        employee of nChain and chief scientist we felt it     11        Q. Did you ever liaise in any other form of
      12        appropriate to enter into the agreement. NChain or    12   communication?
      13        any of its (inaudible) implicated whether it got      13        A. I think that covers most of it.
      14        sued directly or not.                                 14        Q. Does Craig have access to his nChain e-mail
      15   BY MR. FREEDMAN                                            15   account?
      16        Q. What is the basis or what is the common            16        A. I can't answer that question. I don't know.
      17   interest seeking to be protected in the new April 2020     17        Q. While you were CEO did Craig have access to
      18   agreement?                                                 18   his nChain e-mail account?
      19        A. Again I don't have it in front of me so I know     19        A. I would assume so, yes.
      20   there's a description of it in there. I would say          20        Q. Did you get e-mails from him from his nChain
      21   generally the -- I guess I have to be careful not to       21   e-mail account while you were CEO?
      22   disclose privileged communications here but in general I   22        A. Yes.
      23   left my role with nChain in March of 2020 just last year   23        Q. Have you recently received an e-mail from
      24   so my dealings and communications with respect to the      24   Craig from his nChain e-mail account?
      25   lawsuit while I was at nChain would have been covered      25        A. Probably. I haven't had that many e-mails


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       1   with Craig but yes, probably.                               1        here.
       2        Q. In your role as liaison did you assist in the       2   BY MR. FREEDMAN
       3   collection of documents in this litigation?                 3        Q. Besides Rivero, Mestre that you've identified
       4        A. No. You mean for Craig? No.                         4   as part of your liaising duties do you liaise with any
       5        Q. Prior to -- I think your testimony earlier was      5   other lawyers for Craig Wright?
       6   you began liaising before Rivero, Mestre was hired; is      6             MR. SILVERGLATE: Asked and answered.
       7   that correct? Sorry, I didn't hear the answer.              7             MR. FREEDMAN: You can answer unless he
       8        A. That is correct.                                    8        instructs you not to.
       9        Q. I think there might be something up with your       9             MR. SILVERGLATE: You can answer.
      10   mic if you can just project a little louder.               10             THE WITNESS: Not on this case.
      11        A. That is correct. Again liaising with Craig         11   BY MR. FREEDMAN
      12   before Rivero, Mestre was engaged to represent him.        12        Q. Are there any other members of the defense
      13        Q. So I'm not sure what your lawyer is going to       13   team that you're aware of that are similar -- are also
      14   do here but pause a second allow Spencer. Prior to         14   act as a liaison?
      15   Rivero, Mestre being retained did you discuss this         15        A. No.
      16   lawsuit with Dr. Wright?                                   16        Q. In your role on the defense team do you act as
      17             MR. SILVERGLATE: So the answer to that           17   a liaison between Craig and anyone that is not an
      18        question is yes or no.                                18   attorney?
      19             THE WITNESS: Yes.                                19        A. Not that I can recall.
      20   BY MR. FREEDMAN                                            20        Q. Did you ever liaise between Craig and nChain?
      21        Q. And pause again, what were the substance of        21        A. Not for this purpose.
      22   those communications?                                      22        Q. Did you ever act as a liaison between Craig
      23             MR. SILVERGLATE: Objection, instruct him not     23   Wright's lawyers and someone other than Craig Wright?
      24        to answer, it's privileged.                           24        A. Yes.
      25             MR. RIVERO: Join.                                25        Q. I am going to ask you but give your lawyer a

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       1   BY MR. FREEDMAN                                             1   second I don't know what he is going to say who did you
       2        Q. Again I'm going to ask you to give your lawyer      2   liaise in that capacity for?
       3   a chance I'm not sure how they're going to come out on      3             MR. SILVERGLATE: Are we talking about in the
       4   this. Did you ever discuss your subpoena with Rivero,       4        litigation?
       5   Mestre?                                                     5             THE WITNESS: Yes.
       6             MR. SILVERGLATE: Objection. Don't answer,         6             MR. SILVERGLATE: Okay, can you answer without
       7        it's privileged.                                       7        encroaching on privileged communications?
       8             MR. FREEDMAN: Based on that instruction I'm       8             THE WITNESS: I think so, yes. Steve
       9        going to skip all the subsets of that.                 9        Shadders.
      10   BY MR. FREEDMAN                                            10   BY MR. FREEDMAN
      11        Q. When did you first find out you had been           11        Q. Anyone else?
      12   subpoenaed or attempted to be subpoenaed in this           12        A. I can't recall anybody else.
      13   litigation?                                                13        Q. What about Calvin Ayre?
      14        A. I found out through counsel.                       14        A. No.
      15        Q. Who are you referring to when you say counsel?     15        Q. How about Ron Tarter?
      16        A. I found out not through my counsel, through        16        A. No. Actually let me correct that. I do
      17   Craig's counsel.                                           17   recall having communications with Ron Tarter in
      18        Q. Do you recall the date?                            18   connection with explaining things that were happening
      19        A. I don't know the exact date. It would have         19   with Craig in the lawsuit.
      20   been in --                                                 20        Q. So wait before you answer. Can you tell me
      21             MR. SILVERGLATE: Stop Jimmy, stop. I believe     21   the content of those communications?
      22        that this is privileged. It's your communications     22             MR. SILVERGLATE: So I'm not sure who this is.
      23        with Craig's counsel so it's subject both to the      23             MR. RIVERO: Let me step in. I'm going to
      24        joint interest agreement and to the attorney-client   24        assert the common interest privilege and if the
      25        privilege. So I'm going to assert the privilege       25        question is about the substance of the conversation


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       1        we're going to assert the privilege.                   1        A. Stefan is part of nChain. So I would get
       2   BY MR. FREEDMAN                                             2   questions about what's going on with the lawsuit to
       3        Q. Ron Tarter, is there a defense agreement            3   provide him just general status of where the lawsuit is
       4   between Craig Wright -- to your knowledge Mr. Nguyen is     4   going or what's happening with it, status to people like
       5   there a defense agreement between Craig Wright and any      5   Stefan.
       6   of Calvin Ayre's companies?                                 6             MR. SILVERGLATE: Vel, I think we lost Andres.
       7        A. I do not know.                                      7             MR. FREEDMAN: I see that. Zalman is on.
       8        Q. And you understand Ron Tarter works for Calvin      8        Zalman -- I do see Andres is on. He's turned off
       9   Ayre?                                                       9        his video but he is on. He has muted himself so we
      10        A. Correct.                                           10        can't hear him. He has not muted himself. Somehow
      11        Q. Is there a common interest between Calvin Ayre     11        he's been muted. I'll try to undo that.
      12   and Craig Wright?                                          12             MR. RIVERO: I did take myself off video. I
      13        A. I don't know if I can answer that question.        13        didn't mute myself. I don't know how that happens.
      14   Certainly they have a common interest in, you know,        14   BY MR. FREEDMAN
      15   Bitcoin and the growth of Bitcoin.                         15        Q. Have you ever acted as liaison between Craig
      16        Q. But as it relates to this litigation?              16   Wright and Ramona Watts?
      17        A. I don't know how to answer. I don't have the       17        A. No.
      18   basis to answer that question. I suppose you can say --    18        Q. Have you ever participated in discussions
      19        Q. Just to be clear what was the date of the          19   about this lawsuit between -- that involved Craig Wright
      20   communication between you and Ron Tarter?                  20   and Ramona Watts and yourself?
      21             MR. SILVERGLATE: Before he answers that I        21        A. Yes.
      22        think you cut off his last answer.                    22        Q. Give your lawyer a minute here but I'm going
      23             MR. FREEDMAN: I'm sorry, go ahead.               23   to ask what was the content of those communications?
      24             THE WITNESS: I was going to say Calvin is now    24             MR. SILVERGLATE: I'm going to object if those
      25        a shareholder of nChain as was announced sometime     25        communications were with Craig Wright and Ramona I

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       1        last year and obviously nChain is -- I've explained    1        think it would all be subject to the privilege.
       2        has a common interest with Craig about this            2             MR. RIVERO: Join.
       3        litigation.                                            3             MR. FREEDMAN: You said object Spencer, I
       4   BY MR. FREEDMAN                                             4        assume you're instructing him not to answer?
       5        Q. What was the date of your communication with        5             MR. SILVERGLATE: I instruct him not to
       6   Ron Tarter?                                                 6        answer.
       7        A. I don't recall. It would have been in I would       7             THE WITNESS: I guess I have to rephrase my
       8   say summer of 2018. Later in the summer or fall of          8        answer to the last question. I won't answer the
       9   2018.                                                       9        substance of communications. You asked me did I
      10        Q. That would be before Calvin Ayre became a          10        act as a liaison between Craig and Ramona. My
      11   shareholder of nChain?                                     11        initial thought -- that's a hard question to
      12        A. I don't have the date -- I have the years          12        answer.
      13   wrong. 2019.                                               13             My initial thought was to say no but I was
      14        Q. Still before Calvin Ayre became a shareholder      14        asked to help facilitate understanding
      15   of nChain?                                                 15        communication things related to the case with Craig
      16        A. I don't know the exact date Calvin became a        16        and with Ramona involved and does that mean I was
      17   shareholder. I know when it was announced. I don't         17        liaising with Craig to Ramona to some extent I
      18   know when it became effective.                             18        guess it does.
      19        Q. Did you ever liaise between Craig Wright and       19   BY MR. FREEDMAN
      20   Stefan Matthew?                                            20        Q. Well, I'm going to repeat my question and you
      21        A. That was strange.                                  21   can take a beat there for Spencer to jump in. Can you
      22        Q. Steven Matthews. Did you ever liaise between       22   tell me the content of those communications?
      23   Craig Wright and Steven Matthews?                          23             MR. SILVERGLATE: I'm going to object and
      24        A. You mean Stefan?                                   24        assert the privilege instruction.
      25        Q. Yes.                                               25             MR. RIVERO: Join.


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       1        MR. FREEDMAN: Just so the record is clear          1       BY MR. FREEDMAN
       2   which privilege are you invoking?                       2            Q. Have you heard -- had you heard of Dave
       3        MR. SILVERGLATE: Attorney-client joint             3       Kleiman prior to January of 2017?
       4   interest.                                               4            A. I think I might have seen the name somewhere
       5        MR. FREEDMAN: Whose joint interest?                5       but I didn't really know much about him.
       6        MR. SILVERGLATE: I'm asserting a joint             6            Q. Do you know where you saw that name from?
       7   interest privilege and I don't think I need to get      7            A. Before I reviewed documents that produced to
       8   into a colloquy or argument with you here.              8       you in response to the subpoena I didn't think I had
       9        MR. FREEDMAN: Okay. There's two different          9       even heard the name at all until much later but I think
      10   joint interest agreements, just trying to figure       10       there's an e-mail where Kleiman is mentioned and I don't
      11   out which one you're invoking.                         11       even remember seeing the reference to Kleiman in the
      12        MR. SILVERGLATE: It depends which timeframe       12       e-mail.
      13   we're talking about.                                   13                 That may be the first time I saw it but at the
      14        MR. FREEDMAN: Fair question. What was the         14       time I probably would not have even given it much
      15   timeframe of these communications.                     15       thought. I think I did not really understand who Dave
      16        MR. SILVERGLATE: He's already described that.     16       Kleiman was until late 2017, maybe early 2018.
      17        MR. FREEDMAN: I don't think so. He just           17                 (Plaintiff's Exhibit No. 10 was
      18   talked about their existence for the first time a      18                 marked for identification.)
      19   few minutes ago.                                       19       BY MR. FREEDMAN
      20        MR. SILVERGLATE: You're right, I thought you      20            Q. I share with you what we're going to mark as
      21   were asking about the timeframe for the agreements.    21       Exhibit 10. It's Nguyen 642. Is this the e-mail you're
      22   You're right, he didn't talk about the                 22       referencing?
      23   communications.                                        23            A. That's correct. I saw this e-mail in my
      24        THE WITNESS: I can tell you it was during the     24       review to produce documents to you and some of it had
      25   timeframe covered by the first joint interest          25       mentioned Dave Kleiman but when I saw it I don't even

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       1        agreement.                                             1   remember seeing the reference to Dave Kleiman at the
       2             (Discussion held off the record.)                 2   time.
       3   BY MR. FREEDMAN                                             3        Q. You ask on the 27th of December you say "who
       4        Q. Do you know if anyone else could fill the           4   is Uyen" and then you get a response back from Stefan he
       5   liaison role you're filling -- that you described?          5   says "long story she worked with CSW" which is Craig
       6             MR. RIVERO: Object to the form.                   6   Steven Wright; correct?
       7             THE WITNESS: Do I believe anybody else could?     7        A. Correct.
       8        In theory you know yes, there probably could be        8        Q. "And Dave Kleiman professes love for CSW.
       9        other people. I would answer that -- how I would       9   Sees us destroying our involvement with the CSW." Did
      10        answer that is Craig asked me because he felt I was   10   you follow up with this and say who the heck is Dave
      11        uniquely situated to do it because not that many      11   Kleiman?
      12        people understand Craig given his difficulty in       12        A. Not at the time.
      13        communication and also I was a former lawyer in the   13        Q. Did you know who he was?
      14        U.S. and also I understand, you know, Bitcoin from    14        A. No. I think I had heard or read -- there's a
      15        working with him and so that's a rare combination     15   lot of media coverage about Craig and Bitcoin and this
      16        to find in one person especially the part about       16   question who is Satoshi Nakamoto. I mean in my process
      17        deciphering Craig as I would say. He's often          17   of understanding this world before I left my legal
      18        difficult to understand and people who are new to     18   practice to join nChain I remember surfing the internet
      19        him working with him have challenges understanding    19   trying to read what I can see and I think I remember
      20        what he is trying to say or communicate.              20   seeing Dave Kleiman's name but I didn't have much of a
      21             So could someone else fill this role, you        21   background so I didn't understand it. This e-mail
      22        know, there's a lot of people in the world            22   you're focusing on Uyen in fact when I saw Dave
      23        potentially. I am just -- I was the obvious choice    23   Kleiman's name like I said I can't even remember it
      24        for it given my working relationship with him and     24   triggering any reaction at the time.
      25        those other factors.                                  25        Q. Glad you can help solve a little debate on our


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       1   side here which is how do you pronounce her name?           1   transcripts made of his meetings with the Tax Office?
       2        A. Well, again there's the Vietnamese                  2        A. I don't know if he told me that. Somehow I
       3   pronunciation and Americanized pronunciation. Her last      3   became aware there are.
       4   name is mine Nguyen and I actually have -- even though I    4        Q. Did he ever mention those transcripts to you?
       5   am Vietnamese American I don't know that I've ever known    5        A. Nope.
       6   another person with that name so how I pronounce in         6        Q. Did he ever mention the name Mark Ferrier to
       7   Vietnamese is I guess it would be Uyen Nguyen which         7   you?
       8   sounds very weird. I'm not certain because I have never     8        A. No.
       9   met another Vietnamese person with that name.               9        Q. Prior -- again all these are prior to the time
      10        Q. I understand that the last name Nguyen is a        10   period you're permitted to testify about pursuant to
      11   very common last name from Vietnam. But I have to ask      11   your lawyer's instruction. Prior to the time -- prior
      12   obviously is there any relationship between you and        12   to the time you're forbidden to talk about did Craig
      13   Ms. Nguyen?                                                13   ever mention Uyen to you?
      14        A. No. And contrary to some internet rumors I am      14        A. Yes.
      15   not her.                                                   15        Q. What did he say about her?
      16        Q. I've seen pictures and I can attest to that        16        A. I don't remember. What I remember him
      17   unless you're a master of disguise. Prior to the time      17   saying -- I had seen her name somewhere on the internet.
      18   and your not being permitted to testify about had Craig    18   I thought it was funny that she has another Vietnamese
      19   ever mentioned about the trust to you?                     19   name and I asked who was she and he said, she used to
      20        A. No.                                                20   work for me.
      21        Q. Based on -- again prior to the time you're not     21        Q. You just left it at that?
      22   being permitted to testify did Craig ever mention the      22        A. Yes. Because this was at a point in my
      23   Australian Tax Office investigation to you?                23   working relationship with Craig where I don't think I --
      24        A. Yes.                                               24   we weren't -- I wouldn't call us friends at that point.
      25        Q. What did he say about it?                          25   We were just getting to know each other and he's a hard,

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       1        A. Well, generally I got the, you know, short          1   difficult person to get to know so I didn't feel
       2   version of what I assume is a much longer story that he     2   comfortable, you know, asking, you know, more probing
       3   had applied for tax credits for research and development    3   questions.
       4   tax credits in Australia, the Australian Tax Office         4        Q. Did you ever talk to him again about her prior
       5   denied those credits. That led to some big, you know,       5   to this time you're not permitted to testify about?
       6   fight with the Australian Tax Office and that he felt       6        A. I think her name came up again at some point
       7   that the credits were proper and they did not understand    7   and I'm trying to remember when. I think sometime in
       8   Bitcoin -- the work he was doing was a business. They       8   2017.
       9   thought it was a hobby which is why he said they denied     9        Q. Do you remember what that was about?
      10   the tax credits and that led to a big fight.               10        A. Yes, I think it was I was at a conference with
      11        Q. Did he ever tell you that the Australian Tax       11   Craig and Ramona in the Netherlands and I think it was
      12   Office accused him of forging documents?                   12   Ramona asked me if I knew that -- whether Uyen Nguyen
      13        A. I don't know if he told me that. I heard that      13   might be there and something -- that's the only
      14   somewhere.                                                 14   conversation I remember about it.
      15        Q. Did he ever tell you that his lawyers in           15        Q. When you started working at nChain you
      16   Australia terminated their representation of his           16   understood at that time that Satoshi Nakamoto had
      17   companies based on these forgeries?                        17   control over billions of dollars of Bitcoin; right?
      18        A. No. I never heard that before today.               18        A. I had read on the internet that there was this
      19        Q. Did he ever talk to you about Andrew Summer?       19   question of who is Satoshi Nakamoto and that there were
      20        A. I don't think so. The name doesn't ring a          20   all these coins that were mined, controlled by Satoshi
      21   bell.                                                      21   that had never been moved.
      22        Q. Did he ever tell you that he had meetings with     22        Q. Did you make the connection to the extent
      23   the Tax Office?                                            23   Craig Wright was Satoshi Nakamoto he would have control
      24        A. I know he said he met with the Tax Office.         24   over billions of dollars of Bitcoin?
      25        Q. Did he ever tell you that there were               25        A. I didn't necessarily make the connection that


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       1   he would have control over it because I didn't at the       1   know, what I say to you normal people might understand
       2   time know any details about how the coins were held or      2   and he gets really frustrated and agitated often when he
       3   anything like that but did I think that yes, Craig          3   is trying to say something to me, people in our office
       4   Wright or his family might have access at some point one    4   lot of times and they're not getting it and there were a
       5   day to a lot of Bitcoin yes, I did -- that thought did      5   lot of times where there would be blow ups.
       6   occur to me.                                                6        Q. Prior to this time that you start acting as
       7        Q. Why say one day, why wouldn't you think he          7   liaison did Craig Wright ever mention Denis Mayaka?
       8   didn't have access immediately?                             8        A. Yes.
       9        A. Because I had read on the internet somewhere.       9        Q. What did he say about him?
      10   This is Satoshi Nakamoto, you know, question raises a      10        A. The first time I think I heard of Denis Mayaka
      11   lot of internet stories and I think I read on some of      11   is I got an e-mail I'm not sure if it was from Denis or
      12   the online stories about that these coins had never        12   someone who knew Denis about asking Craig to come speak
      13   moved and that there were rumors. There were in some       13   at a conference somewhere in Africa and I did not know
      14   kind of trust or that they were locked up for some time    14   who this person was so I asked Craig who is Denis.
      15   and that one day they would become accessible.             15        Q. What did he say?
      16        Q. You never asked Craig about it?                    16        A. He said he's someone who I know in Africa and
      17        A. No, I didn't feel comfortable.                     17   I don't know if he said he works for him but something
      18        Q. You exercised a lot of restraint?                  18   to the extent, you know, he does work for me or my
      19        A. Well --                                            19   family, you know, I don't know if he said companies.
      20             MR. SILVERGLATE: Object to the form.             20   There was some professional relationship between them.
      21             THE WITNESS: He's a -- you know, here is what    21        Q. Did he say he was his lawyer?
      22        I would say. When I first joined nChain that was      22        A. I don't remember. I remember him saying at
      23        after the proof attempt that did not go well so he    23   some point he is a lawyer because it came up that I was
      24        was very sensitive at that time and volatile as a     24   a lawyer and he was a lawyer.
      25        personality to anything -- talking about anything     25        Q. Do you know if Mayaka is a lawyer?

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       1        about being Satoshi Nakamoto and when I joined it      1        A. I never asked the question I don't think. I
       2        was my job to understand the work that was being       2   was just told he is.
       3        done at the company, get to know him, just that he     3        Q. Have you ever spoken to Mayaka?
       4        would be comfortable working with me and he is         4        A. No.
       5        important.                                             5        Q. Do you know Mayaka exists?
       6             I didn't want to push him because that -- he's    6        A. I think I've gotten a couple of e-mails over
       7        got -- it's his personality where he is not like       7   the course of time. That was about following up about
       8        the normal person. He can blow up quickly so I         8   trying to find a time to get Craig to come speak at a
       9        felt it more important to focus on the work that we    9   conference because that was part of the role I filled
      10        were doing than try to push what our sensitive        10   while I was at nChain was fielding, facilitating,
      11        topics to extract questions out of him that I knew    11   speaking requests for Craig and so I got e-mails from
      12        he wouldn't want to talk about.                       12   him but I have never spoken to him. I got e-mails from
      13   BY MR. FREEDMAN                                            13   who I was told was Denis.
      14        Q. You said before that he was volatile after the     14        Q. That was my next point which is you don't
      15   proof failed. What do you mean by volatile?                15   actually know who sent you those e-mails, do you?
      16        A. Well, I wasn't at in London or nChain's office     16        A. No. I just know they were named -- they came
      17   after the proof failed. I can only tell you about my       17   from an e-mail account or person's name that was Denis.
      18   experience or things I learned afterwards and after I      18        Q. Have you ever liaised with Mayaka?
      19   joined nChain. He's had moments of being volatile with,    19        A. No.
      20   you know, employees we had at the time at nChain in the    20        Q. Did he ever mention Mayaka and trusts?
      21   office.                                                    21        A. Only after the litigation was started.
      22             He resisted wanting to do any media for a long   22        Q. Prior to the -- your job as a liaison did
      23   time. When people -- when he feels he is not understood    23   Craig ever mention a bonded courier to you?
      24   he can, you know, get angry, blow up and what I've         24        A. I'm sorry, could you repeat the question?
      25   learned is he has a hard time being understood, you        25        Q. Did Craig ever mention a bonded courier to


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       1   you?                                                        1   it's more based on through my work with him seeing the
       2             MR. SILVERGLATE: Prior to your job as a           2   depth of knowledge he has about Bitcoin, the original
       3        liaison.                                               3   protocol, what it is capable of doing as a technology
       4             THE WITNESS: No.                                  4   platform. People think of it just as a digital
       5   BY MR. FREEDMAN                                             5   currency.
       6        Q. Prior to your job as a liaison did Craig ever       6             A lot of the world that's all they know of
       7   mention Shameer's Secret Sharing Algorithm to you?          7   Bitcoin but it's protocol rule set and technology system
       8        A. I don't know if he mentioned it. I know I was       8   as I learned from Craig to be used for so many more
       9   involved in meetings and discussions at nChain about the    9   powerful things and he has explained to me things he put
      10   concept of Shameer's Secret Sharing Scheme in the          10   in Bitcoin's early design and protocol and code that
      11   context of the work being done at nChain by some of the    11   have all of these advanced uses and features that no one
      12   researchers and I believe Craig may have been in the       12   else would have been able to figure out or at least
      13   room for one or more of those meetings.                    13   certainly other Bitcoin developers wondered why for
      14        Q. Do you believe Satoshi Nakamoto was one person     14   example this certain thing in the code and it's because
      15   or a team of people?                                       15   as I learned from him he's always had this grand vision
      16             MR. RIVERO: Object to the form.                  16   that what it could be used for.
      17             THE WITNESS: I don't know that I can answer      17             So that is a big part of why. My
      18        that question. I can tell you, you know, based on     18   conversations with people like Steve Shadders, the CTO
      19        what I know and my discussions with Craig, you        19   of nChain who is very technically knowledge about
      20        know, that would not fall into the privileged area    20   Bitcoin. In fact probably the most knowledgeable
      21        that he has consistently said he was the primary      21   Bitcoin person I've met or worked with. He believes
      22        visionary, architect, creator of Bitcoin and          22   Craig is Satoshi. We've had that discussion and he
      23        drafter of the white paper.                           23   knows more technically to be able to challenge Craig on
      24             He did the -- he coded most of the first         24   a lot of things than I do and also because people like
      25        client software for Bitcoin, first version of the     25   Stefan Matthews have told me the reasons for their

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       1        client software but that he had help.                  1   belief. So it's a collection of a lot of things that
       2   BY MR. FREEDMAN                                             2   lead me to the conclusion. It's not any one thing.
       3        Q. But he never expanded on what help meant?           3        Q. Prior to the time you began acting as a
       4        A. I think I said earlier I believe at one point       4   liaison did Craig ever mention to you that he had been
       5   he said -- told me that Dave helped him edit the white      5   hacked?
       6   paper and that conversation came up because I -- one of     6        A. Yes.
       7   my early tasks in starting to work with Craig was to        7        Q. What did he say?
       8   help him with his papers that he was trying to put out      8        A. He told me that he's been the subject of many
       9   while he was at nChain and so I helped review and edit      9   hack attempts. That that was an issue in his case with
      10   some of his papers to the best I could and he -- that's    10   the Australian Tax Office that someone hacked his
      11   how we got to somehow the conversation about he told me    11   company computers and tried to change documents.
      12   that Dave Kleiman had helped him with it, the Bitcoin      12             He believed it was former disgruntled
      13   white paper.                                               13   employees, staff and that caused all kinds of problems
      14        Q. Did you ask him any more details about that?       14   in dealing obviously with defending himself before the
      15        A. No. Like I said it was probably a good year        15   Tax Office.
      16   in my working with nChain before I felt I could -- I       16        Q. Any other times?
      17   knew Craig enough that we had a level of relationship      17        A. We've had that conversation more than once and
      18   where I can ask to -- to talk about the Satoshi topic      18   I'm trying to remember if there was anything to add to
      19   without risk of him, you know, getting agitated.           19   that. There was a former I guess I don't know if he was
      20        Q. Do you believe Craig Wright is Satoshi             20   an employee. Someone who worked for Craig, his company
      21   Nakamoto?                                                  21   unless Australia I think his name was Jamie Wilson,
      22        A. Yes.                                               22   something to that effect who I got connected to because
      23        Q. Why?                                               23   he -- after nChain went public, surfaced publicly we
      24        A. It's based on a collection of many things.         24   started getting all kinds of inquiries and e-mails and
      25   Based on him telling me very consistently about it but     25   stuff and Jamie Wilson I don't know how he contacted us


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       1   but got somehow landed in my e-mail box wanting to sell     1   interprets questions and how he answers them in a very,
       2   some IP he claimed he owned to nChain and said he knew      2   you know, I would say in his own head in a way that I
       3   Craig from the past.                                        3   learned that it takes time to sometimes get from him the
       4             So I asked Craig who is this person and he        4   information you need.
       5   told me be very careful with him because he didn't trust    5        Q. I am going to share with you what's been filed
       6   him and he thinks he was responsible for either altering    6   as Exhibit 15 to the second amended complaint. Have you
       7   company documents or somehow doing something to disturb     7   ever seen this document before? I'm going to keep
       8   the company computers and records and I think he was the    8   scrolling unless you tell me to stop.
       9   CFO or some kind of financial role.                         9        A. I'm not sure I've seen this exact document but
      10        Q. Did Craig mention to you that the alterations      10   I've seen things that look like it.
      11   to the documents in the Australian Tax Office supported    11        Q. Have you seen this page before?
      12   the positions that he was taking in front of the           12        A. I have seen like -- as I recall there may be
      13   Australian Tax Office?                                     13   disputes about different versions of this. I've seen a
      14        A. I don't recall that.                               14   page that looks like this.
      15        Q. Do you believe Craig's been hacked?                15        Q. Have you ever asked Craig about it?
      16        A. I have no basis to answer that question since      16        A. Only in the context of litigation.
      17   I wasn't there at the time. I just know what he told me    17             MR. FREEDMAN: Sorry, that will be Exhibit 11
      18   and he and I believe Ramona his wife also told me he had   18        I think we're at to the deposition.
      19   to get some kind of forensic I don't know if you call it   19             (Plaintiff's Exhibit No. 11 was
      20   forensic audit, investigator to go back in and try and     20             marked for identification.)
      21   prove this. So I don't have any personal basis to be       21   BY MR. FREEDMAN
      22   able to say yes or no.                                     22        Q. Do you understand that the judge in this --
      23        Q. Do you believe Craig is a truthful person?         23   magistrate judge in this litigation has found that Craig
      24             MR. RIVERO: Object to the form.                  24   submitted forged documents as evidence?
      25             THE WITNESS: Should I answer that question?      25             MR. RIVERO: Objection to form.

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       1             MR. FREEDMAN: Sure.                               1             MR. SILVERGLATE: I'm going to object. If you
       2             THE WITNESS: I believe Craig is a truthful        2        learned as part of the litigation and as part of
       3        person who has difficulty answering questions and      3        your privileged work in the litigation I'll
       4        communicating in ways to normal people so that         4        instruct you not to answer.
       5        people often think he is being less truthful than      5             MR. RIVERO: Join that as well.
       6        he is.                                                 6             MR. FREEDMAN: It's a publicly filed opinion.
       7   BY MR. FREEDMAN                                             7             MR. SILVERGLATE: Can you read back the
       8        Q. Has Craig ever lied to you?                         8        question, please?
       9        A. Not that I know of but I had to -- sometimes        9             (Thereupon, a portion of the record
      10   he'll tell me something and it doesn't seem to make        10             was read back by the reporter.)
      11   sense and then I have to ask like five more questions to   11             MR. SILVERGLATE: If you learned from public
      12   extract out well, what do you mean that doesn't make       12        records then fine. If you learned from the lawyers
      13   sense I thought you said this the other day. Something     13        then I'm instructing you not to answer.
      14   slightly different and then I have to -- when I ask five   14             MR. RIVERO: I'll repeat my form objection.
      15   follow-up questions then I get to the answer. I said --    15        You may answer.
      16   I'll say why didn't you just tell me that in the first     16             THE WITNESS: I read the magistrate's order.
      17   place and he'll say but that's not exactly the question    17        I don't recall the exact phrasing of it but I got
      18   you asked and what I've learned is he is very linear,      18        the order from counsel.
      19   right, in his way of thinking and answering questions      19   BY MR. FREEDMAN
      20   where, you know, you might ask me, you know what time of   20        Q. Do you have any opinion on that?
      21   day it is and I'll look at my clock I'll say okay it's     21             MR. RIVERO: Objection.
      22   2:16 p.m. Pacific time. Then he'll say but you didn't      22             MR. SILVERGLATE: Object to the form.
      23   ask me what part of the country or what part of the        23             THE WITNESS: Can I answer that question?
      24   world and in the beginning it was frustrating to deal      24             MR. RIVERO: Yes.
      25   with him in that regard but I've learned that it's -- he   25             THE WITNESS: The only opinion I can draw upon


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       1        is based on what I've been told or know in the         1   e-mails on your own that were over a year old?
       2        context of assisting Craig with the litigation         2        A. I don't recall how that was set up.
       3        under the joint interest arrangement.                  3        Q. Did your access to nChain's e-mails change --
       4             MR. SILVERGLATE: I'm going to instruct him        4   let me strike that. When did you lose access to your
       5        not to answer.                                         5   nChain e-mail account?
       6             MR. RIVERO: Join.                                 6        A. I think it was around March 12th through 19th
       7   BY MR. FREEDMAN                                             7   timeframe.
       8        Q. Do you understand that the magistrate in            8        Q. And prior to March 12th through 19th did your
       9   Florida has found that Craig Wright has committed           9   ability to access your nChain e-mail account change from
      10   perjury in his presence?                                   10   before you were CEO to after you were CEO and were the
      11             MR. SILVERGLATE: Same admonition, Jimmy.         11   chair of the Strategic Advisory Board?
      12             THE WITNESS: As I said I read the                12        A. I'm sorry, can you repeat the question?
      13        magistrate's -- I haven't read all the magistrate's   13        Q. Yes, prior to March12th did your access to
      14        orders so if there's more than one I don't know.      14   your nChain e-mail account change when you went from
      15        I've read a magistrate order that discusses whether   15   being nChain's CEO to the chair of nChain's Strategic
      16        Craig committed perjury or not. I don't remember      16   Advisory Board?
      17        the exact phrasing.                                   17        A. No, but I can tell you something that I think
      18   BY MR. FREEDMAN                                            18   will short circuit this subject matter which is I -- my
      19        Q. So you testified earlier that you're aware we      19   first nChain e-mail account was using a domain called
      20   were trying to subpoena you in February of 2020;           20   nChainHoldings.com since I was working for the holding
      21   correct?                                                   21   company and that was until I believe sometime in the
      22        A. Yes.                                               22   summer or fall of 2018 when some of us who use
      23        Q. And you told the Court in Washington that you      23   nChainHoldings.com account such as me Stefan Matthews
      24   lost access -- actually why don't you tell me when did     24   and some other people we decided to basically
      25   you lose access to your nChain e-mail address?             25   consolidate down at the time and I moved over to an

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       1        A. It was in March of 2020 sometime.                   1   nChain.com e-mail account which was after the time
       2        Q. So did you not collect documents from your          2   period of -- covered by your subpoena request and so any
       3   nChain e-mail address in response to our subpoena?          3   access I would have to the nChainHoldings.com e-mail
       4        A. The document request only -- the time period        4   account is not in my work. In fact I didn't have that
       5   of your document request was only to May 2018 if I          5   e-mail box on my computer.
       6   recall; is that correct?                                    6        Q. Remind me -- I know you said it. What was the
       7             So the e-mails I have on my work computer only    7   date that you switched from nChain Holdings to the --
       8   go back one year, 2019. So I didn't have any e-mail         8        A. I believe it was summer or fall of 2018.
       9   communications from the time period that's responsive to    9        Q. Did Craig also have an nChain Holdings e-mail
      10   your request.                                              10   account?
      11        Q. Where are the prior e-mails stored?                11        A. I don't think he ever did.
      12        A. Probably would be on the nChain server, I          12             MR. FREEDMAN: I need to take -- we've been
      13   assume.                                                    13        going over an hour. I need to take a quick
      14        Q. Do you have access to that server?                 14        restroom break. I don't know if anybody else does.
      15        A. No, I do not.                                      15        I can do five minutes or three minutes or even two
      16        Q. When did you lose access to that server?           16        it's up to -- anybody have any preferences?
      17        A. Well, I don't control the server. It's             17             MR. RIVERO: Follow up on Spencer's question
      18   nChain's information technology people who control the     18        from earlier, any ETA on when we finish here?
      19   server.                                                    19             THE VIDEOGRAPHER: Should we go off the video
      20        Q. If you wanted an e-mail that was older than a      20        record?
      21   year old while you were still CEO of nChain how would      21             MR. FREEDMAN: Sure.
      22   you get it?                                                22             THE VIDEOGRAPHER: Going off the video record
      23        A. If I was still CEO then yes, I would talk to       23        5:26 p.m. eastern.
      24   one of the IT professionals.                               24             (Thereupon, a brief recess was taken.)
      25        Q. You had no ability to search for documents,        25             THE VIDEOGRAPHER: We are back on the record.


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       1        The time is 5:33 p.m. Eastern Standard Time.          1        A. Not specifically. I remember doing that
       2   BY MR. FREEDMAN                                            2   interview.
       3        Q. Mr. Nguyen, when did you -- when did you form      3        Q. That's you and that's your statements; right?
       4   the belief that Craig Wright was Satoshi Nakamoto?         4        A. Correct.
       5        A. That's a tough question to answer. I don't         5        Q. At a time when you said you were very sure
       6   know that there was a specific date.                       6   that Craig Wright was Satoshi you just said I get it
       7        Q. Why don't we do it this way. Did that you          7   Satoshi is not sitting around telling us what he meant.
       8   have belief by the time you were CEO of nChain?            8   I don't understand how those two statements are
       9        A. Yes, I would say by then, yes.                     9   consistent.
      10        Q. So by December 2017 you were confident he was     10        A. What I mean by that is first of all, not
      11   Satoshi?                                                  11   everybody -- in fact most of the digital currency world
      12        A. Yes, by that point I had been working with him    12   does not believe Craig is Satoshi and it's all over the
      13   for over a year. It was -- I would say, you know, nine    13   internet. I was talking about whether we follow the
      14   months to a year after working with him. It's a hard      14   original protocol of Bitcoin which is a big debate in
      15   question to answer because, you know, my level of         15   the Bitcoin community and what I was meaning is that
      16   confidence grew over time in believing that he is         16   there is not a person that everyone believes is Satoshi
      17   Satoshi so at what point it gets past I feel confident    17   and he is saying this is what I meant in section five of
      18   enough to say it out loud.                                18   the white paper and this part the code and therefore
      19        Q. If by November of 2018 -- sorry, if by            19   people will follow him if there is a debate over what to
      20   December of 2017 when you came CEO you were pretty        20   do.
      21   confident about it. Safe to say by January of 2019 you    21             I'll give you an analogy. Ethereum which is a
      22   were very sure about it or sufficiently sure that you     22   competing block chain project Vitalik Buterin is well
      23   had reached maximum assurance you were going to reach?    23   known and recognized as founder of Ethereum. If he says
      24        A. I wouldn't say I had reached maximum assurance    24   we need to scale Ethereum with this new attempted
      25   by then. I would say just sufficiently confident.         25   technology feature people will believe him because they

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       1        Q. Do you recall in approximately January of 2019     1   believe he is the founder of Ethereum. When Craig
       2   being interviewed by SFOX?                                 2   Wright comes forward and says I am Satoshi many people
       3        A. SFOX, yes, I've done more than one interview       3   do not believe him and that's why in the debates over
       4   with them so I don't remember the particular months but    4   the Bitcoin protocol and how to scale Bitcoin there's
       5   I remember being interviewed by SFOX.                      5   not a Satoshi people have consensus on that if he
       6             MR. FREEDMAN: I am going to try and get this     6   surfaces and says this is what we should do to grow
       7        on the screen for you. This is going to be our        7   Bitcoin and follow my original plan for Bitcoin no one
       8        Exhibit 12.                                           8   believes it. I hope that makes sense.
       9             (Plaintiff's Exhibit No. 12 was                  9        Q. Would you say that nChain was set up to
      10             marked for identification.)                     10   professionalize the research and work efforts that Craig
      11   BY MR. FREEDMAN                                           11   Wright had been doing in Australia?
      12        Q. Do you see that video on the screen now?          12        A. I would say nChain was set up to
      13        A. I do.                                             13   professionalize Craig and Craig's work and certainly,
      14             MR. FREEDMAN: So bear with me. Let's listen     14   you know, professionalize his efforts to realize his
      15        to the 24 minute 43 second mark.                     15   visions of Bitcoin.
      16             MR. NGUYEN: Disrupt that economic balance.      16             MR. FREEDMAN: I am going to share with you
      17        So while I again Satoshi's not sitting around        17        what is now going to be Exhibit 13.
      18        publicly telling us this is what I meant or didn't   18             (Plaintiff's Exhibit No. 13 was
      19        mean. So it was very hard to read early writings     19             marked for identification.)
      20        and know what is meant. That's why I say it          20   BY MR. FREEDMAN
      21        doesn't mean there can't be basic improvements to    21        Q. Do you remember giving an interview to Bit
      22        fix bugs. You shouldn't be messing around with       22   Stocks Media in March of 2019?
      23        core principles. A good example is --                23        A. I do.
      24   BY MR. FREEDMAN                                           24             MR. FREEDMAN: And I'm going to bring you to
      25        Q. Did you -- do you recall making that sentence?    25        the 43 minute mark and let's take a listen here.


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       1             VIDEO AUDIO VOICE: Good morning.                  1   United Kingdom. I can tell you what I've learned since
       2             MR. NGUYEN: No, yes, no, yes, I did -- I          2   if that's what you're asking.
       3        thought about this whole effort. I worked with him     3             MR. FREEDMAN: So let me bring up another --
       4        sort of behind the scenes to help on certain           4        it will become Exhibit 14.
       5        things. Craig had moved his family from Australia      5             (Plaintiff's Exhibit No. 14 was
       6        to London, the nChain business was set up to sort      6             marked for identification.)
       7        of professionalize the research and work efforts he    7   BY MR. FREEDMAN
       8        had been undergoing in Australia and I had got         8        Q. I am going to share with you. All right. Do
       9        asked one day after just through conversations to      9   you see an interview you've done here with Vincent
      10        take on a role because I think they knew -- I had     10   Everts?
      11        close relationships with clients and I was looking    11        A. Yes.
      12        to explore something else. I wasn't the obvious       12        Q. Do you recall this interview?
      13        person to bring on board because I was in the         13        A. I do.
      14        United States, I didn't want to move to London        14        Q. I'm going to bring you to the 16:43 minute
      15        but --                                                15   mark or so. Okay. Let's listen here for a minute and
      16   BY MR. FREEDMAN                                            16   I've got some questions for you if that's all right?
      17        Q. I can keep going but the part -- so do you         17        A. Sure.
      18   recall giving this interview?                              18             MR. NGUYEN: Exploring digital currency and
      19        A. I do recall the interview.                         19        then Craig was -- the plan was set to have him move
      20        Q. That's you and an accurate recording?              20        from Australia to London and reset the business.
      21        A. Yes.                                               21        He was running the business in Australia doing
      22        Q. So a couple questions. What did you mean when      22        Bitcoin research. Essentially similar to what
      23   you said "I worked with them sort of behind the scenes."   23        nChain is doing now but we needed more professional
      24   Who is them?                                               24        teams around him to elevate his process. So I was
      25        A. I was referring to the nChain company that we      25        involved --

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       1   discussed.                                                  1   BY MR. FREEDMAN
       2        Q. You said "to help on certain things." Are           2        Q. That's the part. So I guess first
       3   those the things we've discussed in this deposition?        3   housekeeping accurate portrayal of your statements?
       4        A. Yes.                                                4        A. That is my interview.
       5        Q. And then I believe you gave kind of the quote       5        Q. And so you just said the plan was to set -- to
       6   what I was saying before nChain business was set up to      6   have him move from Australia to London and reset up a
       7   sort of the professionalize the research efforts he had     7   business around him. He was running businesses in
       8   you know been undergoing in Australia. Is that              8   Australia and doing Bitcoin research, block chain
       9   accurate?                                                   9   research there essentially similar to what nChain is
      10        A. Yes. It's accurate that it was set up to           10   doing now but needed more professional teams around him
      11   professionalize the research work efforts.                 11   to elevate his process. Is that an accurate portrayal
      12        Q. But actually at this time you hadn't even had      12   of your statement?
      13   any communications with Craig Wright; correct?             13        A. That's correct.
      14        A. That's not -- at the time of the interview you     14        Q. Is that a true statement?
      15   mean?                                                      15        A. Yes, as far as I understand I guess I should
      16        Q. Not at this time of the interview. At the          16   just explained what I mean by that. As I understand it
      17   time you came on board to help behind the scenes.          17   Craig's Australian companies the work was to be, you
      18        A. I had not had any communications with Craig.       18   know, to be succinct about it a big mess. It was messy.
      19   I had communications with Stefan Matthews about the work   19   He has brilliant ideas but they were not directed.
      20   they were trying to do with nChain.                        20   There was research being done. There was data being
      21        Q. So was the plan to move him from Australia to      21   collected through I think like some super computer but
      22   London and set up a business around him?                   22   he didn't have a particularly good vision of what to do
      23        A. I can't tell you what happened in the very         23   with it all and also manage a team.
      24   beginning because I was not involved with the              24             Craig is not and he has told me this many
      25   discussions with Craig which led to him moving to the      25   times himself that's why he didn't become CEO of nChain


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       1   when it was formed he didn't want to manage people on a     1   so what was moved to London is Craig assets acquired,
       2   business. He wanted to focus on his work. He is not         2   right, from the DeMorgan Group were not technically
       3   good at managing teams. So I was told that what was,        3   moved to London. I think they're owned by the nChain
       4   you know required from the DeMorgan Group of companies      4   Holdings company but the work -- the work process was
       5   there was research but very just sort of undirected, not    5   moved to London so the entities were not moved to
       6   a clear vision and plan of what to do with things. A        6   London.
       7   lot of things about Bitcoin block chain and no effort or    7             I guess I hope that explains things. In
       8   even idea of patenting anything and nChain when it went     8   Australia and/or wound down and nChain Holdings was
       9   up and when I helped to move this process along was to      9   created in Antigua and nChain Limited was created in the
      10   bring a professional team around him of both researchers   10   UK. New companies that did not exist before with
      11   and developers and have a more coherent plan for what      11   Craig's DeMorgan Group of companies in Australia.
      12   the business was going to try to do and manage that and    12        Q. It just sounds to me that you're getting
      13   developing an actual patent program that the DeMorgan      13   technical about what exactly was moved but it seems to
      14   companies never even thought to do or tried to do.         14   me that at the -- end of the day the assets were
      15             Apparently Craig's told me several times while   15   acquired and the business was moved to London with those
      16   he was in Australia at the DeMorgan companies he never     16   assets?
      17   even thought about patenting anything. The idea was        17             MR. RIVERO: Object to the form.
      18   only raised by Rob MacGregor. He's told me that as well    18             THE WITNESS: Depends what you mean by the
      19   in the discussions to do the transaction that led to the   19        business moved to London.
      20   acquisition of DeMorgan assets and moving Craig to the     20   BY MR. FREEDMAN
      21   UK.                                                        21        Q. Well, why don't we take a look at this
      22             So it was putting a more professional team       22   interview you gave. Do you recall giving this interview
      23   around him and more professionalizing just the purpose     23   introduction to nChain Jimmy Nguyen from ESILV?
      24   of the work because Craig is just not good at that.        24        A. I'm not sure this is an interview. It might
      25        Q. Would it be fair to say that the nChain            25   be a speech.

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       1   business in its origins was birthed by Craig?               1             MR. FREEDMAN: Okay, that works too. Let's go
       2        A. That's a hard question for me to answer             2        to the 2:32 mark.
       3   because I wasn't there. I can just go from what I've        3             MR. NGUYEN: Into huge wins. Let me tell you
       4   been told. You know, I understand it was birthed by Rob     4        about nChain. The nChain business in its origins
       5   MacGregor. Obviously Craig is, you know, a proponent of     5        was birthed by Dr. Craig Wright our chief scientist
       6   it because he's the chief scientist and thinker but who     6        with businesses in Australia.
       7   birthed nChain that's a tougher question for me to          7             (Plaintiff's Exhibit No. 15 was
       8   answer.                                                     8             marked for identification.)
       9        Q. I mean you were at one point the CEO of the         9   BY MR. FREEDMAN
      10   company. I mean --                                         10        Q. Let me stop you there for a second. I asked
      11        A. Correct.                                           11   you that before and you told me that's not what you said
      12        Q. Didn't you review its records, didn't you go       12   that's exactly you said exactly verbatim in the speech?
      13   through its contracts, didn't you get an understanding     13             MR. RIVERO: Object to the form.
      14   of where it came from?                                     14             THE WITNESS: Yes, I would say that's probably
      15        A. I saw for example in one of the documents you      15        not the most artfully phrased way of putting it.
      16   showed me earlier the history of entities that were part   16        What I meant by that is look, the work Craig wants
      17   of the group. They were formed before me and as I          17        to do is about Bitcoin, block chain. It's work he
      18   understood them and I was told they were formed by Rob     18        started with research in Australia. Those assets
      19   or people who worked for Rob. The formation of the         19        were acquired. He moved to the United Kingdom to
      20   company was as I understood it not formed by Craig.        20        London and he wants to continue doing the same
      21        Q. But you saw that the assets were acquired and      21        field of work.
      22   the business was moved to London?                          22             So I think it is accurate to say aspects of
      23        A. Well, I would correct that statement. The          23        his work were moved to London. I think probably
      24   DeMorgan businesses were not moved to London. They were    24        why I didn't clarify because I was giving a speech
      25   as I understand them wound down. I think there maybe --    25        to students here, didn't want to get into all the


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       1        technical details entities were not moved to London    1             MR. RIVERO: Object to the form. Is this a
       2        and technically the assets of the DeMorgan Group       2        question?
       3        companies were actually not owned by the new London    3             MR. FREEDMAN: You didn't let me finish. I
       4        company. They were owned by a company in another       4        guess it's not yet. Why don't you let me finish my
       5        country.                                               5        question. Let me restate that.
       6             This is me talking to this is a university in     6   BY MR. FREEDMAN
       7        Paris talking to students in shorthand you know        7        Q. I understand that the actual entity itself
       8        rather than getting into these more formal             8   wasn't moved and DeMorgan was wound down. My point is
       9        corporate and technical legal details.                 9   somebody and it appears it was either orchestrated by
      10   BY MR. FREEDMAN                                            10   Robert MacGregor took the assets of DeMorgan, its
      11        Q. But at the end of the day the company that         11   intellectual property assets and moved those to the
      12   purchased the assets may have been formed in a foreign     12   nChain Group of companies?
      13   jurisdiction still part of the nChain Group of             13             MR. RIVERO: Object to the form.
      14   companies, right?                                          14             MR. FREEDMAN: Sorry, you said that's correct.
      15        A. I'm sorry, could you repeat that question?         15             THE WITNESS: That is correct.
      16        Q. Sure. You seem to be saying that it's not          16             MR. FREEDMAN: Thank you.
      17   that the business was moved to London because the entity   17   BY MR. FREEDMAN
      18   that purchased the DeMorgan Group assets was actually      18        Q. Do you know whether after that sale occurred
      19   not incorporated in London, it was a foreign entity and    19   if Craig retained any ownership interest in the
      20   my statement to you is at the end of the day it was a      20   intellectual property?
      21   sister company that was a subsidiary of nChain Holdings;   21        A. That was assigned to the nChain Group of
      22   right?                                                     22   companies from DeMorgan?
      23        A. I think at the time it was a subsidiary.           23        Q. Correct.
      24        Q. All part of the nChain Group of companies?         24        A. I don't believe so. I have had review of the
      25        A. Yes. I think it's fair to say -- yes, it's         25   transaction documents in the past that I don't recall

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       1   part of the nChain group of companies.                      1   when he retained any. Pretty sure they wanted -- when
       2        Q. I just wanted to let's hear the next sentence       2   you're acquiring a business you want -- the assets you
       3   here.                                                       3   want to acquire what you can acquire.
       4             MR. NGUYEN: The assets were acquired and the      4        Q. Do you think that part of the motivation for
       5        business was moved to London.                          5   the sale was not to have challenges to any IP later on
       6   BY MR. FREEDMAN                                             6   when nChain really started to get big?
       7        Q. Again you were quibbling with it before I           7        A. I can't answer that question because I was not
       8   understand you're explaining that you were talking to       8   involved in the transaction.
       9   students I think you and I are now on the same page that    9        Q. Do you think any motivation from these
      10   while technically there might have been a foreign          10   transactions were about removing ownership from former
      11   jurisdiction the entity was still part of nChain's group   11   directors because -- before they knew what it would
      12   of companies, fair enough?                                 12   become?
      13        A. Yes, but I think you may be misstating what        13             MR. RIVERO: Objection.
      14   I'm intending here. Craig's entities were not moved to     14             THE WITNESS: I have no basis to answer that
      15   London. They remained in Australia and were wound down.    15        question.
      16   So if you're asking me whether Craig's businesses, the     16             MR. FREEDMAN: I'm going to share with you
      17   actual companies were moved to the United Kingdom or       17        Mr. Nguyen an exhibit document that's been produced
      18   anywhere else in Australia that's not true as far as I     18        by the defendant in this litigation. It's under
      19   understand.                                                19        the Bates label Defense AUS1585291 and that will
      20        Q. Go ahead. Sorry. I think you're 100 percent        20        become according to my list Exhibit 16 to the
      21   right and it's not my intention to say you took DeMorgan   21        deposition.
      22   and moved it to the UK, not you but whoever orchestrated   22             (Plaintiff's Exhibit No. 16 was
      23   this, stripped out all the assets of the company, its      23             marked for identification.)
      24   intellectual property and moved those into another         24   BY MR. FREEDMAN
      25   company?                                                   25        Q. Can you see that document there?


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       1        A. I can.                                              1       A.    I don't interpret it that way.
       2        Q. Do you recognize this as a -- the             as    2             MR. RIVERO: Object to the form.
       3   Calvin's e-mail address?                                    3   BY MR. FREEDMAN
       4        A. No.                                                 4        Q. How do you interpret it?
       5        Q. Do you Craig S. Wright Craig@        as Craig's?    5             MR. RIVERO: Objection to the form.
       6        A. I believe that's Craig's personal address.          6             THE WITNESS: Well, I wasn't involved at the
       7        Q. Have you e-mailed Craig at his personal e-mail      7        time or -- with this e-mail thread so I don't know
       8   address?                                                    8        the full context of what they're talking about but
       9        A. I think I have.                                     9        it sounds like you know, when you are setting up a
      10        Q. Has he e-mailed you back from his personal         10        new company you don't want to have problems with,
      11   e-mail address?                                            11        you know, past company relations. That's pretty
      12        A. Yes.                                               12        normal with acquisitions.
      13        Q. Also I see here that Sterling was mentioned.       13             Then he says at the bottom the last line you
      14   Is this potentially where you picked up Sterling?          14        did not have me read concludes the e-mail "if you
      15        A. No. Because I don't recognize that e-mail          15        need anything else explained I am open and will
      16   address. I'm not sure I've ever seen an e-mail address     16        answer honestly and completely."
      17   with the Sterling domain.                                  17             That tells me that there wasn't anything
      18        Q. Have you ever seen this e-mail before?             18        untoward going on here. He is just saying he will
      19        A. No.                                                19        answer honestly and completely.
      20        Q. Show you this e-mail that was sent from            20   BY MR. FREEDMAN
      21   Craig's personal e-mail address to           which I'll    21        Q. Let's break that down a little bit. Who
      22   represent to you is Calvin Ayre's e-mail address with CC   22   that -- he is e-mailing here Calvin Ayre and Stefan
      23   to Jim Phillip who I don't know and Stefan Matthews who    23   Matthews the people who are helping him strip the assets
      24   we both know. It's on June 19th 2015 and I want to         24   out, start a new company and monetize it so I wouldn't
      25   bring you down to the bottom of the e-mail and I want      25   say he is being open and honest here with the directors

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       1   to -- if you can, can you read from this paragraph here     1   he's seeking to remove their ownership from before they
       2   that starts with so?                                        2   realize they actually had assets. He is saying he will
       3        A. So I understand who is the person who               3   be open and honest with his coconspirators?
       4   supposedly sent this portion of the e-mail thread?          4             MR. RIVERO: Objection, argumentative.
       5        Q. Craig from his personal e-mail address. You         5             THE WITNESS: I disagree with many
       6   see it there?                                               6        characterizations in your very long question. And
       7        A. Okay.                                               7        as I said I was not involved in this e-mail thread
       8        Q. Go ahead. From "so" please for the record?          8        or any of the discussions at the time of this
       9        A. Portion you're asking me to read says "so,          9        e-mail so I can't comment on it any further.
      10   what I am seeking to do is have the entity as clean and    10   BY MR. FREEDMAN
      11   polished as I can before we start going forth. I do not    11        Q. As an IP lawyer who practiced for a long time
      12   want to have challenges to any IP later on when things     12   did you regularly see people say they want to remove any
      13   start to get big."                                         13   ownership of former directors before they know what it
      14        Q. Can you read the second -- the next paragraph      14   could become so they cannot challenge it later?
      15   underneath that that one that starts with I?               15             MR. RIVERO: Objection, Mr. Nguyen is not
      16        A. Yes, next paragraph says "I want to remove any     16        appearing as an expert so object to the form of the
      17   ownership from former directors before they know what it   17        question.
      18   could become so they cannot challenge anything later."     18             MR. FREEDMAN: You can answer Mr. Nguyen.
      19        Q. Does this surprise you?                            19             THE WITNESS: Have I heard that statement like
      20        A. I have no reaction to it.                          20        that before in my legal practice obviously I cannot
      21        Q. I mean it seems to be and I'm not an IP lawyer     21        tell you about things that are protected by my
      22   like you it seems to be Craig saying he wants to get the   22        years of attorney-client privileged relationships.
      23   assets out of the DeMorgan Group of companies before       23   BY MR. FREEDMAN
      24   anybody realized they had value and he wanted to           24        Q. Mr. Nguyen, when nChain was formed did it have
      25   monetize them?                                             25   any assets other than the assets that had been purchased
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       1   from DeMorgan?                                              1        Q. Do you know what ended up happening to the
       2        A. I don't know because I was not there when the       2   company called nCrypt Limited?
       3   nChain entities were formed.                                3        A. That's a little confusing. I have to go back
       4        Q. During your time as CEO of nChain did you           4   and look at the history because I believe nCrypt Limited
       5   identify any assets that were sourced from the beginning    5   that is referenced here because it's referencing a UK
       6   of nChain that did not come from DeMorgan group of          6   address in London that is a prior name of nChain Limited
       7   companies?                                                  7   UK entity. There was a name change.
       8        A. Well, while I was working for nChain including      8        Q. And you were brought on board nChain about a
       9   while I was CEO nChain created many new assets.             9   month after this was signed, right, less than a month.
      10        Q. But I'm not talking about what they did later.     10   In September of 2016. So weeks after this was signed --
      11   I'm saying when nChain was formed did it have any assets   11   after this power of attorney was made; correct?
      12   outside -- let me make it a narrow question. When          12        A. Yes.
      13   nChain was formed did it have any intellectual property    13        Q. And during your entire stint at nChain
      14   assets outside of the ones it acquired from the DeMorgan   14   including your time as its CEO you did not know that
      15   Group?                                                     15   nChain held a power of attorney over the intellectual
      16        A. I do not know.                                     16   property that had been assigned to it by Craig Wright?
      17        Q. Are you aware of any assets, any intellectual      17        A. The purpose of these power of attorneys
      18   property assets, it had at the time of its formation       18   typically is part of the patent prosecution process
      19   besides the DeMorgan Group?                                19   where because Craig worked for the company for under its
      20        A. Talking about nChain Holdings company or which     20   name nCrypt Limited and changed to nChain Limited when a
      21   entity?                                                    21   patent lawyer files patent applications they need a
      22        Q. I realize I threw a word there that doesn't        22   power of attorney.
      23   belong. Let me restate the question. Are you aware of      23             So I don't know what happened with this one
      24   nChain Holdings having any intellectual property outside   24   but I'm assuming based on my experience with the patent
      25   of the DeMorgan intellectual property assets it acquired   25   prosecution process that's why this was executed.

                                                        Page 167                                                        Page 169
       1   when it acquired those assets?                              1        Q. That's certainly one use for them I agree but
       2        A. NChain Holdings did not that I know of. I           2   isn't it also true that this would authorize nCrypt to
       3   guess I'll say I don't know whether nChain Holdings had     3   manage any litigation over intellectual property created
       4   any other IP assets at this time of its formation or        4   by Craig Wright?
       5   acquisition of the DeMorgan assets.                         5        A. I have to read this first.
       6             Certain nChain Holdings subsidiaries, other       6        Q. Why don't you go ahead. Tell me.
       7   companies in the nChain group did. I'll complete that       7        A. Yes, I think there's a mistake in the first
       8   sentence. Other subsidiaries in the nChain group of         8   paragraph. What this is meant to do is when employee
       9   companies did have other IP assets apart from and           9   typically intellectual property I work for a company and
      10   unrelated to the DeMorgan Group assets.                    10   I create work product, you know, inventions, things
      11        Q. Okay. Mr. Nguyen, I'm going to share with you      11   while doing my work at the company the company owns the
      12   another document that's been produced in this litigation   12   intellectual property, not the employee. But when you
      13   as Defense 1074241. Can you -- is it showing up on your    13   file patent applications you have to name who the
      14   screen?                                                    14   inventor is and the inventor is actually the individual
      15        A. It is.                                             15   employee.
      16             MR. FREEDMAN: Can you take a look at that        16             So for example I work for Microsoft I invent
      17        document and let me know if you recognize it. It      17   something great and new at Microsoft. I'm personally
      18        it's going to be marked as Exhibit 17 to your         18   the inventor but Microsoft under its employment
      19        deposition.                                           19   agreement or conditions with me owns the invention to
      20             (Plaintiff's Exhibit No. 17 was                  20   file a patent application for that patent lawyers still
      21             marked for identification.)                      21   have to identify the individual who is the inventor and
      22             THE WITNESS: I have never seen this before.      22   confirm that they have the power to file the patent
      23   BY MR. FREEDMAN                                            23   application in the name of the company even though the
      24        Q. You have never seen this document before?          24   inventor is the individual.
      25        A. No.                                                25             So that's why there is the explanation that


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       1   this is designed to give power of attorney to be able to    1   the world?
       2   file IP registration prosecution applications for the       2        A. Yes, from what I understand, yes.
       3   employee IP as you can see is a defined term where Craig    3             (Plaintiff's Exhibit No. 18 was
       4   is an employee of the company and therefore he needs to     4             marked for identification.)
       5   give power of attorney to the company and its lawyers to    5   BY MR. FREEDMAN
       6   be able to prosecute, take action to protect the IP.        6        Q. And I am going to now introduce what I hope is
       7        Q. Do you know whether Ira Kleiman or Dave's           7   going to work as Exhibit 18 and see if I can get that to
       8   estate had any shares in Craig's former companies?          8   share with you. Do you see that video up there?
       9        A. I have no idea.                                     9        A. I see something that says Risk Warning and
      10        Q. Do you know what the book value of any of          10   Disclaimer.
      11   those former shares were?                                  11        Q. Underneath Jimmy Nguyen on Bitcoin SV from
      12        A. I said I don't know if they had any shares so      12   Trader Cobb.
      13   I couldn't tell you what the value is.                     13        A. Okay.
      14        Q. Let me refine that question. Do you know what      14        Q. I just want you -- do you recall this
      15   the book value of any of the shares of Craig's former      15   interview now that you've had a chance to see it? Happy
      16   companies were worth?                                      16   to let it play longer if you want.
      17        A. No.                                                17        A. I recall being interviewed by Trader Cobb. I
      18        Q. Are you aware of a WK ID software package that     18   don't remember this specific one.
      19   was owned by Craig's companies prior to nChain?            19        Q. Play it for a minute. You want to listen for
      20        A. Could you repeat that?                             20   a minute to see if it recalls your recollection?
      21        Q. Sure. Are you aware of a WK ID software            21             MR. NGUYEN: I started working more with the
      22   package owned by Craig's companies prior to nChain?        22        nChain business in 2016 and then it merged publicly
      23        A. That does not ring a bell.                         23        in 2016. Recently I took an executive role with
      24             MR. FREEDMAN: Why don't we take five. Let me     24        dealing with IP portfolio. It is one of the
      25        see if I can reorganize things in a way to get us     25        largest block chain patent portfolios in the world.

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       1        out of here a little quicker rather than sit and       1        Eventually took another role as CEO.
       2        wait while I do it. Let's take five.                   2   BY MR. FREEDMAN
       3             THE VIDEOGRAPHER: Going off the record at         3        Q. Again happy to let it play. You don't recall
       4        6:13 p.m. eastern time.                                4   giving this interview?
       5             (Thereupon, a brief recess was taken.)            5        A. I don't recall it sitting here but I'm sure I
       6             THE VIDEOGRAPHER: We are back on the video        6   did because that's me.
       7        record. The time is 6:29 p.m. Eastern time.            7        Q. That's an accurate portrayal of your
       8   BY MR. FREEDMAN                                             8   interview?
       9        Q. Mr. Nguyen, I want to -- let's introduce            9        A. Yes.
      10   Exhibit 18 to your deposition which is another             10        Q. Approximately how valuable is nChain's IP
      11   interview. You weren't kidding, you do a lot. I            11   portfolio?
      12   actually can't hear you. I think you might be -- either    12        A. I could not tell you.
      13   you're on mute -- you're not on mute but I can't hear      13        Q. As nChain's IP portfolio grows in value so
      14   you talking.                                               14   does nChain; right?
      15        A. Can you hear me now?                               15        A. Yes. The enterprise value of nChain which is
      16        Q. Yes.                                               16   different than IP value.
      17        A. I heard you play something. I heard an audio       17        Q. Have you ever contacted any prospective buyers
      18   of me talking but didn't see anything.                     18   regarding nChain's intellectual property pursuant -- let
      19             MR. FREEDMAN: I realize it's not Exhibit 18.     19   me just stop there. Have you ever tried to sell any of
      20        I already introduced this video as Exhibit 13. I      20   nChain's intellectual property or nChain itself?
      21        already confirmed that's an accurate video of you     21        A. No.
      22        so we don't need to go back.                          22        Q. Even though you were contracted to do that?
      23   BY MR. FREEDMAN                                            23        A. Correct.
      24        Q. Is it accurate Jimmy -- Mr. Nguyen, to say         24        Q. Why did you not end up doing that?
      25   nChain has one of the largest block chain portfolios in    25        A. It was too early in nChain and each new IP


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       1   portfolio's life. Intellectual property especially          1   A.   I will try to think of one.
       2   patents take a long time to get through the system.         2
       3   When you file a patent application it can take two,         3
       4   three, sometimes even longer years for it to be granted.    4
       5   And before a patent -- when a patent is still just an       5
       6   application, right, you don't know if you're going to       6
       7   get it granted. You don't know what the scope of your       7
       8   patent is. You can get narrowed. You can get split          8
       9   into more than one.                                         9
      10             So you know from my experience as a former IP    10
      11   lawyer in dealing with such things value is. Greater --    11
      12   first of all, there's not that much value in patent        12
      13   applications before they're granted. Once they're          13
      14   granted I think people would understand of course it       14
      15   adds more value because it's been granted. Then patents    15
      16   get even more value after they've been tested,             16
      17   challenged for example, right, just because you have a     17
      18   patent another company or person can still challenge it    18
      19   and say I think it infringes mine or it's invalid or it    19
      20   gets tested in the litigation.                             20
      21             So patents have the most value after they have   21
      22   not just been applied for, granted but tested and then     22
      23   also commercialized. Just because you have a piece of      23
      24   intellectual property, a patent until companies use it,    24
      25   you know, in business, make money off of it, right, it's   25

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       1   very -- first of all, it's hard to show what its value      1
       2   is. You have a patent who an invention but you don't        2
       3   know what the market demand for it is. How many -- what     3
       4   types of businesses want to use it. What's the              4
       5   industry. Even though I was brought on board to             5
       6   commercialize and help monetize the IP portfolio one of     6
       7   the biggest, you know, pieces of advice I delivered         7
       8   early on was I think this is too early.                     8
       9        Q. So while you were doing your job of trying to       9
      10   commercialize that IP portfolio did you -- were you        10
      11   involved in the tracking the progress of these patents     11
      12   as they were moving forward toward patents?                12
      13        A. I was involved.                                    13
      14        Q. And did nChain have like a patent road map or      14
      15   a large Excel sheet of some kind where it would keep       15
      16   track of all its patents and its inventorship and where    16                      .
      17   it was holding and what stage that sort of thing?          17
      18        A. I believe our outside patent counsel kept          18
      19   that.                                                      19
      20        Q. I'm going to share with you another exhibit I      20
      21   think this is going to become. Hold on. There we are.      21
      22   Technology is great until it stops working on you.         22
      23        A. I know that from block chain.                      23
      24        Q. Come up with a deposition solution for block       24
      25   chain.                                                     25
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       8                                         8        Q. You just said a moment ago you're not a
       9                                         9   professional patent appraiser; right?
      10                                        10        A. That is correct.
      11                                        11        Q. But Baker & McKenzie is a professional patent
      12                                        12   appraiser; correct?
      13                                        13        A. I don't know.
      14                                        14             MR. RIVERO: Objection.
      15                                        15   BY MR. FREEDMAN
      16                                        16        Q. They were hired to perform this analysis?
      17                                        17        A. They were. Not by me but they were.
      18                                        18        Q. And they are a very large, well known firm?
      19                                        19        A. Yes.
      20                                        20        Q. Did you ever orchestrate another assessment or
      21                                        21   valuation of nChain's intellectual property?
      22                                        22        A. I did.
      23                                        23        Q. With who?
      24                                        24        A. It was precisely because I -- not just me
      25                                        25   Stefan Matthews because he is the one who sent me this
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       1   Baker & McKenzie report to look at. Neither of us found     1   don't think it matters for nChain or for what is being
       2   it credible. So he said would you -- he asked me to try     2   built in the Bitcoin SV ecosystem. Both that company as
       3   and find other valuation firms to take a look at the IP     3   well as Bitcoin SV after we're trying to build real
       4   portfolio and get a second or even a third opinion.         4   value based on real utility and therefore that's more
       5   Like going to a doctor and not, you know, believing what    5   important than this question of whether Craig is Satoshi
       6   the doctor says and you want to get a second or third       6   Nakamoto or not which I know is a question of great
       7   opinion.                                                    7   interest out there but I believe the company as well as
       8             MR. FREEDMAN: Let me just give you an update.     8   what we're doing at Bitcoin SV has to succeed based on
       9        I've gone through my entire outline that I had         9   its technology, not on whether Craig is Satoshi.
      10        here. I think I'm probably done. I want to go         10        Q. I understand that and I understand the
      11        through it all, make sure there's nothing left.       11   argument you're making and that's fine but that's not
      12        Then I'll turn it over. I don't know if Mr. Rivero    12   quite what I was asking. Let me phrase it this way. Do
      13        has any questions or not.                             13   you really believe that nChain's value would not
      14             So let's take ten this time and hopefully come   14   increase if Craig came out and conclusively proved to
      15        back and either let you go right away or it will be   15   the crypto community that he was Satoshi Nakamoto?
      16        very short guaranteed.                                16             MR. RIVERO: Object to the form.
      17             THE WITNESS: Thank you.                          17             THE WITNESS: Yes, I can't really answer that
      18             THE VIDEOGRAPHER: Going off the video record     18        question because mostly because of the second part
      19        6:47 p.m. eastern time.                               19        of it. I don't know that there's anything he could
      20             (Thereupon, a brief recess was taken.)           20        do given the history of the Satoshi question that
      21             THE VIDEOGRAPHER: We are back on the record.     21        would definitively prove to the cryptocurrency
      22        The time is 7:03 p.m. Eastern Standard Time.          22        cryptography world that he is Satoshi Nakamoto.
      23   BY MR. FREEDMAN                                            23        There are too many people who will always doubt it.
      24        Q. Mr. Nguyen, did you ever discuss -- again          24   BY MR. FREEDMAN
      25   during the time period that your lawyer's permitting you   25        Q. I mean sitting here today you do not believe

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       1   to testify about did you ever discuss with Craig how he     1   the value of nChain would increase if Craig Wright
       2   should explain his role and the development of Bitcoin?     2   signed a message publicly with a private key to the
       3        A. No. I don't think I remember discussing that.       3   Genesis block?
       4        Q. Did you ever discuss with Craig how he should       4             MR. RIVERO: Object to the form.
       5   explain the role of others in the development of            5             THE WITNESS: I don't have a basis to answer
       6   Bitcoin?                                                    6        that.
       7        A. I heard him talk about it but I never talked        7   BY MR. FREEDMAN
       8   to him about how he described anything.                     8        Q. Do you really think the majority of the
       9        Q. Did you ever convey to Craig he should              9   Bitcoin world would reject his claim of being Satoshi
      10   emphasize his role in developing Bitcoin and               10   Nakamoto if he could sign with a private key to the
      11   de-emphasize the role of others?                           11   Genesis block?
      12        A. No.                                                12             MR. SILVERGLATE: Object to the form.
      13        Q. To your knowledge has anyone conveyed that         13             MR. RIVERO: Object to the form.
      14   sentiment to Craig?                                        14             THE WITNESS: I can't speak for the majority
      15        A. I have never heard that.                           15        of the Bitcoin community. I can tell you I've seen
      16        Q. Did you ever convey to Craig that it was in        16        online posts, social media, you know, messages
      17   nChain's best interest for Craig to be Satoshi alone?      17        online, I don't know if the media reports, lots of
      18        A. No.                                                18        online chatter with people saying even if he did
      19        Q. To your knowledge has anyone else tried to         19        sign a transaction using a private key from one of
      20   convey to Craig that that was in nChain's best interest?   20        the early Bitcoin blocks that people would believe
      21        A. Not to my knowledge.                               21        it's Satoshi.
      22        Q. Do you believe it's in nChain's best interest      22             People wouldn't believe him. I've seen many
      23   for Craig to have been Satoshi alone?                      23        people write that. They'll say he just, you know,
      24        A. Right now I don't speak for nChain any more        24        got the keys from someone else, that they're not
      25   but I'll say what I say to media generally which is I      25        really his and they don't prove he is Satoshi.


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       1        Doesn't prove it.                                      1   the Genesis block?
       2             Digital currency community has gone through       2             MR. RIVERO: Objection to this entire line of
       3        this evolution of all the different ways where you     3        questioning.
       4        could believe Craig is not Satoshi Nakamoto because    4             MR. SILVERGLATE: Same objection.
       5        there's such dislike for him among so many people      5             THE WITNESS: Again that would require me to
       6        in the cryptocurrency world. That's what I mean by     6        speculate on what affects digital currency prices
       7        there's almost nothing I think do that would           7        which SV -- if you've seen the digital currency
       8        conclusively prove to many of the cryptocurrency       8        world are very volatile and frankly very hard to
       9        world.                                                 9        explain.
      10   BY MR. FREEDMAN                                            10   BY MR. FREEDMAN
      11        Q. There will always be people on the fringes of      11        Q. I understand I'm asking you to speculate.
      12   any community Mr. Nguyen I understand that. There are      12   Speculate for me do you think the price would go up?
      13   some people that will never accept Craig Wright as         13             MR. RIVERO: Objection to form.
      14   Satoshi Nakamoto. Are you really testifying that it's      14             THE WITNESS: I've always been advised to not
      15   your -- it's your testimony today that you think there     15        speculate in a deposition.
      16   wouldn't be a significant contingent of people who would   16   BY MR. FREEDMAN
      17   accept his claim of Satoshi if he signed a public          17        Q. That's true. That's good advice but I am
      18   message with the private key of the Genesis block?         18   specifically asking you to speculate so speculate for
      19             MR. RIVERO: Objection to form.                   19   me.
      20             THE WITNESS: I think if Craig did that it        20             MR. RIVERO: Objection.
      21        would lead more people to conclude that he is         21   BY MR. FREEDMAN
      22        Satoshi Nakamoto. I still believe there would be      22        Q. What do you think would happen to the price?
      23        many doubters. So I can't really -- have no basis     23             MR. SILVERGLATE: Form.
      24        to quantify whether an action like that would lead    24             THE WITNESS: I don't know. I can't tell you,
      25        the consensus of the world to believe that he is      25        the event has not happened. So it's clearly been

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       1        Satoshi. I just know that many people are saying       1        as I recall when there was the proof efforts to try
       2        even now they still wouldn't believe him.              2        and prove Craig is Satoshi in early reports. I
       3   BY MR. FREEDMAN                                             3        don't remember that Bitcoin price at the time but I
       4        Q. But many people would believe it. Sorry, let        4        don't recall that causing a significant change in
       5   me finish the question. Don't you think that would lead     5        price then or significant drop in the price when it
       6   to an increase in nChain's value?                           6        appeared that Craig did not prove conclusively he
       7             MR. SILVERGLATE: Object to the form.              7        was Satoshi back in May of 2016.
       8             MR. RIVERO: Object to the form.                   8             That's the only basis I would have to know
       9             THE WITNESS: I think you're asking me to          9        about whether an event like that would affect the
      10        speculate on a number of different things as to how   10        price of Bitcoin.
      11        it would play out. I don't have a basis to do         11   BY MR. FREEDMAN
      12        that.                                                 12        Q. There was no BSV when he failed to prove in
      13   BY MR. FREEDMAN                                            13   2016 that he was Satoshi; right?
      14        Q. I mean Robert MacGregor clearly believed he        14        A. That's true but there was BTC.
      15   would be able to sell the intellectual property for a      15        Q. Sure. But my point is BSV claims to be
      16   lot of money if he could prove Craig was Satoshi; right?   16   following Satoshi's original vision?
      17             MR. RIVERO: Objection.                           17        A. Yes.
      18             MR. SILVERGLATE: Objection.                      18        Q. Craig is very important part of the BSV story,
      19             THE WITNESS: That's what was said to me. I       19   it's not the only part of BSV story but you and I can
      20        don't know that it was just about selling the         20   agree it's an important part of the BSV story; right?
      21        intellectual property but monetizing it.              21        A. It's certainly an important part of -- yes
      22   BY MR. FREEDMAN                                            22   it's important part of the BSV. Exactly as you said I
      23        Q. Do you believe that Bitcoin's Satoshi Vision       23   in particular as a leader of the ecosystem has worked
      24   or BSV would increase in value if Craig were able to       24   very hard to make Bitcoin SV not about Craig. Bitcoin
      25   prove -- if Craig came out and signed with the key to      25   SV has to grow and grow in value and succeed not because


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       1   of any one person. It has to technically work.              1   who could change it in ways.
       2             We have to get away from a digital currency       2             It was designed to provide light, prevent
       3   value that's tied to a personality. Who would want long     3   fraud in the world. All these things he envisioned that
       4   term to own a digital asset and to use a block chain        4   required but not to be someone in charge of it or
       5   technology platform based upon the personality of one       5   perceived to be in charge of it.
       6   person? To me that doesn't give the coin value, real        6        Q. I am going to keep asking questions. My
       7   value. Sort of saying it's valuable because he is a         7   screen I'm getting a little bit of interference. I am
       8   person. That doesn't make sense.                            8   going to shut my video off to see if it helps with the
       9        Q. Craig has stated to you that for a period he        9   feed. Still can you hear me?
      10   sought to keep his involvement in Bitcoin a secret;        10        A. Yes.
      11   right?                                                     11             (Plaintiff's Exhibit No. 20 was
      12        A. Yes.                                               12             marked for identification.)
      13        Q. And do you know why he sought to keep it a         13   BY MR. FREEDMAN
      14   secret?                                                    14        Q. So I am going to share with you a video for
      15        A. I don't know fully the reason in his head. At      15   time purposes I just want to verify that this is in fact
      16   the time it it's been over a very long period of time      16   an interview you recall. This is Dr. Craig Wright Jimmy
      17   before I knew Craig but as I understand from my talks      17   Nguyen at the Oxford Union. Happy to play some of it
      18   with him over the years he wanted privacy. He likes to     18   for you so you can take a look.
      19   work. He wants to sit and work on his research and         19        A. I remember this.
      20   thinking. He is an academic.                               20             VIDEO AUDIO VOICE: Everything it needs to do
      21             He did not -- he is not comfortable or was not   21        anything --
      22   comfortable with attention. He's gotten more               22   BY MR. FREEDMAN
      23   comfortable with it now. He was not comfortable with       23        Q. Do you recall this interview or this
      24   public attention. He wanted to protect his family from,    24   recording, presentation?
      25   you know, too much scrutiny and the other thing he's       25        A. Yes. It was not an interview more of I don't

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       1   told me is that, you know, some people -- a lot of          1   know what you call it.
       2   people in the digital currency world want to try and try    2        Q. Presentation of some kind? Is this video an
       3   to treat Satoshi as like a god. Some mythic figure,         3   accurate portrayal of that episode?
       4   right that has delivered Bitcoin to the world and he        4        A. I haven't watched the whole video but I would
       5   didn't want to be that. Be perceived that way he's told     5   assume so.
       6   me.                                                         6        Q. Any reason to believe it's not an accurate
       7             Most importantly big debate that happens in       7   video?
       8   the Bitcoin world is whether you should change the          8        A. Not so far from what you've shown me so far.
       9   protocol, the technical rule set upon which Bitcoin         9             MR. FREEDMAN: Well, then let's go
      10   works. There is an early Satoshi Nakamoto famous online    10        particularly to one particular portion.
      11   post, famous in the digital currency world where Satoshi   11             MR. NGUYEN: It's been the internet's biggest
      12   says the Bitcoin protocol needs to be set in stone after   12        mystery for long time who is Satoshi Nakamoto. For
      13   its client version I believe 0.1.0 and the reason that's   13        reasons we won't talk about here Craig chose to be
      14   important to why Craig didn't want to be out as Satoshi    14        private about his history in Bitcoin. As you might
      15   is he said his philosophy is like Craig rule set it's      15        imagine, you know, this has an impact on one's
      16   got to say frozen, not change like the internet protocol   16        family and one's personal life.
      17   does not change very much therefore we can operate on a    17             For various reasons he chose to be private
      18   stable platform. And therefore there's nobody in           18        about it. For various reasons that emerge
      19   charge.                                                    19        including the battle over Bitcoin's future what we
      20             There's no king of Bitcoin who can change the    20        believe is vital to ensure that the network thrives
      21   rules. It should just be left there and if in the          21        and survives.
      22   beginning he told me if he was perceived to be Satoshi     22   BY MR. FREEDMAN
      23   then everyone will just follow what Satoshi says to do     23        Q. Is that an accurate statement you made?
      24   and he wanted Bitcoin to be a system that was not          24        A. Yes.
      25   susceptible to interference by government or businesses    25        Q. And Craig was the one who told you he wanted


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       1   to keep his involvement in Bitcoin a secret?                1   picture of me with any name and Bitcoin Association on
       2        A. He didn't say so in so many words. Talk about       2   it if that's the one.
       3   why he was private about it.                                3        Q. This is I believe the interview you were
       4        Q. He never told you he wanted to stay private         4   talking about earlier about interviewing Craig but why
       5   about it?                                                   5   don't we watch a few minutes of it and you tell me if
       6        A. No, I said he told me he wanted to stay             6   you recognize it?
       7   private. I don't know that he used the word secret. We      7             VIDEO AUDIO VOICE: So did you create Bitcoin?
       8   have had discussions where -- reasons why he wanted to      8             MR. WRIGHT: Yes.
       9   stay private. He did not want to be known publicly.         9             THE WITNESS: I did not to see any more. This
      10             MR. WRIGHT: Gizmodo were played by a             10        is the video.
      11        contrarian. Mr. Contrarian was sending documents      11   BY MR. FREEDMAN
      12        that were stolen from my company and payment we       12        Q. You see it's on Coin Geek's channel. Is this
      13        didn't talk about our employees and everyone else.    13   an accurate portrayal of your back and forth with Dr.
      14        As Jimmy knows we have 45 staff in 2013. In the       14   Wright?
      15        dates when no one knew about Bitcoin I had 45 staff   15        A. Yes.
      16        in Australia working on Bitcoin projects basically    16        Q. In this interview do you recall Craig telling
      17        secretly under the radar.                             17   you that he had help from Dave Kleiman?
      18   BY MR. FREEDMAN                                            18        A. Yes, I believe he said that.
      19        Q. SO he has used the word "secret" involved in       19        Q. And do you recall Dave telling you that --
      20   his discussions of Bitcoin; right?                         20   sorry, strike that. Do you recall Craig telling you
      21        A. There he is talking about secret team of           21   that Dave Kleiman responded from the Satoshi account?
      22   employees in Australia working in secret. Wasn't           22        A. I don't remember if he said that in the
      23   talking about keeping Satoshi a secret. Not quibbling      23   interview but it sounds familiar. It's something Craig
      24   over the word secret. Certainly didn't want to be          24   has told me. Whether it's in this interview or not I
      25   private about being Satoshi.                               25   don't recall.

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       1        Q. You don't have to use the word secret. He           1        Q. So Craig has told you previously that Dave
       2   definitely expressed the desire he didn't want people to    2   interacted and had access to the Satoshi account?
       3   know he was Satoshi; fair?                                  3        A. He's told me that they both posted from
       4        A. Yes.                                                4   Satoshi account sometimes.
       5        Q. Are you now willing now that we've skipped          5        Q. I just want to spend a little bit more time
       6   around this are you willing to say this is an accurate      6   because I would have thought that would have come out
       7   video recording of your session at the Oxford Union?        7   earlier did he say anything else to you about Dave's
       8             MR. SILVERGLATE: Objection to form.               8   role as assisting him as Satoshi?
       9             THE WITNESS: Sorry?                               9        A. In this interview or generally?
      10             MR. SILVERGLATE: I objected to the form.         10        Q. Generally.
      11             MR. FREEDMAN: Jimmy, what was your answer?       11        A. Not much other than what I've told you.
      12             MR. RIVERO: Join.                                12        Q. Did he tell you that Dave helped keep the
      13             THE WITNESS: Yes. Obviously I hadn't watched     13   system running in the beginning?
      14        the whole video. I never have. It looks -- I          14        A. I don't remember if that quote was used.
      15        don't have any reason so far to believe it's not an   15        Q. Let's take a look first at --
      16        accurate recording.                                   16        A. There's some familiarity to that --
      17             (Plaintiff's Exhibit No. 21 was                  17             MR. WRIGHT: Because I had a cattle ranch and
      18             marked for identification.)                      18        ran up there with all the machines. The other
      19   BY MR. FREEDMAN                                            19        aspect that followed that that I needed to address
      20        Q. Okay. You've mentioned this other let's            20        was Microsoft and patch Tuesday. Anyone remember
      21   introduce Exhibit 21 to the deposition which is I          21        patch Tuesday? I really hadn't thought about
      22   believe you've talked about this particular presentation   22        running a bunch of stand alone Windows XP machines
      23   today with -- are you seeing the Bitcoin Association You   23        until everything turned off at the same time.
      24   Tube on the screen?                                        24             So that was another reason Bitcoin before the
      25        A. This is from Coin Geek's channel but has a         25        current block chain turned off from crashing


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       1        literally on that Tuesday night everything updated,    1   actually you know what let me ask you. Do you believe
       2        turned off and restarted and just caused a massive,    2   that Satoshi was a group of people or just one person?
       3        massive problem because the two things split and       3             MR. RIVERO: Object to the form.
       4        didn't sync and I had not thought about that one.      4             THE WITNESS: I don't have a basis to answer
       5        So that was the next part I had to do. I had to        5        that because I wasn't there at the creation of
       6        run around and I bought a whole bunch of Microsoft     6        Bitcoin. Did not work with whoever created Bitcoin
       7        licenses at excessive prices and installed a domain    7        at the time.
       8        in there and a work group and so I set up a forest     8   BY MR. FREEDMAN
       9        between my two locations and ran out all these         9        Q. So let's introduce -- if it will let me,
      10        machines. Set up a WUSS server, W-U-S-S, many         10   Exhibit 22 to your deposition. I'm going to bring us
      11        Australians we made fun of Microsoft calling it a     11   to -- I think this is Exhibit 2 to your deposition
      12        Wuss but we set up a Wuss service and Dave actually   12   already. Let's take a look at this time stamp.
      13        helped on some of that because I couldn't get it      13             MR. NGUYEN: Does that mean I believe he is
      14        all done fast enough. I had to set up a full --       14        Satoshi. First of all I think Satoshi Nakamoto was
      15   BY MR. FREEDMAN                                            15        a group of people.
      16        Q. Does that help refresh your recollection?          16   BY MR. FREEDMAN
      17        A. Yes, I did not remember that part of the           17        Q. Can you explain that?
      18   exchange but what you played for me I do remember that.    18        A. Yes, I have to see I guess the rest of the
      19        Q. Did Craig tell you that Dave was one of the        19   answer.
      20   first two users of Bitcoin?                                20             MR. FREEDMAN: Sure. Hold on. That's fair.
      21        A. I don't recall and it depends what you mean by     21        Let me play it for you.
      22   users, user of Bitcoin.                                    22             MR. NGUYEN: And do I believe --
      23             MR. FREEDMAN: Take a look.                       23             MR. FREEDMAN: I'll rewind it for you.
      24             MR. WRIGHT: So that every node wouldn't go       24             MR. NGUYEN: So does that mean I believe he is
      25        out and calculate their own and people say it's       25        Satoshi Nakamoto. First of all I think Satoshi

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       1        wasting 50 Bitcoin but it's not wasting anything       1        Nakamoto was a group of people. I don't think
       2        because there was no value at the time. We're          2        that's a shock to anyone out there. Do I believe
       3        talking no exchanges, no users. I mean for the         3        he was part of that group, tune in May 30th, Coin
       4        first few days I was the only user. Then hell,         4        Geek Toronto.
       5        when Dave and a few other people jumped in.            5   BY MR. FREEDMAN
       6   BY MR. FREEDMAN                                             6        Q. Do you want to hear more?
       7        Q. Do you recall now him telling you that Dave         7        A. No, I think that's enough.
       8   was one of the first couple users or few users of           8        Q. Is that a true statement?
       9   Bitcoin?                                                    9        A. Yes, I think that's what I was willing to say
      10        A. Yes, I guess I interpret users of Bitcoin is       10   at the time. You can tell I was trying to be coy to
      11   differently. I think he is referring to running a          11   tease what was going to happen at this conference. I
      12   version of the client software and mining.                 12   think it's consistent with what I've said before which
      13        Q. So right, that's -- you're right. Let me           13   is Craig was the -- as I understand is the primary
      14   state that better. Do you recall Craig telling you that    14   creator of Bitcoin and he had help including help as you
      15   Dave Kleiman was one of the first two people to have ran   15   mentioned here responding from Satoshi online accounts.
      16   a Bitcoin node and mined Bitcoin beside himself?           16        Q. Right. But there's a difference between I am
      17        A. I think in that click you've just referred --      17   Satoshi and I had some help doing it and I believe
      18   shown me that's what he means. To the extent he didn't     18   Satoshi is a group of people.
      19   quite phrase it that way. My interpretation is that        19        A. Well, like I said it depends on was there a
      20   what that means.                                           20   group of people who worked on helping Craig with the
      21        Q. Did -- has he ever told you anything besides       21   creation of Bitcoin including at least one I've been
      22   that -- sorry, strike that. Has he ever told you this      22   told responded from the Satoshi Nakamoto account, yes.
      23   in any other setting besides this one?                     23        Q. And one of those individuals is Dave Kleiman?
      24        A. No.                                                24        A. Yes.
      25        Q. You said to me previously that you believe --      25        Q. And your reference here to that group of


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       1   people included a group that included Dave Kleiman?         1        you how long I think it's going to take I told you
       2        A. What's the date here? Yes, it would include         2        I made a mistake I pointed out I had missed a
       3   Dave Kleiman because I had understood at the time he,       3        module, that I was trying to get you out of here.
       4   you know, was a friend of Craig and he helped Craig.        4        You can believe what you want to believe but please
       5        Q. Are you aware of an expert report that's been       5        objection to form.
       6   filed in this litigation by Amy Klinn?                      6             MR. RIVERO: Mr. Videographer, please count
       7        A. No.                                                 7        the time up because I know how this ends. I've
       8        Q. Do you believe Craig is incapable of                8        been to this movie before with this judge.
       9   manipulating anyone?                                        9             MR. FREEDMAN: Do you want to take a break and
      10             MR. RIVERO: Object to the form.                  10        let him count it up?
      11             THE WITNESS: I can't answer that question. I     11             MR. RIVERO: No, sir, I want you to keep
      12        don't have a basis to answer that question. I am      12        going. Ask your questions.
      13        not even sure what that means.                        13   BY MR. FREEDMAN
      14   BY MR. FREEDMAN                                            14        Q. So before we were interrupted, Mr. Nguyen, I
      15        Q. Do you believe Craig is incapable of lying?        15   asked you yes, if he is mentally capable of telling a
      16             MR. RIVERO: Objection.                           16   lie?
      17             THE WITNESS: I can't answer that question. I     17        A. I have no basis to judge that. Mental health
      18        don't know.                                           18   expert psychologist I don't know who would even be
      19   BY MR. FREEDMAN                                            19   qualified -- what kind of qualifications you need to
      20        Q. Do you think he can lie?                           20   answer that question.
      21             MR. RIVERO: Objection.                           21        Q. Have you ever heard to have someone called
      22             THE WITNESS: I don't know.                       22   Garreth Williams?
      23   BY MR. FREEDMAN                                            23        A. I feel like I've heard the name. I don't know
      24        Q. You don't know if you think he can lie?            24   who that is.
      25             MR. RIVERO: Objection.                           25        Q. Has Craig ever mentioned this person to you?

                                                        Page 203                                                        Page 205
       1             MR. SILVERGLATE: Objection, asked and             1        A. I don't recall. I feel like I've heard the
       2        answered.                                              2   name but not sure.
       3             MR. FREEDMAN: You can answer.                     3        Q. Has Craig ever mentioned Wing Commander Don
       4             THE WITNESS: I don't have a basis to answer       4   Linem to you?
       5        that because I have not had an occasion to think       5        A. Again I think that name I heard before but I'm
       6        that he lied to me.                                    6   not sure.
       7   BY MR. FREEDMAN                                             7        Q. Have you ever reviewed a document identifying
       8        Q. Not asking if he is a liar or if you think he       8   potential red flags or competing claims to nChain's IP?
       9   lied to you. I'm just asking if you think he is capable     9        A. Not that I can recall.
      10   of telling a lie?                                          10        Q. Has Calvin Ayre invested in BSV?
      11        A. I am not sure what you're asking. To me?           11        A. What does that mean invested in BSV?
      12             MR. RIVERO: Standing objection. I've been        12        Q. Do you think Calvin Ayre has assets invested
      13        listening to this gibberish for almost eight hours,   13   in BSV?
      14        seven hours. You've asked the same thing four         14        A. I guess that's one question that does not make
      15        times. It's an improper question. How long are        15   sense to me.
      16        you going to keep going on this -- when you told us   16        Q. I hear you. Let me refine it for you. Do you
      17        40 minutes ago you were taking a ten minute break     17   believe that Calvin Ayre holds large amounts BSV?
      18        because you were almost done?                         18        A. I know he mines BSV so I'm sure he holds BSV.
      19             MR. FREEDMAN: Mr. Rivero, you know you're        19        Q. Do you believe Stefan Matthews holds large
      20        limited to objection to form.                         20   amounts of BSV?
      21             MR. RIVERO: What's your time estimate since      21        A. I don't know.
      22        once again you proved that I can't rely on your       22             MR. FREEDMAN: That's all I have. Thank you
      23        word? What's your time estimate?                      23        so much Mr. Nguyen. I apologize for interrupting
      24             MR. FREEDMAN: Mr. Rivero, I have seven hours     24        your day. We can go off the record but I wanted to
      25        and since every time I try in good faith to tell      25        have a meet and confer with Spencer. Doesn't need


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       1   to be on the record. As far as I'm concerned              1                             CERTIFICATE OF OATH
                                                                     2   THE STATE OF FLORIDA
       2   Mr. Nguyen you're free to go. Thank you.
                                                                     3               COUNTY OF DADE
       3        THE WITNESS: Thank you.
                                                                     4
       4        MR. SILVERGLATE: Questions, Andres?
                                                                     5       I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,
       5        MR. RIVERO: Thank you Jimmy, I don't. No, I          6   Notary Public, State of Florida, certify that JIMMY
       6   don't.                                                    7   NGUYEN remotely appeared before me on the 30TH day
       7        MR. SILVERGLATE: We don't waive reading and          8   of April, 2020 and was duly sworn.
       8   we will read the deposition if it's ordered.              9

       9        THE VIDEOGRAPHER: The time is 7:35 p.m. and         10               Signed this 7th day of May, 2020.
                                                                    11
      10   we're going off the video record.
                                                                    12
      11        MR. FREEDMAN: Can you give me the rough
                                                                    13
      12   tonight, whatever condition it's in?
                                                                    14
      13                (Witness excused.)                                                     _________________________
      14            (Deposition was concluded.)                     15
      15                                                                                       Rick Levy, RPR, FPR
      16                                                            16                         Notary Public - State of Florida

      17                                                                                       My Commission Expires:    12/8/2023

      18                                                            17                         My Commission No.:    GG937684
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      24                                                            24
      25                                                            25



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       1                                                             1                  E R R A T A    S H E E T
       2                CERTIFICATE OF REPORTER                      2   IN RE:   IRA KLEIMAN VS CRAIG WRIGHT
       3             THE STATE OF FLORIDA
       4             COUNTY OF DADE                                  3   DEPOSITION OF:      JIMMY NGUYEN
       5                                                             4   TAKEN: 4/30/2020
       6        I, Rick Levy, Registered Professional Reporter       5       DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
           and Notary Public in and for the State of Florida at
       7   large, do hereby certify that I was authorized to         6   PAGE #     LINE #    CHANGE                 REASON
           and did report said deposition in stenotype of DR.        7   ____________________________________________________
       8   JIMMY NGUYEN; and that the foregoing pages, numbered
                                                                     8   ____________________________________________________
           from 1 to 206, inclusive, are a true and correct
       9   transcription of my shorthand notes of said               9   ____________________________________________________
           deposition.                                              10   ___________________________________________________
      10
                                                                    11   ____________________________________________________
                I further certify that said deposition was
      11   taken at the time and place hereinabove set forth        12   ____________________________________________________
           and that the taking of said deposition was commenced     13   ____________________________________________________
      12   and completed as hereinabove set out.
                                                                    14   ____________________________________________________
      13        I further certify that I am not attorney or
           counsel of any of the parties, nor am I a relative       15   ____________________________________________________
      14   or employee of any attorney or counsel of party          16   ____________________________________________________
           connected with the action, nor am I financially
                                                                    17   Please forward the original signed errata sheet to
      15   interested in the action.
      16        The foregoing certification of this transcript           this office so that copies may be distributed to all
           does not apply to any reproduction of the same by        18   parties.
      17   any means unless under the direct control and/or
                                                                    19   Under penalty of perjury, I declare that I have read
           direction of the certifying reporter.
      18                                                                 my deposition and that it is true and correct
                IN WITNESS WHEREOF, I have hereunto set my hand     20   subject to      any changes in form or substance
      19   this 7th day of May, 2020.
                                                                         entered here.
      20
                 _____________________________________              21
      21                                                            22   DATE: ________________________
                  Rick Levy, RPR, FPR, Notary Public
                                                                    23
      22          in and for the State of Florida
                  My Commission Expires: 12/8/2023                  24   SIGNATURE OF
      23          My Commission No.: GG937684                            DEPONENT:_________________________________
      24
                                                                    25
      25



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       1   DATE:       May 7, 2020
       2   TO: SPENCER SILVERGLATE, ESQUIRE
                 TREVOR GILLUM, ESQUIRE
       3         CLARKE SILVERGLATE, P.A.
                 799 Brickell Avenue
       4         Suite 900
                 Miami, Florida 33131
       5
           IN RE:     Ira Kleiman vs Craig Wright
       6
       7   Dear Mr. Silverglate:
       8   Enclosed please find the original errata page with
           your copy of the transcript so JIMMY NGUYEN may read
       9   and sign their transcript. Please have him/her make
           whatever changes are necessary on the errata page
      10   and sign it. Then place the original errata page
           back into the original transcript. Please then
      11   forward the original errata page back to our office
           @1080 Woodcock Road, Suite 100, Orlando, Florida
      12   32803.
      13   If the errata page is not signed by the witness
           within 30 days after this letter has been furnished,
      14   we will then process the transcript without a signed
           errata page. If your client wishes to waive their
      15   right to read and sign, please have him/her sign
           their name at the bottom of this letter and send it
      16   back to the office.
      17        Your prompt attention to this matter is
      18   appreciated.
      19   Sincerely,
      20   __________________________________
           RICK E. LEVY, RPR
      21
           I do hereby waive my signature:
      22
           ___________________________________
      23   JIMMY NGUYEN
      24   cc via transcript: Vel Freedman, Esq.
                               Andres Rivero, Esq.
      25   file copy




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         map out PR and commun cat ons strategy for the year215
                                                             (both proact ve and react ve). dea date wou d be March
             23 or 24 f you can make t happen.
        Jimmy Nguyen Davs Wr ght Trema ne LLP
        865 S Figueroa Street Suite 2400 Los Angeles CA 90017
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        Anchorage Bellevue Los Angeles New York Portland San Francisco Seattle Shanghai Washington DC




        From: Nguyen, Jimmy
        Sent: Monday, January 23, 2017 8:11 PM
        To: 'Jamie Diaferia'
        Subject: RE: nChain Ho dings Limited

        Jam e – nCha n Ho d ngs L m ted (wh ch s a parent ho d ng company of var ous subs d ar es) has been owned by The
        Workshop Ho d ngs L m ted. There are a ser es of transact ons that ead to the u t mate acqu s t on by the pr vate
        equ ty fund (P H gh Tech & PE Fund L m ted) of nCha n Ho d ngs L m ted and a ts groups/subs d ar es.
        For reference, here is a description of the Fund from its test website – which a so provides other key facts
        about the fund (http://pi-hightech-fund.com/test/index.htm#):

        π H gh Tech & PE Fund Ltd s a pr vate equ ty fund based n the attract ve European Un on ur sd ct on of the
        Repub c of Ma ta. The nvestment ob ect ve of the π H gh Tech & PE Fund Ltd (“Fund”) s to prov de ong-term
        cap ta apprec at on v a targeted nvestment exposure nto h gh growth bus nesses enab ed by the r nnovat on
        and app cat on of d srupt ve d g ta techno ogy.
        A so note that nCha n Ho d ngs L m ted s former y known as E TC Ho d ngs. [E TC Ho d ngs has a ready been
        ment oned n some med a art c es about what Cra g Wr ght s try ng to do w th patent app cat ons; t s the sted
        owner of the current y f ed patent app cat ons].

        Be ow s a summary (as best understand t now) of the transact ons. Th s prov des more deta than we w
        u t mate y want n a press re ease but good for you to know. Th s can be d ff cu t to fo ow unt you are more
        fam ar w th the ent t es and structure – so can get on the phone to wa k you through t f needed.
        1) In 2016, nChain Holdings Limited acquired the “nTrust group” of companies (over 2
        transactions).
        This comprised of 7 tota entities: a) nTrust Techno ogy So utions Corp, and then ater b) NT Internationa
        Ho dings Corp (and 5 subsidiaries owned by it). nTrust Techno ogy So utions Corp was part of the “nTrust
        group” but was the on y subsidiary not direct y owned by NT Internationa Ho dings Corp.

        This adds the “nTrust group” of companies to nChain Ho dings portfo io – which a so inc udes these entities:
             ·    nChain Limited (UK)
             ·    nChain Techno ogy Limited (Antigua) and nChain Labs Limited (Antigua) [these two companies were
                  more recent y formed in September 2016]


        2) nChain Holdings sells nTrust Technology Solutions to NT International Holdings Corp

        (Previous y, one of the nTrust group subsidiaries – nTrust Techno ogy So utions Corp - was not owned
        direct y by NT Internationa Ho dings, which owned the other 5 subsidiaries. As a resu t of this transaction,
        NT Internationa Ho dings now owns a 6 subsidiaries in the “nTrust group.” Together with NT Internationa
        Ho dings and the 6 subsidiaries, the “nTrust group” has 7 entities.

        3 Transactions for Pi High Tech & PE Fund to acquire the entirety of nChain Holdings Limited and its
        groups/subsidiaries

        A) Pi High Tech & PE Fund acquires nChain Limited (UK) from nChain Holdings Limited

        B) Pi High Tech & PE Fund acquires the “nTrust group” (NT International Holdings Corp + its now 6
        subsidiaries) from nChain Holdings Limited

        As a resu t of the foregoing two transactions, nChain Ho dings Limited is eft with itse f and its 2 Antiguan
        subsidiaries (nChain Techno ogy Limited and nChain Labs Limited)
        C) FINAL TRANSACTION: Pi High Tech & PE Fund acquires the remainder of nChain Holdings Limited
        (i.e., the parent company nChain Holdings Limited + 2 Antiguan subsidiaries nChain Technology
        Limited and nChain Labs Limited) from the ultimate owner The Workshop Holdings


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      The focus of the press re ease shou d be that P H gh Tech & PE Fund s p eased to announce ts acqu s t on of nCha n
      Ho d ngs L m ted – and a ts subs d ar es ent t es, wh ch cons sts of nCha n ent t es ( nc ud ng nCha n L m ted (UK)
      focused on b ockcha n R&D) and the “nTrust group” of compan es.

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      From: Jamie Diaferia [                                               ]
      Sent: Monday, January 23, 2017 4:44 AM
      To: Nguyen, Jimmy
      Subject: RE: nChain Ho dings Limited

      J mmy, we w get started on a press re ease. w                         et you know what we need. Thank you.
      Jamie Diaferia
      CEO

       : 212.838.0220
      E:
      W: nf n teg oba .com

      From: Nguyen, J mmy                                                        ]
      Sent: January 20, 2017 3:43 PM
      To: Jam e D afer a <                                          >
      Subject: nCha n Ho d ngs L m ted
      H Jam e – am hav ng a status update ca on Sunday w th the key eadersh p team for nCha n Ho d ngs (parent
      company) – an “Off ce of the CEO” group of 3 be ng formed wh ch w nc ude me.
      But meanwh e, wanted to et you know about status of the pr vate equ ty fund acqu s t on of nCha n Ho d ngs. t’s
      st n process. Cou d be f n shed at end of January or ear y February at th s po nt – though my sense s t w ke y
      take at east another 3 weeks.

      Meanwh e, we th nk t’s w se to get started draft ng a press re ease, so that th ngs are not rushed, and your team
      and our team has t me to rev ew t proper y.

      What are steps to get started on that? can put down key po nts we shou d cover n a press re ease f that wou d
      he p your team.

      P.S. My ast day at DWT has now been set as February 10.
      Jimmy Nguyen Davs Wr ght Trema ne LLP
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The Satoshi Affair
Andrew O’Hagan on the many lives of
Satoshi Nakamoto


The Raid

Ten men raided​ a house in Gordon, a north shore suburb of Sydney, at 1.30 p.m. on Wednesday,
9 December 2015. Some of the federal agents wore shirts that said ‘Computer Forensics’; one carried
a search warrant issued under the Australian Crimes Act 1914. They were looking for a man named
Craig Steven Wright, who lived with his wife, Ramona, at 43 St Johns Avenue. The warrant was
issued at the behest of the Australian Taxation Office. Wright, a computer scientist and businessman,
headed a group of companies associated with cryptocurrency and online security. As one set of
agents scoured his kitchen cupboards and emptied out his garage, another entered his main
company headquarters at 32 Delhi Road in North Ryde. They were looking for ‘originals or copies’ of
material held on hard drives and computers; they wanted bank statements, mobile phone records,
research papers and photographs. The warrant listed dozens of companies whose papers were to be
scrutinised, and 32 individuals, some with alternative names, or alternative spellings. The name
‘Satoshi Nakamoto’ appeared sixth from the bottom of the list.
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                            Craig Wright in the Oxford Circus office.
Some of the neighbours say the Wrights were a little distant. She was friendly but
he was weird – to one neighbour he was ‘Cold-Shoulder Craig’ – and their landlord
wondered why they needed so much extra power: Wright had what appeared to be
a whole room full of generators at the back of the property. This fed a rack of
computers that he called his ‘toys’, but the real computer, on which he’d spent a lot
of money, was nearly nine thousand miles away in Panama. He had already taken
the computers away the day before the raid. A reporter had turned up at the house
and Wright, alarmed, had phoned Stefan, the man advising them on what he and
Ramona were calling ‘the deal’. Stefan immediately moved Wright and his wife into
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a luxury apartment at the Meriton World Tower in Sydney. They’d soon be moving
to England anyway, and all parties agreed it was best to hide out for now.

At 32 Delhi Road, the palm trees were throwing summer shade onto the concrete
walkways – ‘Tailor Made Office Solutions’, it said on a nearby billboard – and people
were drinking coffee in Deli 32 on the ground floor. Wright’s office on level five was
painted red, and looked down on the Macquarie Park Cemetery, known as a place
of calm for the living as much as the dead. No one was sure what to do when the
police entered. The staff were gathered in the middle of the room and told by the
officers not to go near their computers or use their phones. ‘I tried to intervene,’ one
senior staff member, a Dane called Allan Pedersen, remarked later, ‘and said we
would have to call our lawyers.’

Ramona wasn’t keen to tell her family what was happening. The reporters were
sniffing at a strange story – a story too complicated for her to explain – so she just
told everyone that damp in the Gordon house had forced them to move out. The
place they moved into, a tall apartment building, was right in the city and Wright felt
as if he was on holiday. On 9 December, after their first night in the new apartment,
Wright woke up to the news that two articles, one on the technology site ​Gizmodo​,
the other in the tech magazine ​Wired​, had come out overnight fingering him as the
person behind the pseudonym Satoshi Nakamoto, who in 2008 published a white
paper describing a ‘peer-to-peer electronic cash system’ – a technology Satoshi
went on to develop as bitcoin. Reading the articles on his laptop, Wright knew his
old life was over.

By this point, cameras and reporters were outside his former home and his office.
They had long heard rumours, but the​Gizmodo​ and ​Wired​ stories had sent the
Australian media into a frenzy. It wasn’t clear why the police and the articles had
appeared on the same day. At about five that same afternoon, a receptionist called
from the lobby of Wright’s apartment building to say that the police had arrived.
Ramona turned to Wright and told him to get the hell out. He looked at a desk in
front of the window: there were two large laptop computers on it – they weighed a
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few kilos each, with 64 gigabytes of RAM – and he grabbed the one that wasn’t yet
fully encrypted. He also took Ramona’s phone, which wasn’t encrypted either, and
headed for the door. They were on the 63rd floor. It occurred to him that the police
might be coming up in the elevator, so he went down to the 61st floor, where there
were office suites and a swimming pool. He stood frozen for a minute before he
realised he’d rushed out without his passport.

Ramona left the apartment shortly after Wright. She went straight down to the
basement car park and was relieved to find the police weren’t guarding the exits.
She jumped into her car, a hire vehicle, and, in her panic, crashed into the exit
barrier. But she didn’t stop, and was soon on the motorway heading to north
Sydney. She just wanted to be somewhere familiar where she would have time to
think. She felt vulnerable without her phone, and decided to drive to a friend’s and
borrow his. She went to his workplace and took his phone, telling him she couldn’t
explain because she didn’t want to get him involved.

Meanwhile, Wright was still standing beside the swimming pool in his suit, with a
laptop in his arms. He heard people coming up the stairs, sped down the corridor
and ducked into the gents. A bunch of teenagers were standing around but seemed
not to notice him. He went to the furthest cubicle and deliberately kept the door
unlocked. (He figured the police would just look for an engaged sign.) He was
standing on top of the toilet when he heard the officers come in. They asked the
youngsters what they were doing, but they said ‘nothing’ and the police left. Wright
stayed in the cubicle for a few minutes, then went out and used his apartment
keycard to hide in the service stairwell. Eventually, a call came from Ramona on her
friend’s phone. She was slightly horrified to discover he was still in the building and
told him again to get out. He, too, had a rental car, and had the key in his pocket.
He went down sixty flights of stairs to the car park in the basement, unlocked his car
and opened the boot, where he lifted out the spare wheel and put his laptop in the
wheel cavity. He drove towards the Harbour Bridge and got lost in the traffic.
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                                   Craig Wright in 2016.
As Ramona drove along she began texting the mysterious Stefan, who was at
Sydney Airport, having already checked in for a flight to Manila, where he lived.
Stefan had to make a fuss to get his bag removed from the plane and then he spoke
to Ramona, telling her that Wright would have to get out of the country. She didn’t
argue. She called the Flight Centre and asked what flights were leaving. ‘To where?’
asked the saleswoman.

‘Anywhere,’ Ramona said. Within ten minutes she had booked her husband on a
flight to Auckland.
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In the early evening, Wright, scared and lost, made his way to Chatswood. He
texted Ramona to come and meet him, and she immediately texted back saying he
should go straight to the airport. She’d booked him a flight. ‘But I don’t have my
passport,’ he said. Ramona was afraid she’d be arrested if she returned to their
apartment, but her friend said he’d go into the building and get the passport. They
waited until the police left the building, then he went upstairs. A few minutes later he
came back with the passport, along with the other computer and a power supply.

They met Wright in the airport car park. Ramona had never seen him so worried. ‘I
was shocked,’ he later said. ‘I hadn’t expected to be outed like that in the media,
and then to be chased down by the police. Normally, I’d be prepared. I’d have a bag
packed.’ As Ramona gave him the one-way ticket to Auckland, she was anxious
about when she would see him again. Wright said New Zealand was a bit too close
and wondered what to do about money. Ramona went to an ATM and gave him
$600. He bought a yellow bag from the airport shop in which to store his computers.
He had no clothes. ‘It was awful saying goodbye to him,’ Ramona said.

In the queue for security, he felt nervous about his computers. His flight was about
to close when the security staff flagged him down. He was being taken to an
interview room when an Indian man behind him started going berserk. It was just
after the Paris bombings; the man’s wife was wearing a sari and the security staff
wanted to pat her down. The man objected. All the security staff ran over to deal
with the situation and told Wright to go. He couldn’t believe his luck. He put his head
down and scurried through the lounge.

Back at Wright’s office, Allan Pedersen was being interviewed by the police. He
overheard one of them ask: ‘Have we got Wright yet?’

‘He’s just hopped a flight to New Zealand,’ his colleague said.

Wright was soon 30,000 feet above the Tasman Sea watching the programmer
Thomas Anderson (Keanu Reeves) being chased by unknowable agents in ​The
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Matrix​. Wright found the storyline strangely comforting; it was good to know he
wasn’t alone.

At Auckland Airport, Wright kept his phone on flight mode, but turned it on to use the
airport’s wifi to Skype with Stefan, using a new account. They had a discussion
about how to get him to Manila. There was a big rock concert that night in Auckland,
and all the hotels were full, but he crossed town in a cab and managed to get a
small room at the Hilton. He booked two nights, using cash. He knew how to get
more cash out of ATMs than the daily limit, so he worked several machines near the
hotel, withdrawing $5000. He ordered room service that night and the next morning
went to the Billabong store in Queen Street to buy some clothes. He felt agitated,
out of his element: normally he would wear a suit and tie – he enjoys the notion that
he is too well dressed to be a geek – but he bought a T-shirt, a pair of jeans and
some socks. On the way back to the hotel he got a bunch of SIM cards, so that his
calls wouldn’t be monitored. Back at the Hilton he was packing up his computers
when the dependable Stefan came on Skype. He told Wright to go to the airport and
pick up a ticket he’d left him for a flight to Manila. His picture was all over the
papers, along with the story that he was trying to escape.

Within hours of Wright’s name appearing in the press, anonymous messages
threatened to reveal his ‘actual history’. Some said he had been on Ashley Madison,
the website that sets up extramarital affairs, others that he’d been seen on Grindr,
the gay hook-up app. During a six-hour layover in Hong Kong, he killed his email
accounts and tried to wipe his social media profile, which he knew would be heavy
with information he wasn’t keen to publicise: ‘Mainly rants,’ he said later. When he
got to Manila airport, Stefan picked him up. They went to Stefan’s apartment and
the maid washed Wright’s clothes while he set up his laptops on the dining-room
table. They spent the rest of Saturday wiping his remaining social media profile.
Stefan didn’t want any contact to be possible: he wanted to cut Wright off from the
world. The next day he put him on a plane to London.
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Mayfair

Technology is constantly changing the lives of people who don’t really understand it
– we drive our cars, and care nothing for internal combustion – but now and then a
story will break from that frontier. I was one of the people who had never heard of
Satoshi Nakamoto or the blockchain – the invention underlying bitcoin, which
verifies transactions without the need for any central authority – or that it is the
biggest thing in computer science.​ ​ It was news to me that the banks were grabbing
onto the blockchain as the foundation of a future ‘internet of value’. The story of a
mythical computer scientist was an odd one to come my way. I’m not much detained
by thoughts of new computer paradigms. (I’m still getting the hang of the first one.)
But to those who are much more invested in the world of tomorrow, the Satoshi
story has the lineaments of a modern morality tale quite independent of stock
realities. There are things, there are always things, that others assume are at the
centre of the universe but don’t make a scratch on your own sense of the everyday
world. This story was like that for me, enclosing me in an enigma I couldn’t have
named. A documentary is a fashioned thing, of course, as fashioned as fiction in its
own ways, but I had to overcome my own bafflement – as will you – to enter this
world.

A few weeks before the raid on Craig Wright’s house, when his name still hadn’t
ever been publicly associated with Satoshi Nakamoto, I got an email from a Los
Angeles lawyer called Jimmy Nguyen, from the firm Davis Wright Tremaine
(self-described as ‘a one-stop shop for companies in entertainment, technology,
advertising, sports and other industries’). Nguyen told me that they were looking to
contract me to write the life of Satoshi Nakamoto. ‘My client has acquired life story
rights … from the true person behind the pseudonym Satoshi Nakamoto – the
creator of the bitcoin protocol,’ the lawyer wrote. ‘The story will be [of] great interest
to the public and we expect the book project will generate significant publicity and
media coverage once Satoshi’s true identity is revealed.’

Journalists, it turned out, had spent years looking for Nakamoto. His identity was
one of the great mysteries of the internet, and a holy grail of investigative reporting,
with writers who couldn’t dig up evidence simply growing their own. For the​New
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Yorker​’s Joshua Davis the need to find him seemed almost painful. ‘Nakamoto
himself was a cipher,’ he wrote in October 2011:

 Before the debut of bitcoin, there was no record of any coder with that name. He used an
 email address and a website that were untraceable. In 2009 and 2010, he wrote
 hundreds of posts in flawless English, and though he invited other software developers to
 help him improve the code, and corresponded with them, he never revealed a personal
 detail. Then, in April 2011, he sent a note to a developer saying that he had ‘moved on to
 other things’. He has not been heard from since.

Davis went on to examine Satoshi’s writing quite closely and concluded that he
used British spelling and was fond of the word ‘bloody’. He then named a
23-year-old Trinity College Dublin graduate student, Michael Clear, who quickly
denied it. The story went nowhere and Clear went back to his studies. Then Leah
McGrath Goodman wrote a piece for ​Newsweek​claiming Satoshi was a maths
genius called Dorian Nakamoto, who lived in the Californian suburb of Temple City
and didn’t actually know, it turned out, how to pronounce bitcoin. When Goodman’s
article ran on the magazine’s cover reporters from all over the world arrived on
Dorian’s doorstep. He said he would give an interview to the first person who would
take him to lunch. It turned out that his hobby wasn’t alternative currencies but
model trains. Someone calling himself Satoshi Nakamoto, and using Satoshi’s
original email address, visited one of the forums Satoshi used to haunt and posted
the message: ‘I am not Dorian Nakamoto.’​ ​ Other commentators, including
Nathaniel Popper of the ​New York Times​, named Nick Szabo, a cool cryptocurrency
nut and the inventor of Bit Gold, but he denied it profusely. ​Forbes​ believed it was
Hal Finney, who, the blockchain irrefutably showed, was the first person in the world
to be sent bitcoin by Satoshi. Finney, a native Californian, was an expert
cryptographer whose involvement in the development of bitcoin was vital. He was
diagnosed with motor neurone disease in 2009 and died in 2014. It came to seem
that the holy grail would remain out of reach. ‘Many in the bitcoin community … in
deference to the bitcoin creator’s clear desire for privacy … didn’t want to see the
wizard unmasked,’ Popper wrote in the ​New York Times​. ‘But even among those
who said this, few could resist debating the clues the founder left behind.’

The ‘Stefan’ who was hovering during the raid on Craig Wright’s house and office is
Stefan Matthews, an IT expert whom Wright had known for ten years, since they
both worked for the online gambling site Centrebet. In those days, around 2007,
Wright was often hired as a security analyst by such firms, deploying his skills as a
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computer scientist (and his experience as a hacker) to make life difficult for
fraudsters. Wright was an eccentric guy, Stefan Matthews remembered, but known
to be a reliable freelancer. Matthews said that Wright had given him a document to
look at in 2008 written by someone called Satoshi Nakamoto, but Matthews had
been busy at the time and didn’t read it for a while. He said that Wright was always
trying to get him interested in this new venture called bitcoin. He tried to sell him
50,000 coin for next to nothing, but Matthews wasn’t interested, he told me,
because Wright was weird and the whole thing seemed a bit cranky. A few years
later, however, Matthews realised that the document he had been shown was, in
fact, an original draft of the by now famous white paper by Satoshi Nakamoto. (Like
the governments they despise, bitcoiners deal – when it comes to ideas – in ‘white
papers’, as if they were issuing laws.) Last year, when Wright was in financial
trouble, he approached Matthews several times. By that time, Matthews had
become friendly with Robert MacGregor, the founder and CEO of a Canada-based
money-transfer firm called nTrust. Matthews encouraged MacGregor to come to
Australia and assess Wright’s value as an investment opportunity. Wright had
founded a number of businesses that were in trouble and he was deeply embedded
in a dispute with the ATO. Nevertheless, Matthews told MacGregor, Wright was
almost certainly the man behind bitcoin.

Matthews argued that since Satoshi’s disappearance in 2011, Wright had been
working on new applications of the blockchain technology he had invented as
Satoshi. He was, in other words, using the technology underlying bitcoin to create
new versions of the formula that could, at a stroke, replace the systems of
bookkeeping and registration and centralised authority that banks and governments
depend on. Wright and his people were preparing dozens of patents, and each
invention, in a specific way, looked to rework financial, social, legal or medical
services, expanding on the basic idea of the ‘distributed public ledger’ that
constitutes the blockchain. This is utopian thinking, even by normal geek standards,
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but it’s a hot topic in computer science and banking at the moment, and hundreds of
millions of dollars are being invested in such ideas. Thus: Matthews’s proposal.

After initial scepticism, and in spite of a slight aversion to Wright’s manner,
MacGregor was persuaded, and struck a deal with Wright, signed on 29 June 2015.
MacGregor says he felt sure that Wright was bitcoin’s legendary missing father, and
he told me it was his idea, later in the drafting of the deal, to insist that Satoshi’s ‘life
rights’ be included as part of the agreement. Wright’s companies were so deep in
debt that the deal appeared to him like a rescue plan, so he agreed to everything,
without, it seems, really examining what he would have to do. Within a few months,
according to evidence later given to me by Matthews and MacGregor, the deal
would cost MacGregor’s company $15 million. ‘That’s right,’ Matthews said in
February this year. ‘When we signed the deal, $1.5 million was given to Wright’s
lawyers. But my main job was to set up an engagement with the new lawyers … and
transfer Wright’s intellectual property to nCrypt’ – a newly formed subsidiary of
nTrust. ‘The deal had the following components: clear the outstanding debts that
were preventing Wright’s business from getting back on its feet, and work with the
new lawyers on getting the agreements in place for the transfer of any
non-corporate intellectual property, and work with the lawyers to get Craig’s story
rights.’ From that point on, the ‘Satoshi revelation’ would be part of the deal. ‘It was
the cornerstone of the commercialisation plan,’ Matthews said, ‘with about ten
million sunk into the Australian debts and setting up in London.’

The plan was always clear to the men behind nCrypt. They would bring Wright to
London and set up a research and development centre for him, with around thirty
staff working under him. They would complete the work on his inventions and patent
applications – he appeared to have hundreds of them – and the whole lot would be
sold as the work of Satoshi Nakamoto, who would be unmasked as part of the
project. Once packaged, Matthews and MacGregor planned to sell the intellectual
property for upwards of a billion dollars. MacGregor later told me he was speaking
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to Google and Uber, as well as to a number of Swiss banks. ‘The plan was to
package it all up and sell it,’ Matthews told me. ‘The plan was never to operate it.’




         Clockwise from top left: Hal Finney, Gavin Andresen, Robert MacGregor, Stefan Matthews
                                                   *

Since the time I worked with Julian Assange, my computers have been hacked
several times. It isn’t unusual for me to find that material has been wiped, and I was
careful to make sure the lawyer’s approach wasn’t part of a sting operation. But I
was curious to see what these men had. I assumed MacGregor – or someone
behind him – must be the ‘client’ referred to in the email I had received from
California. On Thursday, 12 November, I turned up at MacGregor’s office near
Oxford Circus, where I signed in under a pseudonym and made my way to a
boardroom wallpapered with mathematical formulae. MacGregor came into the
room wearing a tailored jacket and jeans, with a blue-edged pocket square in his
breast pocket, a scarf and brown brogue boots. He was 47 but looked about 29.
There was something studied about him – the Alexander McQueen scarf, the
lawyerly punctilio – and I’d never met anyone who spoke so easily about such large
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sums of money. When I asked him the point of the whole exercise he said it was
simple: ‘Buy in, sell out, make some zeroes.’

MacGregor described Wright to me as ‘the goose that lays the golden egg’. He said
that if I agreed to take part I would have exclusive access to the whole story, and to
everyone around Wright, and that it would all end with Wright proving he was
Satoshi by using cryptographic keys that only Satoshi had access to, those
associated with the very first blocks in the blockchain. MacGregor told me this might
happen at a public TED talk. He said it would be ‘game over’. Wright’s patents
would then be sold and Wright could get on with his life, out of the public eye. ‘All he
wants is peace to get on with his work,’ MacGregor told me at that first meeting.
‘And how this ends, for me, is with Craig working for, say, Google, with a research
staff of four hundred.’

I told MacGregor that there would have to be a process of verification. We talked
about money, and negotiated a little, but after several meetings I decided I wouldn’t
accept any. I would write the story as I had every other story under my name, by
observing and interviewing, taking notes and making recordings, and sifting the
evidence. ‘It should be warts and all,’ MacGregor said. He said it several times, but I
was never sure he understood what it meant. This was a changing story, and I was
the only one keeping account of the changes. MacGregor and his co-workers were
already convinced Wright was Satoshi, and they behaved, to my mind, as if that
claim was the end of the story, rather than the beginning.

I don’t mean to imply anything sinister. The company was excited by the project and
so was I. Very quickly we were working hand in hand: I reserved judgment (and
independence) but I was very caught up in the thought of the story unfolding as
planned. At this point, nobody knew who Craig Wright was, but he appeared, from
the initial evidence, to have a better claim to being Satoshi Nakamoto than anyone
else had. He seemed to have the technical ability. He also had the right social
history, and the timeline worked. The big proof was up ahead, and how could it not
be spectacular? I went slowly forward with the project, and said no to everything
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that would hamper my independence. This would become an issue later on with
MacGregor and Matthews, or the men in black, as I’d taken to calling them, but for
those first few months, nobody asked me to sign anything and nobody refused me
access. Mysteries would open up, and some would remain, but there seemed no
mystery about the fact that these people were confident that a supremely important
thing was happening and that the entire process should be witnessed and recorded.
My emails to MacGregor took it for granted that what would be good for my story, in
terms of securing proof, would also be good for his deal, and that seemed perfectly
true. Yet I feel bad that I didn’t warn him of the possibility that this might not be what
happened, that my story wouldn’t die if the deal died, that human interest doesn’t
stop at success.

It was at this point, four weeks after my first meeting with MacGregor, that ​Wired
and ​Gizmodo​ reported that he might be Satoshi. The news unleashed a tsunami of
responses from the cryptocurrency community, and most of it was bad for Wright’s
credibility. Had he left artificial footprints to suggest his involvement with bitcoin had
been earlier than it was? Had he exaggerated the number and nature of the
degrees he’d accumulated from various universities? Why did the company that
supplied the supercomputer he claimed to have bought with amassed bitcoin say it
had never heard of him?

‘The smell,’ as one commentator said, ‘was a mile high.’ The nCrypt people were
unfazed by this mudslinging, believing that every one of the charges made against
Wright could be easily disproved. Wright produced an impressive paper showing
that his ‘footprint’ wasn’t faked and that the ‘cryptographic’ evidence against him
was bogus (people continue to argue on this point). He produced a letter from the
supercomputer supplier acknowledging the order. Charles Sturt University provided
a photocopy of his staff card, proving he had lectured there, and Wright sent me a
copy of the thesis he’d submitted for a doctorate his critics claim he doesn’t have.

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I had arrived five minutes early at 28-50 Degrees, a wine bar and restaurant in
Mayfair. It was just before 1 p.m. on 16 December and the lunchtime crowd, men in
blue suits and white shirts, were eating oysters and baby back ribs and drinking
high-end wine by the glass. A jeroboam of Graham’s ten-year-old tawny port stood
on the bar, and I was inspecting it when MacGregor arrived with Mr and Mrs Smith.
That’s what he’d been calling them in his emails to me. Craig Wright, 45 years old,
wearing a white shirt under a black jacket, a pair of blue chinos, a belt with a large
Armani buckle and very green socks, wasn’t the kind of guy who seems comfortable
in a swish restaurant. He sat across from me and lowered his head and at first he let
MacGregor do the talking. Ramona was very friendly, chatting about their time in
London as if they were a couple of holidaymakers who’d just blown into Mayfair.
She wasn’t drinking, but the rest of us ordered a glass of Malbec each. When Wright
lifted his head to laugh at something, I noticed he had a nice smile but uneven teeth,
and a scar that climbed from the top of his nose to the area just above his left
eyebrow. He hadn’t shaved since he’d left Sydney.

Wright told me he was rubbish at small talk. He too wanted what I wrote to be ‘warts
and all’; he felt he was being misunderstood by everybody, and normally that
wouldn’t bother him but he had to consider the respectability of his work, and his
family’s rights. He appeared to ponder this for a moment, then he told me his old
neighbours at the house in Gordon hadn’t been friendly.

‘They barely even knew your name,’ Ramona said.

‘They do now,’ he replied.

I found him easier to talk to than I’d expected. He said his father had worked for the
NSA (he couldn’t explain this), but that, to this day, his mother thinks he worked for
Nasa. ‘The few people I care about I care about a lot,’ he said, ‘and I care about the
state of the world. But there’s not much in between.’ He said he was happy I was
writing about him because he wanted ‘to step into history’, but mainly because he
wanted to tell the story of the brilliant people he had collaborated with. He and
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Ramona were both jet-lagged and anxious about things back home. ‘We should
have been having our company’s Christmas party today,’ Ramona said.

MacGregor asked Wright if being a libertarian had influenced his work, or if the work
had turned him into a libertarian. ‘I was always libertarian,’ he replied, and then he
told me his father had more or less kidnapped him after his parents got divorced. He
hated being told what to do – that was one of his main motivations. He believed in
freedom, and in what freedom would come to mean, and he said his work would
guarantee a future in which privacy was protected. ‘Where we are,’ he said, ‘is a
place where people can be private and part of that privacy is to be someone other
than who they were. Computing will allow you to start again, if you want to. And that
is freedom.’ In fact he never stopped imagining different lives for himself. That
afternoon he seemed preoccupied by the case people were making against his
being Satoshi. He shook his head a lot and said he wished he could just get on in
silence with his work. ‘If you want to stay sane through this, ignore Reddit,’ his wife
told him.

The next day, 17 December, we met again, in a private room in Claridge’s. You
could see outside, over the rooftops, cranes garlanded in fairy lights. Ramona came
in looking tired and totally fed up. From time to time, especially when exhausted,
she would resent the hold these people had over them. ‘We have sold our souls,’
she said to me in a quiet moment.

MacGregor said he would spend the evening preparing paperwork to be signed by
Wright the following day. This would effectively be the final signing over to nCrypt of
the intellectual property held by Wright’s companies. This was the main plank in the
deal. MacGregor was confident the work was ‘world historical’, that it would change
the way we lived. He regularly described the blockchain as the greatest invention
since the internet. He said that what the internet had done for communication, the
blockchain would do for value.
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MacGregor explained that Wright’s Australian companies were being signed over to
nCrypt and that he’d extended an ‘olive branch’ to the ATO, which had responded
quickly and positively. A lot of trouble with the ATO had to do with whether bitcoin
was a commodity or a currency and how it should be taxed. It also had doubts about
whether Wright’s companies had done as much research and development as they
claimed, and whether they were therefore entitled to the tax rebates they had
applied for. The ATO had said it couldn’t see where the spending was going. Some
critics in the media claimed Wright’s companies had been set up only for the
purpose of claiming rebates, though not even the ATO went that far.

Wright told me that thanks to the tax office they’d had to lay out all the research for
their patents, which had been useful since the nCrypt team was in a hurry: the
banks, now alert to cryptocurrencies and the effectiveness of the blockchain, are
rushing to create their own versions. At that moment, Bank of America was
patenting ten ideas for which Craig and his team told me they had a claim to ‘prior
art’. Governments spent a long time denying the value of bitcoin – seeing it as
unstable, or the currency of criminals – but now they celebrate the potential of the
technology behind it.

‘They’re behaving like children,’ Wright said of the ATO.

MacGregor looked at his watch. He straightened his cuffs. ‘I see this as a pivotal
moment in history … It’s like being able to go back in time and watch Bill Gates in
the garage.’ He turned to Wright. ‘You released this thing into the wild. Some people
got it right and some people got it wrong. But you’ve got a vision of where it’s going
next and next and next.’

‘None of this would have worked without bitcoin,’ Wright said, ‘but it’s a wheel and I
want to build a car.’

Ramona looked depressed. She was worried that her husband, as the person
claiming to have invented bitcoin, might be held liable for the actions of those who’d
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used the currency for nefarious purposes. ‘He didn’t issue a currency,’ MacGregor
assured her. ‘This is just technology – it is not money.’ Ramona was still anxious.
‘We’re talking about legal risk … I’m giving you the legal answer,’ MacGregor said. ‘I
would stake my career on the fact that the creation of bitcoin is not a prosecutable
event.’

Right to the end, the Wrights would express worries about things Craig did as a
young computer forensics worker. Much of his professional past looked
questionable, but in the meeting room at Claridge’s he simply batted the past away.
‘It’s what you’re doing now that matters. I’m not perfect. I never will be … All these
different people arguing about what Satoshi should be at the moment, it’s crazy.’

Ninjutsu

Wright’s father, Frederick Page Wright, was a forward scout in Vietnam, serving with
the 8th Battalion of the Australian army. ‘He lost all his friends,’ Wright told me,
‘every single one of them’ – and before long he was drinking and being violent
towards Wright’s mother, who eventually left him. Both Wright and his mother, when
I went to meet her in Brisbane in March, told me about his father’s anger at his own
mother: he sent all his army pay cheques home to her and she spent them while he
was away. He also dreamed of a football career that never happened. ‘I have a chip
on my shoulder,’ Wright said, ‘but his was bigger.’

‘Did you admire him?’

‘He never admired me. I was never fucking good enough. We played chess from
when I was three or four and if I made a wrong move he’d wallop me. We clashed
right from the beginning.’

The boy had two great influences. The first was his grandfather Ronald Lyman, who
his family claims received the first degree awarded by the Marconi School of
Wireless in Australia, and who served in the army as a signals officer. They also say
he later became a spy with the Australian security services. Craig’s favourite place
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was his grandfather’s basement, a paradise of early computing. ‘We’d sit there and
look at these books of log tables,’ he told me. ‘I loved doing it.’ Captain Lyman had
an old terminal and a Hayes 80-103A modem that they used to connect to the
University of Melbourne’s network. To keep Craig quiet while he worked, Pop, as
the children called him, would let him write code. ‘I found this community of
hackers,’ Wright says, ‘and I worked out how to interact with them. I started building
games and hacking other people’s games. In time, I’d be pulling apart hacker code,
and eventually I did this for companies, to help them create defences against
hackers.’

His mother told me he was sometimes picked on at school. ‘He struggled,’ she said,
‘but after a while I sent him to Padua College’ – a private Catholic college in
Brisbane – ‘and he shone there. I mean, he was different. He used to dress up and
he had an obsession with Japanese culture. He had big samurai swords.’

‘As a teenager?’

‘Dressed up in samurai clothes, with the odd wooden shoes and everything. Making
all the noises. His sisters would complain about him embarrassing them: “We’re
down the park, we’ve got friends down there, and he’s walking around with webbed
feet.” He used to have this group of nerdy friends in the 1980s: they’d come around
in horn-rimmed glasses and play Dungeons & Dragons for hours.’

He had a karate teacher called Mas who moved him quickly from karate through
judo to Ninjutsu. Craig broke his knuckles over and over again and ‘became
stronger’, he told me, because ‘the pain led to a “me” that could handle more.’ The
thing that attracted him most to martial arts was the discipline. Learning to become
a ninja involves 18 disciplines, including ​bōjutsu​(tactics), ​hensōjutsu​ (disguise and
impersonation), ​intonjutsu​(escape and concealment) and ​shinobi-iri​ (stealth and
infiltration). He walked home from his lessons feeling stronger, like another self.
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When he was 18, Wright joined the air force. ‘They locked me in a bunker,’ he told
me, ‘and I worked on a bombing system. Smart bombs. We needed fast code, and I
did that.’ When he was in his twenties a melanoma appeared on his back and he
had several skin grafts. ‘This was after he got out of the air force,’ his mother told
me, ‘and when he recovered he was off to university, and it’s been degrees,
degrees, degrees since then.’ He went to the University of Queensland to study
computer systems engineering. And over the following 25 years he would finish, or
not finish, or finish and not do the graduation paperwork for degrees in digital
forensics, nuclear physics, theology, management, network security, international
commercial law and statistics. After our first full interview, he went home to work on
an assignment for a new course he was taking at the University of London, a
masters in quantitative finance.

Over the months I spent with him, I noticed that he loved the idea of heroism and
was strongly attracted to creation myths. One of the first things he emailed me was
a copy of one of his dissertations, ‘Gnarled Roots of a Creation Mythos’. I noticed it
was dedicated to Mas, his martial arts instructor. The text wasn’t merely an
argument for self-invention, but a feminist exegesis that railed against patriarchal
views of the Fall. Wright also speaks of the pilgrim-visitor in the ‘world garden’.
‘While in the garden, the pilgrim almost inevitably suffers deception. His or her
senses, enchanted by illusory and transitory formal appearances, betray his or her
soul and lead to sin.’

Wright said he had never expected the myth of Satoshi to gather such force. ‘We
were all used to using pseudonyms,’ he told me. ‘That’s the cypherpunk way. Now
people want Satoshi to come down from the mountain like a messiah. I am not ​that​.
And we didn’t mean to set up a myth that way.’ Satoshi was loved by bitcoin fans for
making a beautiful thing and then disappearing. They don’t want Satoshi to be
wrong or contradictory, boastful or short-tempered, and they don’t really want him to
be a 45-year-old Australian called Craig.
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While reading Wright’s ideas on creation, I kept thinking of his karate teacher and
the position he had in the young man’s life. An offhand remark Wright made had
stayed with me. It was about storytelling and how a possible meaning of freedom
might reside not only in martial arts, in the ability to defend oneself, but in the ability
to make oneself. Mas ‘taught me a lot of Eastern philosophy and gave me the
means to become myself’, Wright said. One day Mas told him about Tominaga
Nakamoto. ‘He was a Japanese merchant philosopher,’ Wright told me. ‘I read
translations of his stuff, material from the 1740s.’

Weeks later, I was in the kitchen of the house Wright was renting in London drinking
tea with him when I noticed a book on the worktop called ​Visions of Virtue in
Tokugawa Japan.​I’d done some mugging up by then and was keen to nail the name
thing.

‘So that’s where you say you got the Nakamoto part?’ I asked. ‘From the
18th-century iconoclast who criticised all the beliefs of his time?’

‘Yes.’

‘What about Satoshi?’

‘It means “ash”,’ he said. ‘The philosophy of Nakamoto is the neutral central path in
trade. Our current system needs to be burned down and remade. That is what
cryptocurrency does – it is the phoenix …’

‘So ​satoshi​ is the ash from which the phoenix …’

‘Yes. And Ash is also the name of a silly Pokémon character. The guy with Pikachu.’
Wright smiled. ‘In Japan the name of Ash is Satoshi,’ he said.

‘So, basically, you named the father of bitcoin after Pikachu’s chum?’
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‘Yes,’ he said. ‘That’ll annoy the buggery out of a few people.’ This was something
he often said, as if annoying people was an art.

Wright’s generation, now in their mid to late forties, are seeing a world that enlarges
on their teenage kicks. For Wright, as for Jeff Bezos, the rules of how to shop and
how to think and how to live are extrapolations of dreams they had sitting in a box
room somewhere. ‘The person who experiences greatness must have a feeling for
the myth he is in,’ Frank Herbert wrote in​Dune​, Wright’s favourite novel as a
teenager. ‘​Dune​ was really about people,’ Wright told me. ‘It was about the idea that
we don’t want to leave things to machines and [should instead] develop as humans.
But I see things a little differently from Mr Herbert. I see that it’s not one or the other
– man or machines – it’s a symbiosis and a way of becoming something different
together.’ This kind of cyberpunk energy – as opposed to cypherpunk, which came
later – delivered Wright’s generation of would-be computer scientists into the
brightness of the future.​

After getting his first degree, Wright settled into IT roles in a number of companies.
He became a well-known ‘go-to guy’ among startups and security firms: he always
solved the problem and they always came back for more. ‘When I’ve characterised
Craig to colleagues and friends,’ Rob Jenkins, who worked with Wright in this period
and now holds a senior position in Australia’s Westpac Bank, told me, ‘I’ve always
described him as the most qualified person I’ve ever known. I’ve worked with other
smart people but Craig has such a strong desire to pursue knowledge. He has
passion. And bitcoin was just another one of those bright things he was talking
about.’

‘Sketch it out for me,’ I said to Wright. ‘Those years before bitcoin. What was
happening that would later have an influence? I want to know about all the
precursors, all the previous attempts to solve the problem.’

‘Back in 1997 there was Tim May’s BlackNet …’ May was a crypto-anarchist, who
had been operating and agitating in the cypherpunk community since the
mid-1980s. ‘Computer technology is on the verge of providing the ability for
individuals and groups to communicate and interact with each other in a totally
anonymous manner,’ he wrote in the ​Crypto-Anarchist Manifesto in 1988​. BlackNet
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operated like a precursor to WikiLeaks, soliciting secret information with payments
made by untraceable, digital money.

‘We all have a narcissistic hubris,’ Wright told me. He wanted to take May’s
BlackNet idea further. He was also enthusiastic, in those early days, about
Hashcash and B-money. The idea behind Hashcash, a ‘proof of work’ algorithm
where each of a group of computers performs a small task that can be instantly
verified (thus making life impossible for spammers, who depend on multiple emails
going out with little to no work involved), was ‘totally necessary for the building of
bitcoin’.​ ​ Wright said that he spoke to Adam Back, who proposed Hashcash in
1997, ‘a few times in 2008, whilst setting up the first trials of the bitcoin protocol’.

B-Money was invented by a man called Wei Dai. At the time of its creation, Wei
wrote a paper which assumed ‘the existence of an untraceable network, where
senders and receivers are identified only by digital pseudonyms (public keys) and
every message is signed by its sender and encrypted to its receiver.’ The public
key, or address, is matched, as John Lanchester handily described it in the ​LRB​, to
‘a private key which provides access to that address’. A key is really just a string of
numbers and digits: the public key demonstrates ownership of any given address;
the private key can only be used by the owner of that address. Wei went on to
suggest a system for the exchange and transfer of money. ‘Anyone can create
money by broadcasting the solution to a previously unsolved computational
problem,’ he wrote. The system had methods for rewarding work and keeping users
honest. ‘I admired B-Money,’ Wright told me, ‘and he definitely gave me some of the
cryptographic code that ended up in the first version of bitcoin.’ Wright was always
careful to give credit to those early developers. ‘Wei was very helpful,’ he went on,
but ‘to people like that bitcoin seems a bit of a fudge. It works, but it’s not
mathematically elegant.’

‘Wei said that?’

‘Wei was very polite. But others said it: Adam Back, Nick Szabo. They would
probably like to find a more elegant solution to the problem. Perhaps they see the
mining system in bitcoin as wasteful: there’s wasted computation in my system –
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machines which are trying to solve problems and not winning. But that’s like
society.’

‘Are these early cryptocurrency people in a state of rivalry?’

‘Yes, but it doesn’t matter.’

Kleiman

The flat in Marylebone where I interviewed Wright had wooden shutters and modern
ornaments and pictures, mainly of crows. I set the flat up for work while Craig and
Ramona were in the City signing over his intellectual property, and all his
companies, to MacGregor. They arrived at the flat a couple of hours late. ‘When did
you realise the whole Satoshi thing wasn’t going to be a secret for ever?’ I asked.

‘Very recently,’ Wright said. ‘I didn’t really believe it would need to come out. What
we believed is that we could leave it in doubt – we wouldn’t have to sign using the
Satoshi keys or anything else. We have hundreds of patents and papers in progress
– research from the beginning – and in the next year we’re going to start releasing
them. We thought people could suspect and people could query and we could leave
it like that.’

‘And how did that change?’

Ramona said a single word: ‘Rob.’

The days in St Christopher Place were almost languorous. We would bring coffee
back to the flat and spread out, and I’d try to build a picture of how he did what he
said he did. We put up whiteboards and he bamboozled me with maths. Sometimes
he would write at the board for hours, then tear open books and point to theories
and proofs. I talked to the scientists he worked with, many of whom were better
explainers than he was. One of the things I noticed was that Wright hated claiming
outright to be Satoshi and would spend hours giving credit to everyone who had
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ever contributed. It was odd: we were in the room because he was coming out as
Satoshi, yet the claim embarrassed him and I have many hours of tape in which he
deflects it. I felt this unwillingness supported his claim because it showed a proper
regard for the communal nature of the work. He was contradictory enough
sometimes to enjoy the limelight and actively court it, and this would cause trouble
for him, but the idea of speaking directly as Satoshi seemed to fill him with dread.
‘I’m afraid that they’re just going to look at my papers because I’ve got Satoshi after
my name,’ he told me. ‘I’ve got my little Satoshi mask on, and people go “Aren’t you
wonderful?” because you were Satoshi. I wanted the doubt. When I released future
papers, I wanted people to go: “Oh, fuck, he could be, and these papers are so
good he might be.”’

Dave Kleiman was to become the most important person in Wright’s professional
life, the man he says helped him do Satoshi’s work. They met online: they visited
the same cryptography forums and had interacted since 2003. Both men were
interested in cyber security, digital forensics and the future of money, but Kleiman
was a boy’s boy, an army veteran who loved contact sports and fast living. Five foot
ten and weighing 200 pounds, he lived in Riviera Beach, Florida, and from 1986 to
1990 he was an army helicopter technician. When I looked into Kleiman’s life, I
discovered he had also done computer forensics work for Homeland Security and
the army. After active service he became a deputy in the Palm Beach County
sheriff’s office. A motorcycle crash in 1995, when he was 28, left him in a
wheelchair. Kleiman was a drug user and one source told me he was heavily into
online gambling and various illicit activities; there is evidence he was associated
with Silk Road, the online marketplace for all things illegal. After the accident he
devoted himself to computers, and set up a company called Computer Forensics
LLC.

Until Napster (the brainchild of a teenager called Shawn Fanning) came along in
1999, enabling users to share music files across the internet without a central
server, the phrase ‘peer-to-peer sharing’ was familiar only to the early internet’s true
believers.​ ​ Napster, with its user-friendly interface, brought file-sharing to the
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masses. The old model of copyright and revenue generation became obsolete
overnight: people stopped buying CDs; young people got music through the internet
for free. The music industry had to reinvent itself or die. Wright told me that his
earliest conversations with Kleiman were about file-sharing. In 2007 they wrote a
study guide together on hacking. ‘I used to fire ideas off him,’ Wright said. ‘I’m pretty
good at maths but I’m not very good at people.’ Kleiman, he said, could put up with
his temper, which not everybody could. They began to speak of ways to use the
Napster idea in other areas and solve some old problems in cryptography. Wright
never, I have to say, made it fully clear how they had collaborated on building
bitcoin. I kept returning to the subject, and my doubts would flare up when he failed
to be explicit.

‘Give me a sense of how the idea of Satoshi formed,’ I said.

‘I guess,’ Wright replied, ‘the initial idea was having a pseudonymous head that
wouldn’t be cut off.’

‘More your idea than his?’

‘Probably mine.’

‘And was there a point you realised you needed a figurehead?’ I asked.

‘We needed people to respond to us,’ he said. ‘But I didn’t really want people to
respond to me. There are a couple of reasons for that. I don’t think I would really
have sold the idea to anyone. If I’d come out originally as Satoshi without Dave, I
don’t think it would have gone anywhere. I’ve had too many conversations with
people who get annoyed because it’s me.’

‘The blockchain came about as an idea of a ledger,’ he said. ‘But there were a
number of problems that needed to be solved. It needed to be distributed, but how
do you make sure people don’t collude – it may seem awful but you don’t put trust in
people, you incentivise people to act. And you incentivise people to act by giving
them the opportunity to earn something. It’s as Adam Smith says: it’s not through
the goodness of the heart, it’s not the baker caring about you, it’s not the butcher
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caring about you, it’s them caring about their own families. Together, as he put it,
the invisible hand controls the way society works.’

I asked him to explain the distributed ledger in layman’s terms and he went into an
algorithmic paroxysm of verbal ingenuity. Ignoring all that, a distributed ledger is a
database that is shared between multiple users, with every contributor to the
network having their own identical copy of the database. Any and all additions or
alterations to the ledger are mirrored in every copy as soon as they’re made. No
central authority is in charge of it, but no entry on it can be disputed. Adam Smith’s
point about ‘incentive’ is embedded in the way bitcoin works: people do not just buy
coins or use them; they ‘mine’ them. Miners use their computers to solve
increasingly difficult mathematical problems, the reward for the solving of which can
be paid in bitcoin. This keeps the currency honest and, ideally, stops it from being
dominated by any single entity.

I had brought rolls of disposable whiteboard and stuck it up around the flat, and,
while we were speaking, he would jump up and cover the walls in formulae, along
with arrows, arcs and curves. His wife told me she sometimes goes into the shower
room and finds him standing there, stark naked, writing on the steamed glass. ‘Was
there a primary person doing the maths?’ I asked.

‘Me,’ he said. ‘Dave wasn’t really a mathematician. What he did was make me
simplify it.’

‘How did he know how to make you simplify it?’

‘We got to a point in the writing of the Satoshi white paper where it was … People
say that it was hard.’

‘He wanted you to bring the language down a little bit?’

‘A lot. It’s very simple. The elliptical curve stuff is not described in the paper at all,
it’s just there. The crypto stuff isn’t described either.’ I asked him to show me the
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trail of ideas that led to their collaboration. ‘So all these things are there,’ he said,
pointing to a 337-page thesis on his computer called ‘The Quantification of
Information Systems Risk’, which he had recently submitted in partial fulfilment of a
philosophy doctorate at Charles Sturt University. ‘Application to audits, how you
analyse failures, deriving the mathematics behind it, simplifying the mathematics
and there you go … The core of the bitcoin paper is a Poisson model based on
binomial distribution. That’s how it got solved.’

In 2008 it was a ‘hodgepodge’, he said. I asked him if he felt the development of
bitcoin was, at some level, a response to the financial crisis. ‘It was already in
process. I saw [the crisis] coming though. It was a kind of perfect storm. During that
year, I spoke to Wei Dai. So between him and Hal Finney there were a lot of really
good ideas about making money work … [Finney] was the one who actually took
what I said seriously. He received the first bitcoin.’

Craig started turning up to our interviews in a three-piece suit. His suits were
unfashionable and his ties even more so – 1970s-style yellow, sometimes paisley –
and he would ramble on a range of subjects. On his own subject, he could be
brilliant, but he was wayward: he would side-track, miss the point and never come
back to it. He was nothing like people imagine the mythical Satoshi to be – in fact,
he was Satoshi’s comic opposite. He told stories against himself that weren’t really
against himself. He was obsessed with his opponents’ views but had no skill at
providing a straight answer to their questions. ‘I’m an arsehole,’ he said many times,
as if saying so were a major concession. But he wasn’t really, he was actually pretty
nice. He was arrogant about maths and computing, which wasn’t so surprising. He
also had a habit of dissembling, of now and then lying about small things in a way
that cast shade on larger things. At one point, I asked him to send me an email from
the original Satoshi account.

‘Can you do that?’ I asked.
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‘Yes,’ he said. ‘But I’d need Rob’s permission.’ When I asked MacGregor he said
that was absurd. He simply didn’t want to – or couldn’t – give too much away, and
that was unfortunate in someone who’d agreed to sit down every day with a writer.
He seemed to have full knowledge of that email account, in a way that made it seem
unquestionably his. But somehow, it offended his sense of personal power to prove
it. At first, I thought he was a man in existential crisis, like the hero of Bellow’s
Dangling Man​, brilliant but antisocial, waiting to be drafted. But as the months
passed I began to think of him more as a Russian ‘superfluous’ man of the 1850s, a
romantic hero out of Turgenev, constantly held back from self-realisation by some
blinding secret, showing himself not by action but in speech. Wright talked all day
and he scribbled on the board and he called me his friend. He cried and he shouted
and he unloaded his childhood and spoke about his father. He claimed to be
Satoshi and he spoke Satoshi’s thoughts and described what he did and gave an
account of what people misunderstood about his invention and where bitcoin
needed to go now. I moved to an office in Piccadilly – it was like something out of
John le Carré, all those rooftops and fluttering Union Jacks – and we continued to
do interviews. He talked without cease, without direction, and continued to find it
difficult to land near the spot where my question was marked on the ground. When I
asked to see the emails between him and Kleiman, he shrugged. He said he wasn’t
getting on well with his first wife when he wrote them and I assumed that meant they
were full of talk about her. ‘Just edit them down for me,’ I said.

‘I don’t know if I can find them,’ he said. But I wouldn’t let it go and eventually he
sent me a selection and they certainly seem to be authentic. A few of the emails
were obviously the same as those quoted in the ​Wired​ and ​Gizmodo​ stories before
Christmas. Wright always said these stories had been provoked by a ‘leak’, the work
of a disgruntled employee of his who had stolen a hard drive. In any case, the
emails he sent me show a pair of men with shadowy habits – socially
undernourished men, I’d say, with a high degree of intellectual ability – operating in
a world where the line between inventing and scamming is not always clear. The
first email Wright sent me was from 27 November 2007, when he was working for
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the Sydney accountancy firm BDO Kendalls and the two men were working on a
paper on ‘Cookies in Internet Banking’. ‘Next year Dave, we come out with
something big. I will tell you, but not now,’ he wrote to Kleiman on 22 December
2007. Kleiman’s reply told him what he was reading – ‘Sagan, Feynman, Einstein’ –
and added: ‘I hope we make an event together this year so we can “break some
bread” and have a casual conversation, instead of the brain dump middle of the
night email exchanges we normally have.’ On 1 January 2008, Wright closed an
email: ‘Nothing now, but I want your help on something big soon.’

The subject of bitcoin came up – quite starkly – in an email from Wright dated 12
March 2008. ‘I need your help editing a paper I am going to release later this year. I
have been working on a new form of electronic money. Bit cash, bitcoin … you are
always there for me Dave. I want you to be part of it all. I cannot release it as me.
GMX, vistomail and Tor. I need your help and I need a version of me to make this
work that is better than me.’ Wright told me that he did the coding and that Kleiman
helped him to write the white paper and make the language ‘serene’. With a protocol
as clever as the one underlying bitcoin, you would imagine the work was complex
and endlessly discussed. But Wright says they mainly talked about it by direct
message and by phone. Wright had been fired from his job at BDO (the crash was
taking effect) and had retired with his then wife, Lynn, and many computers to a
farm in Port Macquarie. It was there, Wright says, that he did the majority of the
work on bitcoin and where he spoke to Kleiman most regularly. The Satoshi white
paper, ‘Bitcoin: A Peer-to-Peer Electronic Cash System’, was published on a
cryptography mailing list on 31 October 2008.

On 27 December 2008, Wright wrote to Kleiman: ‘My wife will not be happy, but I
am not going back to work. I need time to get my idea going … The presentation
was good and the paper is out. I am already getting shit from people and attacks on
what we did. The bloody bastards are wrong and I friken showed it, they should
stick to the science and piss off with their politicised crap. I need your help. You
edited my paper and now I need to have you aid me build this idea.’ Wright told me
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that it took several attempts to get the protocol up and running. He began to test it
early in January 2009. ‘That was where the real money started rolling in,’ he told
me. The originating block in the blockchain – the file that provably records every
transaction ever made – is called the Genesis block. ‘There were actually a few
versions of the Genesis block,’ Wright told me. ‘It fucked up a few times and we
reviewed it a few times. The Genesis block is the one that didn’t crash.’ There from
the beginning was Hal Finney, who would receive the first bitcoin transaction, on
block 9. This was a key moment for the new cryptocurrency: block 9 for ever shows
that Satoshi sent Finney ten bitcoin on 12 January 2009 – it is the first outgoing
transaction we know to have come from Satoshi. Satoshi also sent four other
transactions on the same day. I asked Wright who the recipients were – who the
four addresses belonged to. ‘Hal, Dave, myself,’ he replied. ‘And another I cannot
name as I have no right to do so.’ Wright told me that around this time he was in
correspondence with Wei Dai, with Gavin Andresen, who would go on to lead the
development of bitcoin, and Mike Hearn, a Google engineer who had ideas about
the direction bitcoin should take. Yet when I asked for copies of the emails between
Satoshi and these men he said they had been wiped when he was running from the
ATO. It seemed odd, and still does, that some emails were lost while others were
not. I think he believed it would be more interesting to play hide and seek than to be
a man with a knowable past.

Wright’s emails to Kleiman suggest that by this point he was starting to mine the
million or so bitcoins that are said to be owned by Satoshi Nakamoto. ‘I have a few
potential clients in gaming and banking,’ he wrote to Kleiman. ‘I figure I can work ten
to 15 hours a week and pretend to have a consultancy and use this to build and buy
the machines I need. If I automate the code and monitoring, I can double the
productivity and still offer more than others are doing … The racks are in place in
Bagnoo and Lisarow. I figure we can have 100 cores a month setup and get to
around 500.’ Kleiman replied the same day to affirm their vows.
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‘Craig, you always know I am there for you. You changed the paradigm that was
held for over a decade and destroyed the work of a couple [​sic​] academics. Do you
really think they will just take this happily? I know you will not, but try not to take the
comments to heart. Let the paper speak for itself. Next time you need to get me a
copy of the conference proceedings as well. You know it is not easy for me to
travel.’ A picture emerges of an ailing Kleiman sitting at his computer day and night
in his small ranch-style house in Riviera Beach, Florida. After writing this last email,
he spent a frighteningly long period in hospital. The two men agreed to meet up at a
conference in Florida on 11 March 2009 and Kleiman wrote expressing his
excitement at the prospect of a few beers with Wright. Craig and Lynn stayed at
Disney’s Coronado Springs Resort Hotel and Kleiman drove there in his customised
van, rolling into the bar with a big smile: Kleiman was the brother and drinking
buddy and like-minded computer nerd Wright had never had. Not even Lynn had a
clue what they were talking about.

During my visit to Australia I met Lynn in Chatswood, on Sydney’s north shore, a
busy commercial district that heaves with eager shoppers on a Saturday morning.
She had met Wright on the internet while she was working as the nursing manager
of the ICU in a military hospital in Ottawa. She told me Wright asked her to marry
him about six weeks after they met online. When she eventually went to Sydney to
visit him, he brought a ring to the airport. ‘He was 26 and I was 44,’ she said.
Neither of them had been married before.

‘He was very mature for 26,’ Lynn told me. ‘He always has to be the best. And the
hard part about that is he left bodies by the wayside. He stepped on people.’ She
began working for him – ‘he was the geek and I was the gofer’ – and he got a lot of
work in information security, working for the Australian Securities Exchange, and
Centrebet, which is where he first got to know Stefan Matthews. Wright told me he
was afraid some of the things he did for those online betting companies would come
back to bite him, if and when he was outed as Satoshi. Other sources told me that
he and Kleiman had had some involvement with illegal gambling. ‘I knew Dave
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Kleiman and he were working together,’ Lynn told me, ‘and I remember them saying
that digital money was the way of the future. I’ve never said this to anybody, but I
knew he was working on it and I didn’t ask, because I knew he would bite my head
off if I didn’t understand it. He’s got a very sociopathic personality.’

Lynn said her husband had admired Kleiman. And she admired him too: ‘He loved
life,’ she said, ‘and he had a brilliant mind, like Craig, but he had a gentler soul.’ She
remembered the Orlando conference. ‘We stayed in a hotel that looked like a giant
cartoon,’ she told me. ‘We met in one of the bars. He was a young guy, in his thirties
or early forties, brown hair and moustache, average-looking. And boy, he loved to
have a good time. It might have been his birthday. I went into the Disney store and
bought some hats – Craig had Pluto, and Dave had one in the shape of a giant
birthday cake.’ Wright stepped out of himself for Kleiman: ‘I’d never seen him like
that with anybody. It was like, “I wanna grow up to be just like him.” Dave softened
Craig. A lot of what they wrote together was in his voice. I’d never seen Craig react
like that to anybody. When he felt unsure of himself he went and talked to Dave. I
think he wanted to be like Dave, but he knew he couldn’t be.’

‘In terms of having that kind of temperament?’

‘Yeah. Dave was good for him. It made him realise that life doesn’t go your way all
of the time.’

I asked her if she thought he was a flawed person. ‘Yes,’ she said. ‘He’s starting to
realise it. He knows he’s done well in his work but he hasn’t done well as a human
being.’ She stared into her cup. ‘When we were at the farm,’ she said, ‘I was
interested in finding four-leaf clovers. I would never find any, but Craig would just
step out of the house and find three.’

In mid-2011 Satoshi suddenly disappeared from view. Apart from one or two emails
denouncing fake Satoshis, he wasn’t heard from again. Control of the network alert
key is said to have been passed at this time to Andresen – possession of this key
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makes its holder the closest thing bitcoin has to a chief. Wright sent Kleiman an
email on 10 September 2011: ‘It is recorded. I cannot do the Satoshi bit any more.
They no longer listen. I am better as a myth. Back to my lectures and rants that
everyone ignores as me. I hate this Dave, my pseudonym is more popular than I
can ever hope to be.’

For some reason – possibly fear of the ATO – Wright set up a trust fund called the
Tulip Trust in June 2011, and asked Kleiman to sign an agreement stating that he,
Kleiman, would hold 1,100,111 bitcoin (then valued at £100,000, currently worth
around $800 million). For clarity: there is no evidence that Kleiman ever took
custody of that amount. However, there was a separate agreement that Kleiman
would receive 350,000 bitcoin and this transaction was made. ‘All bitcoin will be
returned to Dr right on 1 January 2020,’ it says in the trust document.

 No record of this arrangement will be made public at any time … Dr Wright MAY request
 a loan of bitcoin for the following reasons (and no others): Furthering research into peer
 to peer systems … commercial activities that enhance the value and position of bitcoin. In
 all events, all transactions in loaned funds will be concluded outside of Australia and the
 USA until and unless a clear and acceptable path to the recognition of bitcoin as currency
 has occurred … I lastly acknowledge that I will not divulge the identity of the Key with ID
 C941FE6D nor of the origins of the satoshin@gmx.com email.

Kleiman signed it. ‘I think you are mad and this is risky,’ he wrote in an email to
Wright on 24 June 2011, perhaps spying a possible illegality. ‘But I believe in what
we are trying to do.’ Wright meanwhile seemed to get more and more frustrated. He
both wanted fame and repudiated it, craving the recognition he felt was his due
while claiming his only wish was to get back to his desk. ‘I have people who love my
secret identity and hate me,’ he wrote to Kleiman on 23 October that year. ‘I have
hundreds of papers. Satoshi has one. Nothing, just one bloody paper and I cannot
associate myself with ME! I am tired of all these dicks Dave. Tired of academic
attacks. Tired of tax fuckwits. Tired of having to do shenanigans like moving stuff
overseas IN CASE it works.’
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I came to feel that there were secrets between Wright and Kleiman that might never
be revealed. Wright usually clammed up when asked about Kleiman and money.
One day, in a fit of high spirits, he showed me a piece of software he said that US
Homeland Security had ripped off from him and Kleiman. He smiled when I asked if
they’d done government security work. The first thing most people ask about when
you mention Satoshi is his alleged hoard of bitcoin: he invented the thing, and
created the Genesis block, and mined bitcoin from the start, so where was Wright’s
money and where was Kleiman’s? The emails, when I got them, seemed to clear
this up slightly, but, during many dozens of hours of conversation with Wright, he
never properly told me how many bitcoin he mined. I was aware – and he knew I
was aware, because I told him several times – that he wasn’t giving me a full
account of everything that had occurred between him and Kleiman. He said it was
complicated.

Somewhat more helpful are minutes taken during a meeting between the ATO and
representatives from Wright’s Australian companies in Sydney on 26 February
2014. According to the minutes, Wright’s representative John Cheshire went into
detail about the financial collaboration between Wright and Kleiman. This was a
story that Wright, for some reason, didn’t want to tell me. Cheshire said that Wright
and Kleiman had set up a company called W&K Info Defense LLC (W&K), ‘an entity
created for the purpose of mining bitcoins’. Some of these bitcoins were put into a
Seychelles trust and some into one in Singapore. Wright, according to Cheshire,
‘had gotten approximately 1.1 million bitcoins. There was a point in time when he
had around 10 per cent of all the bitcoins out there. Mr Kleiman would have had a
similar amount.’

I asked Wright about this and he told me it was true that his and Kleiman’s mining
activity had led to a complicated trust. The trust question was persistently vague:
not only how many trusts but the names of the trustees, and the dates of their
formation. The only consistent thing is the amount of bitcoin Wright is said to have
had at one time, 1.1 million. He said that his bitcoin could not now be moved without
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seemed to be. Just after 6 p.m. on 27 April 2013 he was found dead by a friend
who’d been trying to contact him for several days. He was sitting in his wheelchair
and leaning to the left with his head resting on his hand. Lying next to him on the
bed was a 0.45 calibre semi-automatic handgun, a bottle of whisky and a loaded
magazine of bullets. In the mattress a few feet from where he sat, a bullet hole was
found, but Kleiman had died from coronary heart disease. There were prescription
medicines in his bloodstream and a modest amount of cocaine.

‘We never really thought that “we made Satoshi,”’ Wright told me once. ‘It was good.
It was done. It was cool. But I don’t think we realised how big it would be.’

‘There was no conversation between you about how it was going over? That
Satoshi was becoming a guru?’

‘We thought it was funny.’

Wright paused, shook his head, and broke down. ‘I loved Dave,’ he said. ‘I would
have seen him more. I would have talked to him more. I would’ve made sure he had
some fucking money to go to a decent hospital. I don’t think he had the right to
choose not to tell me.’

‘What was happening to him?’

‘Neither of us had any money, physical money. We had money in Liberty, an
exchange in Costa Rica, but the Americans closed it down as a money-laundering
operation. Dave had a number of bitcoins on the hard drive he carried with him.
Probably about 350,000.’

‘Hoping it would …’

‘As I said, it wasn’t worth that much then. Dave died a week before the value went
up by 25 times.’ Wright kept wiping his eyes and shaking his head. He emphasised
something he said the commentators never understood: for a long time, bitcoin
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wasn’t worth anything, and they constantly needed money to keep the whole
operation going. They feared that dumping their bitcoin hoard would have flooded
the market and devalued the currency. One of the things Wright and Kleiman had in
common is that they had a problem turning their ideas into cash and were always
being chased by creditors. Kleiman died feeling like a failure. No one in his family
has the passwords to release the bitcoins on his computer. After he died, his family
didn’t open probate on his estate because they believed it had no value. Kleiman’s
supposed personal bitcoin holdings are worth $260 million at today’s prices.

The London Office

In January this year, on a rainy London afternoon, Wright took me to see the large
office that was being set up for him as part of the deal with nCrypt. It hadn’t taken
long for the world to forget that they’d once thought Wright was Satoshi. One or two
of the media organisations that had ‘outed’ him in December had taken down the
original articles from their websites, stung by the cries of fraud. After only a few
days’ interest in the notion, most people had made up their minds that Wright had
nothing to do with Satoshi. Wright – under strict advisement – had said nothing in
response to the media reports accusing him of perpetrating a hoax, but when we
were alone, which was most of the time, he would launch into point-by-point
rebuttals of what his critics had been saying. In the end he would shrug, as if the
most obscure things were actually obvious.

The press coverage of Wright and Wright himself had something in common: they
succeeded in making him seem less plausible than he actually was, and, to me, that
is a general truth about computer geeks. They are content to know what they know
and not to explain it. They will answer a straightforward slur with an algorithm, or fail
to claim credit for something big then spend all night trying to claim credit for
something small. Many of the accusations of lying that were thrown at Wright last
December were thrown by other coders. And that’s what they’re like – see Reddit,
or any of the bitcoin forums. Much of what these people do they do in the dark,
beyond scrutiny, and, just as it’s against their nature to incriminate themselves, it is
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equally unnatural for them, even under pressure, to de-incriminate themselves.
They just shrug.

Coders call one another liars, when all they really mean is that they disagree about
how software should work. During the time I was working with Wright in secret, I
would text my colleague John Lanchester, who I knew I could trust to keep the
secret but also to understand what was at stake in the story. ‘Imagine a situation,’ I
wrote to John, ‘where novelists were strangely invested in denying the plausibility of
each other’s books. There’s no “proof” as such that one is right and the other is
wrong, but they could argue fiercely and accuse each other of all sorts of things
while not really settling the problem.’

‘Edmund Wilson says somewhere that the reason poets dislike each other’s books
is because they seem wrong, false – a kind of lie,’ John replied. ‘If you were telling
the truth you would be writing the same poems as me.’

So the world that Wright knew best thought he was a liar. And the day we visited his
new offices he seemed resigned to the fact. Much later, he told me that these
months were the high-point of his career in computer science: he was working in
secret on material that seemed to be coming together beautifully and profitably. It
irked him that people called him a fraud and it irked him, just as much, that his deal
with nCrypt would require him to prove that he was Satoshi. He hated being
accused of being a fraud ​and​ he hated having to prove that he wasn’t a fraud.
Having it both ways is a life, a life that requires a certain courage as well as
shamelessness, and Wright was living his double life to the hilt.

Wright introduced me to Allan Pedersen, who’d been his project manager in
Sydney. We were in the Workshop – a floor above MacGregor’s office near Oxford
Circus – standing at a glass workbench beside a whiteboard covered in writing. The
opposite wall was stencilled with a quote from Henry Ford: ‘Whether you think you
can or think you can’t, you are right.’ Pedersen told me he had been brought over to
direct a group preparing an initial batch of 32 patent applications, to be completed
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by April. (This was in January.) Beyond that there were ‘upwards of four hundred
patents’, ideas to do with using the blockchain to set up contracts that would come
into action on specified dates years ahead, or using the blockchain to allow cars to
tell their owners when they needed petrol and to debit the cost when they refuelled.
At this point, and for several minutes afterwards, Wright spoke of himself in the third
person. ‘Craig has been given a big kick up the bum,’ he said, ‘because Craig,
instead of doing tons of research and sticking it on a shelf, has to complete it and
turn it into something.’

‘How do you organise him?’ I asked Pedersen.

‘I’m the organised type,’ he said. ‘When Craig comes into the office he’s always in
the middle of a sentence. And I’m trying to work out what this sentence is and
manage things around what he’s saying. I’m sort of grounding his latest thoughts,
placing them in what we’re trying to do. I’m the glue between Craig and the
developers.’

It had become obvious, mainly from things Wright himself had said, that he often
found it difficult to get on with people who worked for him. He got rattled when they
said things couldn’t be done, or were too conventional in their thinking, or too stupid,
as he saw it. Ramona told me that 40 per cent of his staff in Sydney had been in a
state of rebellion. ‘I’m an arsehole,’ Craig said to me once again, ‘and I know that.’
Pedersen had the job of keeping things cool with the developers, whose job it was
to turn Wright’s ideas into a form in which they could be patented and eventually
licensed. ‘I’m making sure the ideas get executed,’ he said. ‘Craig’s not that
interested in that part. He’s always moving on.’

‘Craig’s great at research,’ Wright said, ‘but his development and commercialisation
sucks. I build it, and then it works, and then I walk off.’

‘You’re losing interest?’
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‘I’ve lost interest. I’ve proved it, and off I go.’

‘It’s getting easier,’ Pedersen said, with a smile. ‘It was quite complex in the
beginning.’ Wright had strong views about how the technology should develop, and
how it could ‘scale’ to meet greater demand. ‘It can go to any size,’ Wright said that
day. I’ve tested up to 340 gigabyte blocks, which is hundreds of thousands of times
greater than it is now. It’s every stock exchange, it’s every registry rolled into one …
Ultimately bitcoin is a 1980s program, because that’s what I was trained in … The
idea is good, the code is robust, it runs and does the job, but it’s slow and
cumbersome. There were some things early on that needed to be fixed and were,
but it wasn’t as perfect as everyone thinks. At the end of the day, it needs to be
turned into professional code. It needs to move away from the home user network
and into a server network environment. And then it can do much more and be
faster.’ There are those who feel it should remain small, and that making it bigger is
a betrayal of its first principles.

‘This is the future of the blockchain,’ Pedersen said.

‘People are saying, “It’s not really something we can run yet,”’ Wright said, ‘but it’s
time that we grew up and that bitcoin becomes professional.’

Pedersen shook his head. ‘We’re not working in a world where we know exactly
what we’re doing,’ he said. ‘It’s coming from Craig. And then I start establishing the
ground rules and we begin rolling it out. I’m putting people on a certain track and I
keep going back to Craig, saying, “We need to sort this or that out,” and I’m
constantly keeping them and him in the loop. The good thing about Craig is that he
wants me to task him, so it’s a very strange relationship we’ve got. I’m reporting to
him but I’m tasking him at the same time and it seems to work beautifully.’ He was
tired, and so was the whole team, but they felt confident the patent applications
would be filed on time.
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When Craig left the room to take a phone call, Pedersen took pains to close the
door properly. ‘He’s a really nice person,’ he said, ‘but he’s a fucking nightmare.
Every single morning he comes in and I think, “What is he talking about?”’ Pedersen
told me how he handled him, how he made him focus, and how he worked hard to
keep him on track. ‘When I’ve got new people here,’ he said, and there were many
new people, ‘I have to train them how to talk to Craig. That’s what I have to do.
Sometimes, he can’t explain things and this is where the anger comes from. It’s the
interesting part. You can’t be in the same room with him. He’s constantly telling you
something. He’s like Steve Jobs, you know – only worse.’

As we made our way to the new office – it was a building site that day, but would be
up and running four weeks later – Wright presented himself as a man who was
ready for anything. In a pinstripe suit and ruby tie, he looked like a hellbent 1980s
bond dealer, except the cypherpunk glint in the eye suggested he was getting away
with something. He wasn’t the king of all he surveyed, he was the joker, and,
crossing Oxford Street, he joked that he might be Moses. The traffic parted and he
made his way to the promised land, a brand new suite of offices down a side street.

                                            *

Pedersen had come along. ‘This is how it works in this company,’ he said. ‘You’re
sitting in Vancouver in October’ – Vancouver is where nTrust, the parent company,
is based – ‘and suddenly Rob MacGregor says: “We need these thirty-odd patents
by April and when can you go to London?”’ The hurry for the patents was to help
with the giant sale to Google or whomever. The men behind the deal were very
keen to beat other blockchain developers to the punch, especially the R3
consortium of banks and financial institutions which late last year started spending a
fortune trying to deploy the technology. We were accompanied by a young Irish
woman who had been put in charge of designing the new office. MacGregor’s firm
had invested millions in Wright. The new company, nCrypt, had pretty much been
built around him, and its offices showed it. He was to have the enormous corner
office with a view all the way along Oxford Street. MacGregor clearly believed in
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Wright, however obnoxious he could be, but I never understood why he wasn’t
interrogating his uncertainties before spending his money. He was a lawyer, but he
put trust in front of diligence, which is unusual in someone so intelligent. MacGregor
never, incidentally, used the words ‘off the record’ with me – only once, later on, did
he imply it, when he said something and then said he’d deny saying it if I quoted him
– and he was a generous source of information. At no point, however, did he tell me
where the money for this project was coming from.

The designer was waving a colour swatch. ‘We’ve gone for a kind of Scandi look,’
she said.

‘This place will work,’ Wright said, striding through the open space, ‘mainly when it
comes to protecting me from myself.’ Amid the hammering and drilling, Wright stood
in an office about 20 feet by 20 feet, with floor to ceiling windows and a view down
into the heart of Soho.

‘You remember J.R. Ewing in ​Dallas​?’ I asked.

Wright laughed. What he most enjoyed, he said, was that all this was going on in
secret while the world outside had written him off as a mug and a fantasist. ‘If
Satoshi has to come out, he’ll come out in style.’ He turned back to the designer to
tell her how the frosted glass should work in the meeting room. ‘We do a lot of work
on whiteboards,’ he said. He pursed his lips, then smiled. ‘Will the interactive
whiteboards be set up so that I can contact the guys in Sydney?’

We spent an hour at the new office. ‘And they say ​nothing is going on​,’ Wright said
as we stepped back into the elevator. ‘It’s all a ​figment of our imagination​. I’m not
Satoshi, and none of this is real.’ Out on the street again, he told me he had all the
money he would ever need. ‘And I’ll have the monkeys off my back for ever and just
get on with the one thing I’m good at, not business, not managing people, but doing
research and honouring this thing we made.’ Wright was enjoying himself, but
nCrypt was already, as MacGregor told me repeatedly, negotiating the sale of the
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whole package to the highest bidder: ‘Buy in, sell out, make some zeroes,’ as he
had said, and he’d always been honest about that goal. Wright wasn’t facing up to
this. The next time I visited his corner office it was finished and decked out with
claret-red leather armchairs and sofas flown in from Sydney. It looked, as I’d joked
earlier, like the office of a Texan oil magnate. A host of management certificates
were framed on the wall next to a signed photograph of Muhammad Ali.

I told Pedersen I thought Wright was struggling with the fine print of the deal –
coming out. ‘He’s sold his soul,’ Pedersen said. ‘That’s how simple this is. And the
combination of Craig and Ramona is dangerous here. They can’t just sign all these
[legal] papers and think it’s going to be all right, that they’ll sort something out. It
doesn’t work that way. They now have to go to the end and live with it. But they’re
doing it on first class. When this Satoshi thing comes out I can see a lot of bad
things happening, and they are not geared up for this, any of them.’

‘I’m concerned for him,’ I said.

‘There’s not really a happy ending here,’ Pedersen said.

‘Was it the same in Australia?’

‘It was the exact same,’ he said, ‘except in Australia you could say he was in
control. He’s learned absolutely nothing. He’s now in this box, he can’t move, he
can’t do anything, and this box is getting smaller and smaller.’

‘Do you think he wants to be outed as Satoshi?’

‘Yes I do. It’s in in his personality. He wants to be recognised. He says too much.
After two weeks of working with him, I knew.’

‘He and Ramona tell me they had a pact never to come out.’
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‘My feeling is that she doesn’t want him to come out, but he does. He’s been
pushing for this to happen.’

I spoke to one of the scientists, a shy, unexcitable man in his late fifties, who has
been working on this technology for several years. He and Pedersen are old-school
IT people, quiet-spoken and completely uninterested in the limelight. Both of them
thought Wright was working at a different level from everybody else. The scientist,
who spoke to me from the beginning on condition that he wouldn’t be named,
worried about Wright’s attention to detail and about his conspiratorial nature, but he
had no doubts about Wright’s command of the big picture. The scientist was helping
to oversee all the white papers and patent applications and managing a large team
of IT specialists and mathematicians. I asked him if he was worried about the R3
consortium’s work on blockchain technology. ‘They are going to fail,’ he said. ‘They
don’t have Satoshi. There is a panic out there, a misunderstanding about how the
blockchain and bitcoin works. They hire people who know about bitcoin and are
attempting to buy into it rather than being left behind. I’ve read some patent
applications that are pending, applied for by the Bank of America. What I saw was
ultimately unimpressive in comparison to what Craig is trying to do with the
blockchain.’

The scientist described how the staff try to get the ideas out of Wright’s head. ‘You
can’t say: “Explain this to me.” If you ask a question like that, he’ll just go off on
giant tangents. First, he’ll have difficulty explaining what’s in his head. Often he’s
just coming up with ideas on the spot that he’ll throw into conversation. You want to
try to get yes and no answers from him. We film him at the whiteboard and
someone will type out the text.’

He described moments when everyone in the research team thought what Wright
was saying was impossible. It couldn’t be done, the software wasn’t up to it, the
blockchain couldn’t scale to the task, and then suddenly everyone would understand
what he was saying and appreciate its originality. ‘I need to be able to go over what
he’s said,’ the scientist told me, ‘to find the pearls of wisdom and find out what the
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hell he means. If I don’t get it then I might have to make some guesses. I had to
train my team to work in that mode. They have to be good researchers. They have
to ​understand​ the technology as well as be able to work with it.’

Often, the scientist said, the staff were amazed by an unexpected turn in Wright’s
thinking. But he admitted to being amazed, too, by certain gaps in Wright’s technical
knowledge. It was bizarre. Wright had what the scientist and the team regarded as
vast experience and command of the blockchain, which he spoke of as his invention
and appeared to know inside out, but then he would file a piece of maths that didn’t
work. Or he would show a lack of detailed knowledge of something the team took
for granted. Nobody I spoke to could explain this discrepancy. ‘One of the problems
with him is that he’s a terrible communicator,’ the scientist said. ‘He’s invented this
beautiful thing – the internet of value. But sometimes he’ll just talk in equations but
can’t or is unwilling to explain their content and application.’ His mistakes could also,
he implied, be a result of laziness and lack of attention to detail.

I knew this for myself, but I was, to some extent, vexed that the technologists had
the same experience. At the same time, I was impressed that people like the
scientist and Pedersen could live with such a high degree of ambivalence about
their boss. When I asked Pedersen if he thought the work was truly revolutionary, a
non-native weariness came into his blue eyes. ‘I think so,’ he said. ‘But I don’t think
he’ll get the Nobel Prize because he’s too political. He’s coming out as a street
fighter and could end up in prison or whatever.’

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The main players in this story were keen to help me, to talk about what they knew
and to show me the documents, but, in every case, there were topics they would
avoid, and that were never cleared up. One of the most helpful individuals was
Stefan Matthews. He pointed me in the direction of people from Wright’s personal
life, and sent me a typed history of his association with the man who would be
Satoshi. Matthews noted that, when he signed the deal with MacGregor, Wright
didn’t have a feasible business plan for any of his companies. The Wrights’ financial
situation was dire. They couldn’t pay their staff and a number had already left.​
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Pedersen and some others had stayed on without pay; Wright owed his lawyers $1
million. Superannuation remittances were overdue and loan repayments unpaid; the
companies needed £200,000 just to make it to next week. Craig and Ramona had
sold their cars. One of the companies was already in administration and, with the
ATO closing in, ‘all related entities were on the brink of collapse.’ Before signing the
deal, MacGregor, sources say, tried to assess the value of Wright’s research,
commissioning a ‘high-level overview’ of the companies. MacGregor instructed
Matthews to be in Sydney on 24 June 2015, when a final appraisal of the
businesses was undertaken and a draft arrangement negotiated for nTrust ‘to
acquire the intellectual property and the companies themselves’.

One night I went to have dinner with Matthews on my own. We met in the restaurant
at the back of Fortnum & Mason, 92 Jermyn Street, and he seemed incongruous
among the red banquettes – a large, bald Australian with a rough laugh and wearing
a plaid shirt, keen to tell me everything he thought useful. Matthews seemed a much
more affable character than MacGregor, both upfront and very loyal, without
perhaps seeing how the two might cancel each other out. One of the tasks of the
eager businessman is to make himself more sure of his own position, and Matthews
spent a lot of time, as did MacGregor, selling the idea of Wright as Satoshi rather
than investigating it. They drafted me into telling the world who Wright was, but they
didn’t really know for sure themselves, and at one point their seeming haste
threatened to drive a wedge between us. It seemed odd that they would ask a writer
to celebrate a truth without first providing overwhelming evidence that the truth was
true. I took it in my stride, most of the time, and enjoyed the doubts, while hoping for
clarity.

Matthews drank a little wine but not much. He was talking about the night in Sydney
when they signed the deal. ‘We pulled up outside Rob’s hotel. He said: “Do you
realise what you have just done? You have just done the deal of a career. This is a
billion dollar deal. Fucking more. Billion dollars plus.”’

‘Why is Rob so convinced?’
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‘Don’t know, don’t know.’ (MacGregor later told me he was convinced because
Wright had shown Matthews the draft Satoshi white paper. ‘I always had that,’
MacGregor said.) ‘If it turns out that he’s a fraud, I don’t know how he’s managed to
do it because you couldn’t make this up.’

Matthews told me about a meeting at the Bondi Iceberg Club in Sydney that Wright
had with Ross Ulbricht, the founder of Silk Road, now serving two life sentences.
Silk Road used bitcoin to trade all kinds of contraband items because the
transactions could be made anonymously. Wright later confirmed that this meeting
took place, but said only that Ulbricht was full of himself and they didn’t discuss
bitcoin. Matthews seemed to think this was unlikely. He wondered whether Kleiman
had had more to do with Ulbricht; other sources suggested the same.

‘Wright signed a deal to come out as Satoshi,’ I said to Matthews. ‘Does he realise
everything that involves?’

‘You’re gonna have criminal groups that paid him lots of money and there are
people who know about that,’ Matthews alleged. ‘If they quack? You’ve got Ross
Ulbricht who’s in prison and apparently going to appeal trial this year or next. What
happens when Ross sees Satoshi’s name splashed everywhere and Craig’s name
everywhere? Is he going to say “I had lunch with that guy. We made a deal”? I’m not
worried about what Craig has done, I worry about people who have associated with
him.’ It was very strange to do an interview with someone who would come out with
this stuff, given that he was also trying to market the guy. In fairness to Wright,
Matthews might just have been running his mouth off, and I’ve left out the worst of
what he said, now and later.

We talked about some of the difficulties that had arisen between Wright and
MacGregor. ‘Craig and Ramona are in a state about the keys leaving the room,’ I
said. ‘He feels it is an act of self-annihilation to let them go. Rob has a Hollywood
ending in mind and it’s looking incredibly unlikely. You can’t go into a marketplace
claiming full legitimacy when the proof hasn’t been produced.’ I told Matthews that
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there were emails still missing between Wright and Kleiman, emails that the public
would want to see before accepting him as Satoshi, because the correspondence
would presumably go into the kind of detail about the invention that only the
inventors could know. Wright had told me he would produce the missing emails by
the following Wednesday, but he never did.

‘I know what’s in there,’ Matthews told me. ‘It will be chatter to do with illegal stuff
that he and Dave were doing in Costa Rica – particularly around Costa Rican
casinos where they got $23 million of income. And you don’t get paid that amount
just for doing a security review … He mined all those bitcoins himself using
equipment that he bought with money that he got from Costa Rica.’ Again: why was
Matthews saying this? It was obvious to me that Wright was going to have a
problem telling the full story, whatever it was. I wasn’t even sure he’d told the full
story to his wife, but perhaps he had, because she referred, several times, to the
fact that there were things that she just couldn’t tell me. ‘They’ll come after us,’ she
said, in a state of high emotion. ‘They’ll destroy us.’ Matthews said he didn’t know
what that was about. He did tell me something he said he had told MacGregor when
MacGregor asked him what he was getting out of the deal. ‘Absolutely nothing,’
Matthews said. ‘I get what I get paid by Calvin. Calvin is the only allegiance I have,
then and now.’

Calvin Ayre is one of the topics the team routinely went dark on. When I first met
Wright, he called him ‘the man in Antigua’. MacGregor never mentioned him at all
during our early meetings. When I later told him that Ramona had mentioned a big
man in Antigua, he said he didn’t mind talking about him, but didn’t bring his name
up again. When, in February this year, they took Wright to Antigua for a pep talk, I
emailed Matthews to ask if I could come too, and he didn’t reply. Wright, in a low
moment, later asked me if I’d told MacGregor they were the ones who let the cat out
of the bag about Ayre. I said it wasn’t them: Ayre’s name had first been mentioned
to me by Matthews. The Antigua meeting was being arranged when I went out for
dinner with Matthews, and he referred to Ayre freely without ever asking that it be
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off the record. MacGregor never went into detail about Ayre’s involvement but both
men’s regular visits to Antigua made me wonder about the extent of the connection.
Matthews, explicit as usual, always spoke about Ayre as if he was the ​capo di tutti
capi​ of the entire affair, though I have no other evidence that Ayre was anything but
an interested observer. Interestingly, nCrypt’s only shareholder (one share worth
one pound) is nCrypt Holdings, registered in Antigua.

Like MacGregor, Calvin Ayre is Canadian. His father, a pig-farmer, was convicted in
1987 of smuggling large amounts of Jamaican marijuana to Canada. When Calvin
left college he went to work for a heart-valve manufacturer called Bicer Medical
Systems and was later charged with insider trading, agreeing a deal where he was
fined $10,000 and barred from running a public company listed on the Vancouver
Stock Exchange until 2016. ‘I clearly made some mistakes,’ Ayre told the Vancouver
Sun​, ‘but it was not a criminal issue and nobody got hurt from anything I did.’ Ayre
later started a software development company intended to help offshore betting
companies take online bets. He relocated to Costa Rica in 1996, where he worked
with two online casinos, WinSports and GrandPrix. Unlike most bookmakers, Ayre
would send cheques directly, without using Western Union or an equivalent. He
then set up Bodog, which would become the biggest name in the online gambling
industry. (It’s the company Matthews worked for after Centrebet.) Bodog was a
huge success. In 2005, it handled more than $7 billion. Ayre appeared on the​Forbes
billionaires’ list in 2006. In the same year, Bodog moved its global headquarters to
Antigua. The IRS had started following the company in 2003 and US Customs and
Immigration were also on his tail. A joint inquiry was started in 2006 and, in 2012,
Ayre, along with two of the website’s operators, was indicted on money-laundering
charges. He entered no plea, but he maintains his innocence, seeing the indictment
as ‘an abuse of the criminal justice system’. In one profile of Ayre, we find him
drinking coffee and paraphrasing Sun Tzu’s ​The Art of War​. ‘I’ve put a lot of energy
into finding ways not to fight my enemies,’ he says. My researcher Josh showed me
this interview, then remembered a note from my first meeting with MacGregor, in
which he, too, had quoted Sun Tzu. ‘You build your enemy a golden bridge to
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retreat over,’ MacGregor had said, drinking coffee. When he said this, I wasn’t sure
who the enemy was. The only person MacGregor had built a golden bridge for, so
far as I knew, was Wright.

At the Jermyn Street dinner, Matthews didn’t tell me any of Ayre’s history, referring
to him simply as a great guy. ‘Do you know how many bitcoins Craig’s got left of the
original 1.1 million?’ he asked later on. There are conflicting stories about the
‘Satoshi millions’. Many people refer to a Satoshi-mined hoard that has never been
spent, and the figure – always around a million bitcoin – is the same one admitted to
by Wright and Kleiman. The difference is that Wright says he spent a lot of his. This
was what Matthews was getting at. ‘He told me last week,’ Matthews said, ‘and I’ve
been having some sledgehammer conversations with Craig. I said to him: “Time for
straight answers on this one, my friend. How many coins are left under the control of
the Seychelles trust? And don’t tell me you don’t know because you’re a grown
man, and don’t lie to me.” And his answer was 100,000. I know that 650,000 was
taken out to fund all the research and development stuff. And 350,000 is on Dave’s
hard drive. “Why has Dave got 350,000 of your coins on his encrypted hard drive?”
Because he gave them to him. They’re Dave’s. Those wallets are encrypted on his
hard drive, with three or four keys to his trust. Now, why did Dave die in squalor?’

‘Why?’

‘Because bitcoins weren’t worth that much when Dave died. They skyrocketed
around that time and in the weeks thereafter. But he was a man of principle
apparently and wouldn’t spend those coins unless Craig told him to.’

‘And you don’t think Dave mined coins himself?’

‘Of course he did. No doubt. But how many? Who knows … We know they ran a
business together based in Florida. They did stuff for contractors. We know that
they lost money jointly in Liberty Reserve. And they would both have lost money in
Mt Gox.’
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Wright had told me he’d lost quite a bit when the bitcoin exchange Mt Gox was
hacked and then collapsed. He also referred, in a later email, to information that
was seeping from the collapsed Mt Gox database, some of it linking him to Ulbricht.
‘The amount to a large wallet was me,’ Wright told me. I took him to mean that there
was evidence of a bitcoin transaction between him and Ulbricht. He wouldn’t explain
further.

As I was paying the bill, Matthews reared up. ‘You know Craig has gone out and
bought himself some cars? One hundred and eighty thousand dollars’ worth of
cars.’ (When I checked this with Wright he said the cars were leased.) ‘One of them
stands out like the dog’s balls in the proverbial moonlight, and this is from the man
we’re trying to keep fucking secret. How many custom BMW i8s are going around
London? He’s spending every fucking penny that we’ve paid him … Does he think
this is just a game? You know, these guys have gone from being backyard
scrappers and they’ve suddenly found themselves in a high-stakes poker game.’
Matthews said he wouldn’t take any rubbish from the Wrights, and that they’d end
up on a plane back to Australia and jail if they didn’t fulfil their end of the bargain, to
reveal Satoshi. ‘The people that I work with are capable of deciding this was a $30
million bad decision and write it off,’ he said. I thought this a curiously revealing line,
and wondered again just how he expected me to use such information.

‘You haven’t asked me why I’m doing this,’ Matthews said at the end of the evening.
He worked his way round to an answer, but it wasn’t an answer, just more
questions. ‘Part of me,’ he said, ‘has asked over the past three or four months, why
did I ever get involved in this? Why did Craig keep coming back to me? Why did he
never shake out of my life? Why did he show me the Satoshi white paper in 2008?
Why was he delivered back to me in 2015? I didn’t go looking for it.’

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Satoshi Nakamoto is not really a man; he is a manifestation of public acclamation,
an entity made by technology, and a myth. Old-fashioned journalism might bring you
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to him – or cause you to miss him altogether – but he was born of relationships that
depend on concealment. A reporter was once a person who could rely on visible
evidence, recordings, notes, statements of fact, and I gathered these assiduously,
but this was a story that challenged the foundations on which reporting depends. I
fought to uphold familiar standards of truth, and fought to discover new ways to
uncover it in this underworld of companies with a vested interest in disclosing some
things but not others, but it felt like the walls of virtual reality were forever pressing
in on my notepad. It is standard practice in Silicon Valley for everyone, from bagel
boy to research chief, to sign a Non-Disclosure Agreement. This is because every
company – Apple or Microsoft or Google or Facebook – has a mission not only to
make money but to control the narrative of who they are. A writer requires
determination if he is to write anything about that world that isn’t paid for or
manufactured by a company. There is nothing particularly underhand about this:
they offer you big money up front and ask you to sign over your allegiance. But
when you turn down this offer and they don’t banish you from the court, your version
of reality might end up clashing with theirs. This happened several times during the
months I was working on the Craig Wright story. Wright himself never mentioned
rights or agreements or privacy – until the very end, when he asked for two
particular aspects of his private life not to be discussed – but when I went to
Australia at the end of February to talk with Wright’s family and friends, the nCrypt
men began insisting I sign an NDA.

Why they hadn’t asked me to sign one at the beginning I’ll never know. I had
roamed freely for three months, noting and recording, going to meetings and
interviewing everyone, and only now did they want me to sign. Early on, MacGregor
told me in an email that he had advised Craig and Ramona to tell me ‘everything’.
He went on to express, on Wright’s behalf, worries about how the material would be
used. This was especially sensitive, I gathered, because of the government security
work Wright had done. I replied that we would be judicious about what was
published. MacGregor still wanted to discuss contractual issues, and I replied, on 6
March, that I would have to see proof that Wright was Satoshi, and see it presented
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before his peers and selected journalists. MacGregor replied that the proof package
was in train and that he didn’t understand why I wouldn’t sign. I replied on 7 March
that I couldn’t write the story, no matter how good my access, if there wasn’t proof
that Wright was Satoshi, and I was still waiting for evidence. ‘My commitment is
clear,’ I wrote, ‘but the book turns to dust if we do not have unanswerable and
generous proof.’ I insisted that I wouldn’t sign any document and eventually
MacGregor accepted this. We fell out over it, but I saw their point and I still do.
Despite my refusal they continued, without binding agreements or legal constraints,
to provide me with access to every meeting and every aspect of the story, which
was set to change faster and in ways none of us could ever have prepared for. My
story and nCrypt’s deal seemed to be on the same track, aligned and friendly, but
none of us discussed what would happen if the deal came unstuck.

Proof

When I asked Wright what kind of martial arts he did as a kid he gave the following
answer. ‘I did a few actually. I have studied in the Chinese forms Wing Chun,
Tánglángquán​, Kuo Shu, Duan Da, Zui Quan and ​lóng xíng mó qiáo​. I have also
mastered Muay Thai, Kenpo and Taekwondo and Chito-ryu style karate. I started
with karate and Ninjutsu.’ As with most things about him, it’s not that it’s not true, it
just smells of self-doubt and a need not to hide anything positive about himself. It’s
the kind of truth-telling that expresses fear and gives rise to doubt, but it’s not the
same as a lie.

Wright’s mother had told me about her son’s long-standing habit of adding bits on to
the truth, just to make it bigger. ‘When he was a teenager,’ she said, ‘he went into
the back of a car on his bike. It threw him through the window of a parked car.
That’s where his scar comes from. His sister accompanied him to the hospital and
he’s telling the doctor that he’s had his nose broken twenty or so times, and the
doctor is saying “You couldn’t possibly have had it broken.” And Craig says: “I sew
myself up when I get injured.”’ What his mother said connected with something I’d
noticed. In what he said, he often went further than he needed to; further than he
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ought to have done. He appeared to start with the truth, and then, slowly, he would
inflate his part until the whole story suddenly looked weak.

In the time since I’d last seen Matthews, he and MacGregor had been to Antigua
with Wright and had agreed a ‘proof strategy’. I had been pushing hard for the proof,
and Ramona had asked me several times what Wright could do to prove to me that
he was Satoshi. MacGregor asked the same thing during a meeting I attended with
him and the public relations firm they’d hired, the Outside Organisation. ‘It’s not
about proving it to me,’ I said. ‘It’s about proving it – full stop. You just prove it for
the whole world to see and then everybody goes home.’ The nCrypt guys, pointing
out that they had always intended to set up a proof session, organised a series of
events with the help of the PR company, intended to bring Satoshi into the open.
Originally, the plan was for the London School of Economics to host a panel
discussion about the evidence and the findings, but someone seems to have
blabbed to the ​Financial Times​, which ran an article on 31 March. ‘After nearly four
months of silence,’ the ​FT​ blogger Izabella Kaminska wrote, ‘and a bitcoin
community mostly resigned to the notion that the story was an elaborate hoax –
conditional approaches are being made to media and other institutions in
connection to an upcoming “big reveal” of Wright as Satoshi Nakamoto.’ Her source
was clearly inside the project. ‘Wright will publicly perform a cryptographic miracle
which proves his identity once and for all,’ she wrote. MacGregor was outraged, and
the LSE was sacked from the project. But the first and biggest of these proofs was
to involve Wright using Satoshi’s private encryption keys in sessions with key
members of the bitcoin community. Jon Matonis, former head of the Bitcoin
Foundation, agreed to take part. So did Gavin Andresen, one of the most respected
bitcoin core developers, someone who had been there since its inception. These
proof sessions would begin the denouement of this search for Satoshi.

Just before these sessions took place, in April, I asked Wright what had happened
in Antigua. ‘We discussed the whole PR strategy,’ he said. ‘The truth thing is going
to happen.’ He talked about Matonis and Andresen. ‘We’re going to bring them in on
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reveal sessions in the next few weeks. I guess that’s the way it has to be. Do I like
it? No. But I haven’t really been given a choice. I’m between a rock and a hard place
because of whoever outed me last year.’ He said very clearly at a meeting with me
that he would not sign with the key in public. We agreed that he would do it for me
at home, signing with the private key from one of Satoshi’s original blocks. He would
do for me what he was going to do for Matonis and Andresen, and this would prove
beyond doubt, he said, that he was Satoshi. We made a plan, then Wright asked me
to come to his office so he could draw something for me on his whiteboard, a new
timelock encryption scheme he’d come up with. He wanted to add it to the list of
patent applications. I didn’t always know what he was talking about, but his
expertise in certain areas was startling, and so were his obfuscations.

                                            *

It was exactly 9 a.m. when I turned up at his house in South London, on one of
those clear mornings when the planes leave trails in the sky. I knew his house by
the BMW in the driveway, and I pressed the bell. He opened the door and a cloud of
cologne came to meet me. In his study, there were three computers and seven
screens. ​Options, Futures and Other Derivatives​ by John C. Hull was sitting on a
grey sofa. There were rows of computing books and seven dead laptops stacked on
top of a bookshelf. Even after all these months, Wright couldn’t really do small talk,
finding it hard to summon anything easy in himself. I asked him about his sofa and
told him about a pain in my shoulder and he just said: ‘Very good.’ He made me a
cup of tea and then beckoned me over to his main computer: it was time for him to
prove to me that he was Satoshi. His manner was still that of a man who mildly
resented having to prove anything. He smiled and pointed to the screen. ‘This is his
wallet, which is open,’ he said. I saw a list of transactions with addresses specified.
‘The initial Genesis block was hardcoded,’ he said. ‘There are no conflicting
Genesis blocks. If a piece of code crashed on this machine it would still start on
another machine with the same Genesis block. Always.’ As I was looking at the
screen in front of me and watching his hand move the mouse, lines from the
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Wikipedia entry on the blockchain came into my head. ‘The blockchain consists of
blocks that hold time-stamped batches of recent valid transactions. Each block
includes the hash of the prior block, linking the blocks together. The linked blocks
form a chain, with each additional block reinforcing those before it.’

‘It can’t be moved or changed?’

‘No. It’s hardcoded into the original program,’ he said.

Everything on his screen was time-stamped. I was looking at transactions from early
January 2009. ‘I was officially canned from my job at BDO on 3 January,’ he said.
He told me he went to his house at Port Macquarie and settled down to do the final
work to get the bitcoin software up and running. ‘The original definition was
published by Satoshi Nakamoto in 2008 and implemented in the original source
code of bitcoin published in 2009,’ the Wikipedia entry said​.​ As he explained what
was in front of me, he clicked through the sequential blocks, the transactions
database that underlies bitcoin. He was looking at the very earliest ones and all
included dates, amounts of bitcoin and addresses. A long list of transactions
showed incoming small amounts to Satoshi’s wallet. ‘Lots of people send micro
payments to me,’ he said. ‘They think so much of Satoshi that they want to burn
their pennies.’

‘So these fans are sending tiny payments to that known address? It is the first
generated and the first known address?’

‘Yes. They’re hoping I’ll do something – out myself.’

The address was 12c6DSiU4Rq3P4ZxziKxzrL5LmMBrzjrJX. I could see that people
had left messages – ‘public notes’ – for Satoshi: ‘Hey satoshi, change my life, send
me some bitcoins!’ ‘God bless you, China.’ ‘If you are reading this, please take
some time to remember those who died 12 years ago today in the WTC attacks.’
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‘The bitcoin blockchain can be used as a trusted timestamp for arbitrary messages,’
Wikipedia said.

If you scroll back to the very first transaction associated with this address –
12c6DSiU4Rq3P4ZxziKxzrL5LmMBrzjrJX – you find that it is the first bitcoin
transaction recorded. It was for 50 bitcoin and remains unspent. Anyone can enter
that bitcoin address into a search engine and inspect the history of transactions
associated with it. ‘The Genesis block was hardcoded on 3 January 2009,’ Wright
said to me, ‘and that was the first run. There was no previous block.’ (Under the
heading ‘Previous Block’, there is a line of 74 zeros.) ‘Then the code was reworked,’
he continued, ‘and fired up and the first address that was ever created from the
hardcoded Genesis block – the first mined address – is the one I’m sending you a
message from.’ He was about to use the original cryptographic key to sign a
message to me and it was as if he was dropping a sugar lump into my tea. He typed
the words, ‘Here I am, Andrew,’ and rested his fingers. ‘This gives us that little block
there,’ he said, before verifying the signature. He looked sheepish and resigned in
his blue checked shirt. ‘Welcome to the bit I was hoping to bury,’ he said. He leaned
back and I noticed a samurai sword by the desk.

I shook his hand. Then I stared at the screen and considered how strange it would
be to live with a secret for seven years and then feel no relief when it finally came
out. Perhaps it never felt like a professional secret; it felt like a part of his being, and
now he was giving it up. ‘I want it in layman’s terms,’ I said. ‘Explain what you just
did.’

‘I just digitally signed a message using the first ever mined address on bitcoin.’

If he had done what he appeared to have done, and what he said he’d done, then
his claim to be Satoshi was strong. For a moment, the amassed unlikelihoods and
dissemblings seemed circumstantial, and the case against him suddenly much more
fanciful than the idea of him being the famously secret man who invented this
protocol. An alternative Satoshi would have had to share his entire password hoard
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with him, and synchronised his ‘real world’ timeline in order to be placed where
Wright was placed and align with his email existence and his expertise. It wasn’t
merely that Wright had been in the right place at the right time: he had been in the
only place at the only time, and that time was stamped not only into the blockchain
but into his correspondence and the experiences of those around him. He sat back
in his large black chair and asked me if I wanted more tea. ‘I could have been
working with Satoshi, I guess,’ he said, ‘who told me he was going to fire it up at this
time and I had all my machines ready and just took over from him. But that would
make me Satoshi anyway.’ He stared into the bank of screens and seemed
nostalgic for a more ghostly self, and I asked him if it felt overwhelming.

‘I don’t care – whatever,’ he said. But of course he did care – care is what he did
most. He was agitated through the whole process, mainly, I guessed, from an old
cypherpunk embarrassment at having to bend to authority. He wasn’t satisfied when
he sat back in his chair, he was annoyed and already making his detractors’
arguments for them. ‘They’ll say I killed Satoshi and stole the keys. Having them
doesn’t prove I created them. Maybe it was a collaboration between me, Dave, Hal
and some random person. Maybe I compromised Hal’s machine and stole
everything and his family didn’t know. Maybe, maybe, fucking maybe. All that
bullshit. Those people don’t believe in Occam’s razor. I’ve seen Reddit. They want
the most convoluted explanation. But they can say what they want; I’ve got nothing
more to prove.’

There is a message embedded in the Genesis block, a headline from the ​Times​ of 3
January 2009, the day the block was mined: ‘Chancellor on brink of second bailout
for banks.’ I later asked Wright why he’d chosen that particular headline. ‘As you
know, I am rather anti-central/reserve bank,’ he wrote to me. ‘I see them as the true
cause of these issues and the bubbles and collapses. But the date was important as
a timestamp. It means that I could not have been “pre-mining” and gaming the
system. The first iteration of the code was ​finalised​ on 9 January 2009. The run was
started when I was at the farm in Macquarie later that week. It means that I cannot
have been mining for months ahead and had collected a pre-mined set of solved
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hashes to game the system. I ran more than fifty machines, so the headline was a
marker.’​

The question of proof in a story about computer science is a question for the birds. If
you can’t check the maths, how can you be sure? I wrote to four Princeton and
Stanford cryptocurrency experts during the preparation of this story and sent them
some of Wright’s white papers. These men, who are together about to publish a
textbook on bitcoin and blockchain technology, are obsessed with who Satoshi is,
and obsessed with who he isn’t. But they behave like visitors to a funhouse: they
see distorting mirrors everywhere and hear distant laughter and weird music. Some
of them did want to see the evidence, but they didn’t want to be seen responding to
it and I never heard from them again. And that is the kind of attitude that pervades
the not entirely adult world of new inventions in the highly contested world of
computer science.

Another thing: when such people want to make a point, they often want to destroy
those they disagree with. It’s clear how paranoia-inducing it is to be constantly
assaulted by people who hate you for thinking your thoughts. Geek culture in
general is fantastically vitriolic: even an issue that seems pretty marginal to the rest
of us – like the question of who might play Captain America’s love interest – can
easily spiral into death threats. In the world of cryptography, this has been a bar to
invention and progress: developers are hung, drawn and quartered every day on the
internet and they have to be unusually robust to take it. The question of how to take
bitcoin forward has been riven with opposing views, and after Satoshi disappeared
there was no central authority to lead the discussion or calm the waters. By
increments, the task fell to Gavin Andresen, a Princeton graduate with experience in
Silicon Valley. Andresen only gradually accepted the role of lead core bitcoin
developer. This is not an official designation and he appears to have got none of the
thanks and all the flak, but by general consensus he is the most level-headed
thinker in the bitcoin world. One insider said there was an irony in Andresen’s
situation that few people realised. ‘The word is that Satoshi passed the torch to
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Gavin before he retired in 2011,’ he said. ‘In fact, it was more like Satoshi threw the
torch at Gavin and ran away leaving him holding it.’

From time to time during those months, I wondered what if, in some brutally
postmodern way, the true identity of Satoshi could never be fully ascertained? What
if Wright had every single element necessary to prove himself, but somehow
couldn’t? Anonymity – or at least pseudonymity – is an essential part of the
cryptographic world. I had a job on my hands – as did MacGregor and Matthews, as
would the core developers, as would the press – to establish the truth. Any narrative
that is dependent on ‘outing’ such secretive people is at the mercy of their basic
hatred of being controlled or being known, and Wright was a spectacular example of
this.

                                            *

Andresen had been in touch with Satoshi in the early days and would have records
of their conversations. He would presumably be able to ask Wright questions that
only Satoshi could answer. In December, after ​Wired​ published the story about
Wright possibly being Satoshi, Andresen told the magazine he’d never heard of
Craig Wright. But he began to believe in Wright once he started corresponding with
him by email in early April. At one point, Wright sent him two emails, one written in
his own Craig Wright way, and another one, with essentially the same content,
written as Satoshi would have written it. They discussed maths and the history of
the invention and the problems it had faced. Within a week, Andresen was
sufficiently convinced to get on a plane to London. He was ready to see Wright sign
a message to him using the original Satoshi cryptographic keys.

At this point, I began talking to Andresen. He told me he had written an email to
Wright before getting on the plane, asking for a little more of his backstory and for
his thoughts on ‘the state of bitcoin in 2016’. ‘He replied with a longish email,’
Andresen told me, ‘on the state of bitcoin and why he decided to reveal his secret
now, then followed up with a couple of in-progress research papers. The email
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“sounded like” the Satoshi I worked with, and the papers matched his academic,
math-heavy voice, too.’

Andresen crossed the Atlantic overnight, arriving at the Covent Garden Hotel at 11
a.m. on 7 April. He went to his room – which had been booked, as had his flight, by
nCrypt – and had two hours’ sleep, after which MacGregor and Matthews turned up.
‘They gave me a lot of the background and explained their involvement,’ Andresen
told me. When Wright turned up at the hotel, Andresen found it easy to talk to him,
‘although I was so jet-lagged at one point,’ he wrote, ‘I had to stop him from diving
deep into a mathematical proof he’d worked out related to how blocks are validated
in bitcoin.’

Matthews had booked a conference room in the basement, and MacGregor could
see that Wright was very emotional when he entered the room. ‘He knew this was
it,’ MacGregor said to me. ‘It’s one thing to prove his identity to you and me, but the
bitcoin community is something else. He knew that they would believe Gavin. He
knew this was it – that he would have no plausible deniability after he’d talked to
Gavin and shown him the keys.’ Before the meeting in the basement properly
started, Andresen said to MacGregor – as he said to me – that some of the phrases
Wright had used in their email exchange had been ‘familiar’ to him; he sounded like
the Satoshi he had been in contact with before. Andresen asked MacGregor and
Matthews a few questions about what nCrypt hoped to achieve with this in the
future. They didn’t go into detail about the company’s business plans, but they
spoke about the future of bitcoin and alternative projects. Wright and Andresen
quickly started scribbling on pieces of paper. Wright was using his big laptop to
show his access to certain addresses. It was a strange situation in all sorts of ways,
and the main one, perhaps, was that Andresen, who had, once upon a time, left
behind high-paying job opportunities to work on the bitcoin project for free, was
possibly about to meet his hero. But he stuck to practical questions. He asked
Wright about the trust and about his bitcoin holdings and what had happened to
them. MacGregor later told me that his first question after Matthews told him that
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Wright was Satoshi was: ‘Well, why isn’t he sitting on an island surrounded by piles
of gold?’

Wright became quite relaxed. He explained what it had cost him to keep his
companies alive and to pay for research and development, and the supercomputer.
It was about 5.30 p.m. when he finally logged on to his laptop to do for Andresen
what he had done for me in his office at home, sign a message with the key and
have it verified. Andresen looked on. Wright had just used Satoshi’s key. At that
point, it seemed to some of those in the room that Andresen’s body language had
changed; he seemed slightly awed by the situation. He reached over to his bag and
took out a brand-new USB stick and removed it from its wrapping. He took out his
own laptop. ‘I need to test it on my computer,’ he said. He added that he was
convinced, but that if people were going to ask him, he had to be able to say that
he’d checked it independently. He pointed to Wright’s laptop and said it could all
have been pre-loaded on there, though he knew that was unlikely. But he had to
check on his own computer and then they would be done. He said the key could be
used on his laptop and saved to the memory stick and that Wright could keep it. But
for his own peace of mind, and for due diligence, so that there wasn’t a chance of
fraud, he had to see it work on a computer that wasn’t Wright’s own.

Wright suddenly baulked. He had just signed a message to Andresen from Satoshi,
he said, and had demonstrated his complete familiarity with their correspondence,
but, in his mind, what Andresen was now asking for was of a different order. ‘I had
vowed,’ Wright told me, ‘never to show the key publicly and never to let it go. I
trusted Andresen, but I couldn’t do it.’ Wright got up from the table and started
pacing. He had clearly believed he would be able to get through the proof session
without this. In fact, he had said in my presence several times over the preceding
months that he would never hand the key over to anyone or allow it to be copied or
used on someone else’s machine. ‘I do not want to categorically prove keys across
machines,’ he wrote to me in an email. To him, this would be to give Satoshi away
and perhaps to dilute his own proclaimed connection to him. He went to a chair in
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the corner of the room and looked up at Andresen. ‘Maybe you and I could get to
know each other better,’ he said.

Andresen just nodded his assent. ‘Like, trade more emails,’ Wright said, ‘and I can
sign more messages to you.’

At this point, Matthews’s blood ran cold. ‘It was the only time during all the years
that I thought: “Jesus Christ, has he been spinning us the whole time?”’ MacGregor
too felt this was a very risky moment. He glanced at Matthews. There was no way
he was going to let Andresen get back on the plane with ​that​ as a punctuation mark.
They all felt Wright’s behaviour was ludicrous: he’d demonstrated that he was
Satoshi and only had to let this be verified on Gavin’s laptop. End of story. But
Wright spoke to me later in a way that showed his old cypherpunk suspicion had
reared its head: what if Gavin was a plant? What if the whole thing was a plot to rob
him of Satoshi’s keys and exploit him or deny him? Wright told me he felt
strong-armed and that, for some reason, he couldn’t let this thing go and remain
himself.

Afterwards, Andresen was sanguine. ‘The proof session took longer than expected,’
he told me. ‘I insisted that the verification happen on a computer that I was
convinced hadn’t been tampered with. And they’ – Wright, Matthews and
MacGregor – ‘insisted that the signed message never touch a computer that could
have been tampered with (the risk would be that the proof might leak out before the
official announcement). So we waited a bit while an assistant went to a computer
shop and got a brand-new laptop.’ The idea had been MacGregor’s. He said the
tension in the room was unbelievably high. Wright was refusing to do the one thing
that would guarantee the success of his mission. He hadn’t seen it coming, but
Andresen wouldn’t blindly trust Wright’s hardware, and Wright wouldn’t blindly trust
Andresen’s. The solution had to be a fresh computer straight out of the box.
MacGregor called his assistant and gave her the task. ‘This is how you get your
One,’ he said to her. (In his company the best score you could get in a staff
appraisal was a One.) It was just before 6 p.m. on a Friday night and they needed a
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brand-new laptop in Covent Garden. The assistant got hold of one and rushed over
from Oxford Circus to the hotel.

The new laptop was lifted out of the box. It took a while to connect it to the hotel’s
wifi and to load the basic software. ‘During all that time,’ Andresen told me, ‘it was
obvious Craig was still, even then, deeply hoping his secret identity could remain
secret. It was emotionally difficult for him to perform that cryptographic proof.’

‘It was tense and there was a bit of shouting. There were a few drops during the day
about “the evil businessman in the room”,’ MacGregor said. ‘He stopped short of
accusing Gavin of having a key-logger, but he clearly wasn’t going to do it. He said
he had trust issues, and he’d been attacked, and it had been so long, and he just
couldn’t bring himself over the line today, but they should keep talking. And Gavin
was willing to do that. But we were like: “No, no, no”. I remember what I said. I said,
“Look, Craig, you’ve just been alone for way too long. Gavin has dedicated a huge
chunk of his life to what you invented. I think he has the right to see this. He is the
friend you don’t have: Stefan and I can’t fill that role for you; Ramona can’t. This is
someone who really understands what you have been trying to do.”’

There were long silences. ‘He was on the edge,’ MacGregor said. Matthews was
practically holding his breath. He didn’t want to say too much out loud, so he texted
MacGregor. The text said: ‘He should call Ramona.’ While MacGregor was out of
the room Wright phoned his wife, and she said: ‘Do it.’ Everyone waited with bated
breath as Wright used the new laptop to open the Satoshi wallet and set about
signing a new message to Andresen. It failed. It wouldn’t verify. He tried it again and
again, until Andresen remembered that Wright hadn’t typed ‘CSW’ at the end of the
message the way he had in the original, the one he was seeking to verify. When he
put ‘CSW’ at the end of his message to Gavin it said: ‘Verified’. Wright had
demonstrated, on a brand-new laptop, that he held Satoshi’s private key. They
stood up and shook hands and Gavin thanked him for all he had done. There were
tears in Wright’s eyes. ‘His voice was breaking,’ MacGregor told me. ‘Gavin could
see he was going though something.’ Both MacGregor and Matthews later said that
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Wright was turned inside out by the session. ‘I didn’t want to just put him in a taxi,’
MacGregor said. Andresen was wiped out, so he went to get some fish and chips,
and then headed to bed. ‘Craig broke down,’ MacGregor told me. ‘He said he
thought he’d never have to do this. He said he never knew how to trust people in his
life.’ Wright and Matthews and MacGregor went off to find a bottle of wine. ‘He was
semi-apologising for being a pain in the ass,’ MacGregor told me, ‘but I understood
more than ever, at that point, how hard the whole thing was for him.’

When I asked Andresen if he thought ending the Satoshi mystery might be good for
the technology, he wasn’t sure. ‘On one hand,’ he said, ‘having a mysterious
founder is a great creation myth. People love a creation myth. Knowing the real
story might make bitcoin less interesting to people. On the other hand, money is
supposed to be boring – something that “just works”, used by most people without
understanding how or why it works. I’m excited to see how Craig contributes to
making bitcoin work even better than it does today.’ I later met with Jon Matonis,
who had been through his own proof session with Wright. He was equally
impressed and relieved. He too believed the search for Satoshi had come to an end
and he was looking forward to working with Wright, to seeing the patents and the
new blockchain ideas. During our lunch in Notting Hill, Matonis suggested that this
technology would change the world. One of the scientists said to me, ‘This isn’t
Bitcoin 2.0. This is something magnificent that will change who we are. This is Life
2.0,’ and Matonis agreed.

The idea was now to use the ‘proofs’ – the gathered papers, the testimonies of the
two bitcoin experts, the use of the keys, plus solid, document-heavy answers to
every criticism previously made of Wright – and roll them out to selected members
of the press on a certain day. I told MacGregor and Matthews I didn’t want to go first
with the story. I wanted to sit in on the interviews and proof sessions with the media
organisations, and fold their reports, and the response to their reports, into my story.

Wright began to fade as we entered the proof sessions. He went from being a man
with a clear picture of himself, to being a fuzzy screen. He would email me at all
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hours with a pressing sense of anxiety. He seemed to be losing it. Yet we all forged
ahead to a conclusion that seemed much more conclusive to him than anything he
had ever expected, or could ever bear. He had signed up for it and was now faced
with a full-frontal assault of cameras and lights. I had once asked him if he felt
happy hiding in the internet and he said yes, it was his home. On a good day it is
the bright field that contains all souls but on a bad day it is the final darkness, where
misery is gapingly exposed. I came to believe that Wright, this last year, was fighting
for his soul on that plain, like Aeneas with his ships at his back and all hell in front of
him, going down to an underworld where he might meet his own father. Wright told
me, without demur, that his life had been an attempt to prove himself to his father. In
the wee small hours, he seemed like a child whose fantasy had gone too far. And
the fantasy was not that he is Satoshi. He may well be Satoshi. The fantasy was
that he could live as Satoshi, and take his place among the great men, and forget
the little boy who was slapped for losing at chess. Like Aeneas, he knew that his
journey was as much ordeal as opportunity, and though, again like Aeneas, he had
asked for it, the process was increasingly unendurable. ‘It is easy to descend into
Avernus,’ the Sibyl in Seamus Heaney’s translation of Book VI of the ​Aeneid​ tells
Aeneas:

  Death’s dark door stands open day and night.

  But to retrace your steps and get back to upper air,

  That is the task, that is the undertaking.

  Only a few have prevailed, sons of gods

  Whom Jupiter favoured, or heroes exalted to glory

  By their own worth.

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By my last weeks with Craig Wright, I was in two minds about the money men,
probably because I liked them. And while I wanted to assert my journalistic doubts –
preserve my innocence, stand back from the parade – my wish for the reveal to turn
out well was beginning to cajole my judgment. I was wise enough to say no to the
world exclusive; I still wanted material I didn’t have and I was convinced that the real
proof of the pudding would be in the world’s tasting of it. The internet is great at
crowdsourcing facts and establishing the accuracy of stories, and I had always felt
this could be important. But in the meantime, I had to fight to give my doubts the
oxygen they needed. The nCrypt boys said they understood – but did they? They
appeared to have no Plan B if Wright couldn’t prove to the world that he was who he
said he was. People can start off by saying, ‘Write everything, warts and all,’ and
end by saying: ‘I don’t exist, maybe you shouldn’t mention me.’ In a conversation
with MacGregor at this point, I allowed for the possibility that I might give him a
made-up name in the story. I said it because he seemed anxious, and because, as I
told him at the time, he had brought the story to me and I meant him no harm – but
this possibility depended on its being proved that Wright was Satoshi. Our
discussion about using real names was inconclusive – during a later meeting at
Berners Tavern, Matthews expressed the view that I should put their names in and
make a final decision later – but the decision was really made by what the story
became. The men in black seemed not to have prepared for any of that. They
believed that only one big thing was going to happen: Craig Wright was going to
emerge as Satoshi Nakamoto, the great mystery figure of the digital age, and the
evidence would be ‘overwhelming’. In the final week, as the men prepared the
reveal, I found my independence slipping. No doubt about it: I felt like part of the
team. I wanted to please MacGregor – pleasing people is my chief vice as a man
and my main virtue as a reporter – but I could have told him my work so far might
only be fieldwork. I wouldn’t know how the story would turn out until it had turned
out. Only in public relations is the story straight in advance.

In private, Wright was still saying he wouldn’t ‘jump through hoops’, but then I’d find
him agreeing to do exactly what was asked of him. Only a few nights before the
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media appointments, I was sitting with him in the Coach & Horses in Greek Street.
The PR company, he told me, had asked if he wanted to go on TV, and he’d said
there was no way in hell they’d get him in front of a TV camera. Yet it was all
happening. I mentioned the fact that MacGregor, when I first met him, had spoken
about all this ending with a TED talk in which Satoshi would be revealed.

‘Rob always said “eventually”,’ Wright replied.

‘But what does “eventually” mean?’ I asked.

‘It originally meant, “​if​ you came out”,’ Craig said.

The PR team, at MacGregor’s behest, had been in touch with a number of
journalists; the ones who were interested were from the BBC, the ​Economist​ and
GQ​. The inclusion of ​GQ​ had irked Wright from the start (he sees himself as an
academic), but the PR company, the Outside Organisation, had a connection there
– their founder was a contributing editor – and said the magazine would love the
story. But did the PR men explain to the editors there who was behind this project to
out Satoshi, and who was paying their fee? I later asked them by email and one of
them replied: ‘It is not at all unusual to be instructed to represent an individual
through an independent company. Our conversation with [​GQ​] and the other
journalists was about the proposed story.’

I emailed him again. ‘But did you tell them,’ I wrote, ‘that the outing of Satoshi was
being done at the behest of a commercial company?’ He didn’t reply.

All the journalists had signed NDAs and embargos. They would each be allowed a
brief interview with Wright after he had demonstrated to them his use of the Satoshi
key. These meetings would take place at the offices of the PR company in
Tottenham Court Road on Monday, 24 April and Tuesday, 25 April. I found all this a
bit odd: Wright was being difficult, for sure, but the PR strategy was crazily
old-fashioned. Everyone in the cryptography world knew that all Wright had to do
was send an email from the famous Satoshi email address, alert people he was
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going to sign a message using Satoshi’s keys, do so online and move a single
bitcoin from an early block, and the entire internet would light up like Coney Island
for the World’s Fair. The piecemeal feeding of ‘proof’ to these journalists was
compelling but anachronistic. I supposed it was an attempt to get the story out of the
world of crypto-gab and into the real media, but it was set up with an alarming sense
of security paranoia. Wright could never have handled a celebration, but the
journalists were being managed to an extent that might have raised more questions
than it answered. I was just an observer, and was worried about Wright by then,
and, though I believed in him, I felt distinctly that there was something missing and
something wrong.

When I turned up at Starbucks in Tottenham Court Road, Wright, Ramona and
Matthews were already there. Wright was sulking a little. It had been decided that,
as well as the demonstration, the journalists would be given a memory stick to take
away with them, showing the signed Satoshi message. (Wright later told me the
stuff he put on it was fake. There wasn’t anything on there they could understand,
but it certainly bore no relation to any of Satoshi’s keys.) Matthews was dressed
smartly and wearing dark glasses and Wright was wearing a gold tie and a business
suit. Ramona sat beside him stroking his ear. ‘Let me know if you have trouble with
the guys upstairs,’ Matthews said. He meant the PR guys. ‘Sometimes they forget
their role.’ As usual, I found Matthews likeable and easy to talk to, but he seemed
not to appreciate the difference between his way of talking and the circus of
manipulation surrounding us.

Rory Cellan-Jones, the BBC’s technology correspondent, was led into a conference
room with his producer, Priya Patel, and Mark Ward, a technology correspondent for
the BBC News website. Wright sat at his laptop, hardly looking up, and a screen on
the wall showed what he was looking at. Matonis was in the room, and so was
Matthews. Ramona had gone upstairs. Cellan-Jones was decent and professional,
ready to get to the bottom of the story. He appeared to feel the tension, with Wright
already behaving as if being asked questions was grossly humiliating and the
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questioner openly hostile. But Cellan-Jones was not hostile: if anything, he was
mildly pre-convinced, and just going about capturing the story for the layman.

‘When I started out I asked myself what I’d need to see to know if someone who
claimed to be Satoshi was Satoshi,’ Matonis said. ‘And you can break down three
distinct lines of evidence: the cryptographic line, the social line and the technical
line. Obviously, the social and technical lines are going to be more subjective … On
the cryptographic side, I’ll explain what I witnessed personally and give you a lead
up to what Craig’s going to demonstrate this morning.’

He then went into more detail about the cryptographic proof. ‘The Genesis block is
block zero,’ Matonis said. ‘And you can’t spend any of the blocks in that chain –
which means that the ones that come after that (which are spendable) can be
attributed to the creator of bitcoin.’

‘And what would they be called?’ Cellan-Jones asked.

‘In succession they’d be called block 1, block 2 etc. Now this morning, Craig is going
to demonstrate signing blocks 1 through 9. I personally witnessed the signing of
blocks 1 and 9, so this is not going to be a transfer of bitcoins, it’s going to involve a
signing of a message, which he’ll do with the private key and which will be verified
by the public key. Are we clear on that?’

Eventually, Wright asked Cellan-Jones to give him a message. ‘Um. “Hi, historic
message to the BBC.”’ Wright typed the message and added a bit of commentary
as he did so.

‘This message will verify, but if I change a single digit, it won’t,’ Wright said as he
signed the message using block 9.

‘This is the only key that we know is definitely owned by Satoshi because it was
used with Hal Finney,’ Matonis added.
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‘So,’ Cellan-Jones said, ‘just getting this clear in my mind. We’ve seen Craig use a
private key known to have been used with Hal Finney. And we’ve seen it verified
with the public key.’

‘Yes,’ Craig said. Then he proceeded to sign a message with the key associated
with the first ever mined bitcoin.

‘Out of interest,’ Cellan-Jones said. ‘How many bitcoins do you have?’

‘Well, that would be telling,’ Wright said.

‘Do you still mine bitcoins?’

‘Only for fun.’

Wright then went into an aria about Sartre’s speech when he turned down the Nobel
Prize. He planned to use a hash function – which turns information into a unique set
of letters and numbers – to attach Sartre’s famous speech cryptographically to block
9, and then later verify it publicly on his blog. ‘He gave up the prize,’ Wright said,
‘because “If I were to accept it, I’d become the institution.” I never wanted to sign
Craig Wright as Satoshi,’ he continued. ‘I haven’t done this because it’s what I
wanted, I just can’t refuse it. Because I’ve got staff, I’ve got family. It’s what I am
and I’m not going to deny it because that’s not the truth. So I’m choosing to sign
Sartre because it’s not my choice, I’m not choosing to come out, I’ve been thrust
into it.’

‘In what way have you been forced into it?’ Cellan-Jones asked, quite reasonably.

‘I’ve got people mudslinging,’ Wright said. But that wasn’t true: he wasn’t feeling
forced because of what people said. He felt forced, or obliged, to come out because
he’d signed the deal with nCrypt in June 2015. And he deepened the lie when
Cellan-Jones asked him why he hadn’t revealed himself before. ‘I liked to go to
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conferences, put out papers,’ he said. ‘I can’t do that now. I can never just be Craig
again.’

He was asked whether he wanted to be the public face of bitcoin.

‘I don’t want to be the public face of anything.’ He paused and looked down. He then
said that his blog would explain everything and help people to download the
material and understand how the keys work.

‘When does that go live?’ Cellan-Jones asked.

‘Monday or Tuesday.’

‘There will be people out there who will try desperately to prove this isn’t the case.
Are you confident that there are no chinks in your armour?’

‘They’ll say I stole keys, that I buried Satoshi in a ditch, they’ll say all sorts of things.’

The BBC planned to come back the next day with cameras. Then a man arrived
from the ​Economist​, Ludwig Siegele, a man in a grey suit. He was less immediately
friendly but his questions were fine-grained. You could see he wasn’t entirely
comfortable with this very PR-managed way of outing Satoshi. Wright signed a
message for Siegele using block 9, and had the private key verified by the
computer. ‘I’m sorry,’ Siegele said, ‘but I’m still a little unsure what that proves.’

‘It proves I have the private keys,’ Wright said. ‘All the original private keys.’

‘OK, so. The first question that my readers are going to ask is: “Why now?”’

Wright didn’t hesitate. He was using his media training. ‘I’ve tried to avoid media,’ he
said, ‘but it’s starting to affect other people. I’d prefer to stay quiet. Why now? I have
staff, I have family … All the innuendo, the falsehoods.’ He had never suggested to
me, in all our months of interviews, that he was outing himself because of media
misrepresentation. I accepted it, though, when he said it to these journalists,
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imagining that perhaps he had realised that the tax office pressure was the real
pressure in his life, the thing that forced the outing. I said this later to the nCrypt
guys and they agreed.

‘Why conceal your identity anyway?’ Siegele asked.

‘I don’t want to be a public figure,’ Wright said. ‘I hope people don’t listen to Craig
Wright. They will look at the facts, not decide based on what Satoshi says.’

That afternoon, I went to another appointment while Wright went off to Parsons
Green to have his photograph taken for ​GQ​. The next morning, at Starbucks again,
Matthews was ridiculing the whole business with the photographs, and making fun
of the magazine’s original idea that he wear a mask in one photograph and rip it off
in another. Matthews described what happened at the interview with the magazine’s
senior commissioning editor, Stuart McGurk. ‘It actually went quite well,’ Wright told
me. ‘The journalist was nice, but he brought along this complete wanker of an
“expert”.’

The man they were talking about is a university lecturer in cryptology. McGurk
brought him along to help verify the claims. ‘It was hilarious,’ Matthews said. ‘Craig
threw the guy out.’ According to one witness, he’d questioned Wright quite forcefully
about his understanding of public and private encryption keys. ‘He was totally in the
guy’s face at one point.’

‘He was telling me he was more qualified than I am,’ Wright said. ‘It became a nice
interview but this guy was a complete idiot and I told him to get the fuck out.’
Matonis – who was there – said the scene was intense. I wasn’t sure it was wise to
greet dissenters and opponents, even ones who might be wrong, that way, but
Wright was roundly applauded for doing so. I confess I felt it was wrong to tell
journalists only half of the story, allowing them to misunderstand the reason he was
suddenly coming out as Satoshi.
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That day, the BBC came back. Wright was more irate than he had been the day
before and less co-operative now that the camera crew was here. He felt he had
done much more than he had ever wanted to and he said so, mainly under his
breath. The cameraman set up the camera and then Cellan-Jones got into position.
‘So who are you? And what are you about to show me?’ he asked.

‘My name’s Craig Wright, and I’m about to demonstrate the signing of the message
with a key that is associated with the first transaction ever done on bitcoin – a
transaction of ten bitcoin to Hal Finney.’

‘And who did that first transaction?’

‘I did.’

‘And whose name is associated with that transaction?’

‘The moniker is Satoshi Nakamoto.’

‘So you’re going to show me that Satoshi Nakamoto is you?’ Craig looked
bewildered for a second and hesitated.

‘Yes,’ he said.

‘Are you confident that this will prove to the world that you are Satoshi?’

‘It proves I have keys … other things we’ll be releasing will help … Some people will
believe and some people won’t, and, to tell you the truth, I don’t really care.’

‘But you can say, hand on heart, I am Satoshi Nakamoto?’
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‘I was the main part of it. Other people helped. At the end of the day, none of this
would have happened without Dave Kleiman, without Hal Finney, and without those
who took over – like Gavin and Mike.’

‘And this is going to have a huge effect on your life?’

‘Unfortunately, yes.’

Something changed in Wright in those few minutes. With these direct questions
about Satoshi, his sense of himself – I don’t know how else to put it – had come
unstuck and he became noticeably uncomfortable. He said that he wanted to make
the point that people should stop looking to him for answers.

‘Make that point upstairs,’ Cellan-Jones said.

‘Upstairs?’

‘We’re going to film a straightforward interview upstairs, without the computer.’

Wright muttered something and stared into the depths of his computer as if he
wanted to escape into it and never come out. ‘I just want the basis to be on the
computer,’ he said.

The female producer interjected. ‘Because we haven’t actually done that bit on
camera yet,’ she said.

The PR executive came over, a little red in the face. ‘Can we do that bit upstairs?’
he asked. ‘Are we all right to do the “why now?” question upstairs? And we’ll be
done?’

‘You know, I don’t actually watch TV,’ Wright said.

The BBC left the room to scout out the location for the proper ‘sit-down’ interview.
Wright complained to me that he was being pushed. ‘I just didn’t want a big facial
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shot of me,’ he said to the PR man. ‘I preferred to be behind the screen a little bit …
I’m not against it, as long as I can hide behind the screen.’ The PR man said he
didn’t have to do anything he didn’t want.

‘I’m just doing the one question,’ Wright said. The PR man left the room leaving me
alone with him.

‘Does it feel completely against the grain of your nature to be asked, “Are you
Satoshi?” like that?’

‘Yes.’

‘Is it a crude question to you?’

‘Why does it matter, other than that you need someone to attack, someone to deify.
I mean, fuck’s sake. I’ll do this. That’s it. Fuck off. I can dance around saying
“please believe me.” But it’s more than absurd, it’s melting clocks on a landscape.’
At that point, the door opened and the PR consultant came in.

‘Craig,’ he said, ‘we’ve explained to the BBC that you want to stay down here, and
they’re all making the point that this is the last thing you’ll ever do …’

Craig started shaking and pushed his chair back. ‘No! No! No!’ His face was pale.
‘You see this door,’ he said. ‘I don’t want to hear another word. It’s here, it’s my
way.’ Then he walked out and slammed the door, leaving me alone in the room with
the PR boss.

‘We’re only doing our job,’ the boss said, with a shrug. Wright came back a second
later and his microphone pack was trailing behind him.

‘It’s my way or I don’t come back. OK? I’m not doing this for fucking PR stuff, I’m not
doing this for anyone else. I don’t give a fucking shit about what people say, I’d
rather not do it. One word about it and I’ll never come back. Not exaggeration. I will
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never enter this office again. I’ll never answer an email again, and I’ll never talk to
another PR person in my life again … Got it?’

‘Yeah,’ the boss said.

‘Thank you.’

He went out and I was alone with Wright again. ‘They’ve already pushed me,’ he
said. ‘I’m already beyond where I want to be: I’m already doing a TV thing. And
everything is always: “Let’s take it a little bit further, a little bit further.” Which bit of
“Go away” don’t they get?’

I asked him if Kleiman would have handled it better. ‘Better than I do,’ he said. ‘He
would still have told them to fuck off. But in a nicer way. Hal would have done it far
better.’

‘What do you think they’re talking about up there?’ I asked.

‘The fact that I don’t want to jump through their fucking bloody crap. “This man has a
big credibility gap he’s got to overcome, I’m open to being convinced he’s Satoshi
but …”’

The BBC came back downstairs to ask their ‘one question’ and, naturally,
Cellan-Jones asked more than one. In the panicked and hostile mood Wright was
in, he needed scapegoats, and the PR weren’t meat enough and Matthews was too
much the boss. So he scapegoated the BBC, saying, as soon as they left the room,
that they had broken their ‘contract’ with him, that they were liars. ‘I’ll never do any
television interviews again in my life,’ he said. ‘Never.’ And as he said it, I was
imagining him with Fox News or the rottweiler interviewers. ‘The whole thing was
just an attempt to expose me as being something I’m not,’ he said.

‘That was actually a pretty softball interview, Craig,’ I said. ‘You can’t blame them for
turning up and asking for proof.’
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‘Are you talking about proof or evidence? You’re conflating the two. They’re not the
same and that’s one of the things I’m saying. I gave them proof. They want more.’

Wright was happy to lecture you day and night about algorithms, but he wouldn’t
name names, and he struggled to provide real-world evidence of Satoshi’s
footprints. The more I thought about it, the more I realised something was wrong, for
him, with the footprints analogy, because if Satoshi was only one man he would only
have one set of prints. The Satoshi who existed online could be any number of
people. But there was something revealing about his treatment of the BBC –
something not very nice in his attitude to people who make it their business to ask
straight questions – and the handling of the proof sessions made it clear how much
of a danger he was to his own credibility. A month later, when I asked Cellan-Jones
if the PR company had ever explained to him that there was a commercial company
behind the outing of Satoshi, he said he had never been given that information, ‘just
that they were representing the man who was Satoshi’.

Life Rights

At 7.51 A.M. on 2 May 2016 all was quiet on the Twitter front. Well, not quiet, but
the names Satoshi Nakamoto and Craig Wright were nowhere to be seen. This was
the day of reckoning, the day the embargo would lift and the media outlets could run
their pieces and name Satoshi. At 7.55, ​Game of Thrones​ was trending and so was
Gerry Adams, for allegedly using the word ‘nigger’. Also trending was a wildfire in
Fort McMurray and a bombing in West Bengal. There’s a strange feeling of supreme
calm before a storm breaks. At 8 a.m., Wright posted a blog containing the
supposed hash of the Sartre speech and various postings about himself as Satoshi.
At the same moment, Gavin Andresen posted a message to his blog. Title:
‘Satoshi’. ‘I believe Craig Steven Wright is the person who invented bitcoin,’ it
began.

 I was flown to London to meet Dr Wright a couple of weeks ago, after an initial email
 conversation convinced me that there was a very good chance he was the same person
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 I’d communicated with in 2010 and early 2011. After spending time with him I am
 convinced beyond a reasonable doubt: Craig Wright is Satoshi.

 Part of that time was spent on a careful cryptographic verification of messages signed
 with keys that only Satoshi should possess. But even before I witnessed the keys signed
 and then verified on a clean computer that could not have been tampered with, I was
 reasonably certain I was sitting next to the father of bitcoin.

 During our meeting, I saw the brilliant, opinionated, focused, generous – and
 privacy-seeking – person that matches the Satoshi I worked with six years ago. And he
 cleared up a lot of mysteries, including why he disappeared when he did and what he’s
 been busy with since 2011. But I’m going to respect Dr Wright’s privacy, and let him
 decide how much of that story he shares with the world.

 We love to create heroes – but also seem to love hating them if they don’t live up to some
 unattainable ideal. It would be better if Satoshi Nakamoto was the codename for an NSA
 project, or an artificial intelligence sent from the future to advance our primitive money.
 He is not, he is an imperfect human being just like the rest of us. I hope he manages to
 mostly ignore the storm that his announcement will create, and keep doing what he loves
 – learning and research and innovating.

 I am very happy to be able to say I shook his hand and thanked him for giving bitcoin to
 the world.

Also at 8 a.m., with the embargo lifted, the first tweet appeared, from Rory
Cellan-Jones: ‘Craig Wright tells BBC I am bitcoin inventor Satoshi Nakamoto,
publishes evidence backing his claim.’ One minute later, a tweet appeared from
@CalvinAyre, naming Craig Wright as the proven Satoshi. The ​Economist​went one
minute later, with a link to Ludwig Seigele’s open-minded piece asking for more and
better evidence. At 8.09 a.m. Radio 4’s ​Today​ programme broadcast Cellan-Jones’s
report. ‘I’m about to demonstrate the signing of a message with a key that is
associated with the first transaction ever done on bitcoin.’ The report was brief and
quoted Wright once. It said Wright hoped to disappear and that that would be
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difficult. They played the part of the interview where Wright said he was part of the
group behind Satoshi.

‘He sounds plausible,’ Justin Webb, the presenter, said, laughing. Then they played
part of the interview with Matonis, who said he was ‘100 per cent convinced’.

‘Why should people be excited by this?’

‘I put it on the level of the Gutenberg printing press,’ Matonis said.

‘Quite a lot of people are saying that this is as important as the internet,’
Cellan-Jones reported, ‘and that this man – if he is the man – should be celebrated
like Tim Berners-Lee.’

‘Craig Wright has just outed himself as the leader of the Satoshi Nakamoto team,’
the bitcoin insider Ian Grigg wrote on his blog:

  Sometime in summer of 2015 the secret started to spread, and the writing was on the
  wall. An extortionist and a hacker started attacking, perhaps together, perhaps apart; to
  add to the woes, Dr Wright and his companies were engaged in a long harsh bitter battle
  with the Australian Tax Office. Since then, the team has been more or less in hiding,
  guarded, at great expense and at some fear … Satoshi Nakamoto dies with this moment.
  Satoshi was more than a name, it was a concept, a secret, a team, a vision. Now Satoshi
  lives on in a new form – changed. Much of the secret is gone, but the vision is still there.
  Satoshi Nakamoto is dead, long live Satoshi. Yet, a warning to all. Satoshi was a vision,
  but Craig is a man. The two are not equal, not equivalent, not even close … It is true that
  Craig is the larger part of the genius behind the team, but he could not have done it
  alone.

Over the following two hours the words ‘Craig Wright’ were typed into search
engines tens of thousands of times, and the Reddit forums and the cryptocurrency
community got to work. Meanwhile, I was being copied into the emails sent from the
PR company to nCrypt and the Wrights. It issued a press release spreading the
news to less favoured outlets. ‘Wright’s decision to go public follows a series of
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misleading statements that are circulating and which he seeks to set straight,’ the
release said. ‘Wright has also launched a blog, with a vision to create a forum about
bitcoin, which dispels myths and helps to unleash its full potential. He will create a
space to provide developers and producers with the real facts about the technology
so as to encourage the widespread use of bitcoin and the blockchain.’

‘Great start!’ the top PR man wrote to the group at 9.31 a.m.

‘Ta. All going well,’ Wright wrote just before ten.

‘All going to plan,’ the second PR man echoed a few minutes later.

‘Right on course so far,’ the first PR man wrote at 10.13 a.m. And that was the last
of the good news to come from the world of public relations.

By midday the blog was receiving the wrong sort of attention. A number of
researchers had studied what Wright had written and noticed that the explanation
was fudged – worse than fudged, it was faked. Something that he said was signed
with the Satoshi key had, in fact, been cut and pasted from an old, publicly available
signature associated with Nakamoto. It was astonishing and the buzz quickly grew
fierce. All those hours in secret flats scrolled through my head. There had always
been something missing, something he hadn’t wanted to show. But was that
because he wouldn’t, or because he couldn’t? The thought that he would fake proof
so publicly and so coarsely was hard to comprehend. He sent me an email. ‘They
changed my blog post,’ he wrote. ‘It will be back as I wanted. But first I need to
negotiate with Stefan.’ And I replied: ‘How did they change it?’

I thought he was lying. He had lied before, but to lie so transparently and so publicly
made me think he had lost his mind. There was no way to square such actions with
his wish to have no publicity. He had faked his own proof, and now he was being
ripped apart on the internet. I briefly wondered if he might be enjoying the cries of
execration, but how could he do that to Andresen and Matonis? Suddenly his
opponents seemed wiser and greater in number. It took me a few days to see that
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Wright’s action might be consistent with something deeper in his character. He
never wanted to come out and when it came to it he flunked his own paternity test.
But I had a feeling that that he was too close to the invention to be a simple hoaxer.

‘I will explain why I think he’s probably not Satoshi,’ said Vitalik Buterin, a big wheel
in the cryptocurrency scene, speaking at Consensus, a bitcoin conference in New
York that day. A friend of mine was there. He said that men had started the day
high-fiving and shouting ‘Satoshi, baby’, but that as the long day closed, his name
became the punchline of every joke. Core developers and others were calling for
him to sign something new and in public right away, using the Genesis block, which
is unquestionably Nakamoto’s. One of them, Peter Todd, was quoted by ​Forbes​: ‘All
Wright needs to do, says Todd, is to provide a signature on the message “Craig
Wright is Satoshi Nakamoto” signed by a key known to be Satoshi’s. “This is ​really
easy to do … if you’re actually Satoshi. Also, you’ll know sufficient proof has been
provided when it actually happens, because cryptographers will be convinced.”’

That was the strangest element of all: Wright must have known, having been a
cryptographer all his adult life, that his fraud would be spotted immediately. But
when I asked him about it he said it wasn’t a fraud, it was a mistake. ‘I cut and
pasted something just for the time being but knew I would change it later,’ he said.
‘But then it went up.’ That rang hollow to me, the words of a falling man. He
intentionally faked it. I believed at that point that he had misled his colleagues and
tried to get out of being Satoshi, which isn’t necessarily the same thing as not being
him. ‘I can’t think of a more convoluted way to go about claiming one is Satoshi than
what Craig Wright has done so far,’ Jerry Brito, the executive director of Coin
Center, told the ​Daily Beast​. ‘He’s provided no cryptographic evidence verifiable by
the public, and many of his answers sound plain fishy.’ Emin Gün Sirer, a Cornell
professor who had criticised Wright before, referred to Wright’s ‘meta-modernist
play’.

The next day, I turned up at MacGregor’s office and found him sitting with Matthews
in a dark meeting room. They were hunched over the desk, exhausted and
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shellshocked. When I asked them what happened MacGregor shook his head. It
was the first time in six months I’d heard him sounding incoherent. ‘Craig
happened,’ he said. ‘He got cute with the math. He has been trying to get consent
from the trustees to get the private keys … But he wasn’t allowed access to coin or
to do anything other than that. So what he was trying to do was re-sign a message
…’ Matthews butted in, saying Wright never had authorisation from the trust to use
the key publicly or let anyone take it away.

‘Why didn’t he just say that?’ I asked.

‘You tell me,’ Matthews said. MacGregor went on to explain how a signed message
can be used nefariously by people with enough computing power. He said the
trustees didn’t want anyone analysing those blocks. I’m not sure if he was grasping
at straws, but what he said didn’t explain the suddenness or the fraudulence of what
Wright had done. MacGregor said that he and Matthews had since been with Wright
and indicated that the encounter had been shouty and ugly. But he said it was OK
now. ‘We have verbal consent from the trustees to move coin, and we’re just waiting
on the written consent.’

MacGregor and Matthews had been in the meeting room for hours trying to work
everything out. They thought it could all still be kept on track. MacGregor was
writing new blog posts for Wright. He asked for my help with one of them and I
explained that I had now to distance myself from the whole thing. I had got too
close. MacGregor said they were going to ‘flood the blog with evidence’ and get
Wright to ‘move’ some of the Satoshi bitcoin, to transfer it to someone else in a way
that only someone in possession of Satoshi’s private keys could do. Andresen had
agreed to be on the other end of the coin transaction.

‘Craig is being mauled out there,’ I said.

Rob removed his glasses. ‘The first meeting we had with him yesterday ended with:
“You’re fired. Buy a ticket to Sydney. You fucked us. Good luck with the ATO.”’
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‘He didn’t sleep last night,’ Matthews said. ‘He looks fucking terrible.’

‘He risks destroying his entire reputation.’

‘His and ours,’ MacGregor said. ‘I’ve been taking meetings with investment bankers
for the last two months. I’ve pulled every string I know to get meetings with Google
and Uber. If he goes down in flames, I’ll go down with him. I mean, he’s fucked me.
Millions of dollars out of my pocket, nine months out of my life. But what we have
now is a very pliant Craig Wright. We’re going to drag this back from the brink.’

‘It’s a big task, Rob,’ I said.

‘We finally beat him to a pulp today. No more decisions. This is what we’re going to
do, because he knew the next move was pack your toothbrush and get on a plane
and good luck in Australia.’ MacGregor told me he’d started Monday morning on an
unbelievable high. ‘I can’t believe we kept all the puppies in the box this whole time,’
he’d thought to himself. ‘Nobody broke embargo, holy shit this is going to work. And
then … ’

We spoke about Wright’s possible lies. I said that all through these proof sessions,
he’d acted this like this was the last thing he ever wanted.

‘That’s not true,’ MacGregor said. ‘He freaking loves it. Why was I so certain he’d do
that BBC interview the next day? It’s adoration. He wants this more than we want
this, but he wants to come out of this looking like he got dragged into it.’ He told me
if everything had gone to plan, the groundwork was laid for selling the patents. It
was a really big deal. He said Ramona had said that if Wright doesn’t come out you
still have this really smart guy who has made all these patents, who knows all about
bitcoin. ‘Yeah,’ MacGregor said. ‘You and five hundred other guys who have called
today.’ I shook their hands and wished them luck, thinking I would probably never
see the men in black again. And as I descended in the lift, I thought I would miss
their brio and their belief, despite everything.
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Craig was lost in some labyrinth of his own making, or mostly of his own making. He
didn’t want to be Satoshi. And he didn’t want to be Craig. And he didn’t want to be a
letdown. And yet the message boards lit up and the walls closed in. Over the next
24 hours, he agreed to move Satoshi’s coin and his blog advertised the fact. It said,
‘Extraordinary claims require extraordinary proof,’ and he was set to provide it.

The next day, Wednesday, 4 May, Matthews was at Wright’s house organising the
movement of coin. The new (and final) proof session was intended to blow away the
doubts created by the first. Many commentators felt it was too late, that Wright was
beyond the pale, but Matthews and MacGregor had agreed with Andresen that the
movement of coin, to Andresen and also to Cellan-Jones at the BBC, would undo
the damage. Wright spoke to Andresen on the phone from his house – Andresen
was in New York – and told him he was worried about a security flaw in the early
blockchain, a problem in the way those first blocks were constructed that would
make it dangerous for him to move coin, exposing him to exploitation or theft. My
sources say that Andresen understood the problem and confirmed that it was all
right, it had been fixed. But Wright continued to worry and was showing great
reluctance about offering the final proof. Then he left the room abruptly and didn’t
come back.

The next day, he sent me an email. It linked to an article headlined ‘UK Law
Enforcement Sources Hint at Impending Craig Wright Arrest’. The article suggested
that the father of bitcoin might be liable, under the Terrorism Act, for the actions of
people who used bitcoin to buy weapons. Under the link, Wright had written an
explanation: ‘I walk from 1 billion or I go to jail. I never wanted to be out, but if I
prove it, they destroy me and my family. I am the source of terrorist funds as bitcoin
creator or I am a fraud to the world. At least a fraud is able to see his family. There
is nothing I can do.’

He was devastated. He was the runner who failed twenty yards short of the finishing
tape, the man who froze at the moment of truth, and started walking backwards. He
said he feared prosecution on the one hand and humiliation on the other. The
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borstal boy in Alan Sillitoe’s ​‘​The Loneliness of the Long Distance Runner’ comes
from a family who make much of running, ‘especially running away from the police’.
He hates being understood, feels authority is only there to grind you down, and
holds on to his essential privacy, knowing ‘they can’t make an X-ray of our guts to
find out what we’re telling ourselves.’ The boy lives on his own terms, which means
not faking it for power, even when the pressure is high and the rewards are obvious.
So he refuses to win. Representing the borstal in a championship race he is well
ahead of the other runners, but he stops, and lets them pass, and at the end jogs up
to the tape: ‘I got to the rope,’ Sillitoe writes, ‘and collapsed, with a
murderous-sounding roar going up through my ears while I was still on the wrong
side of it.’ In another email that day Wright wrote: ‘Andrew, I don’t know what I can
say. If I was to do the proof and save myself, I damn myself.’ That afternoon, he
closed down the blog – the one that was intended to lead cryptocurrency fans into a
new era – but left a final posting:

  I’m sorry. I believed that I could do this. I believed that I could put the years of anonymity
  and hiding behind me. But, as the events of this week unfolded and I prepared to publish
  the proof of access to the earliest keys, I broke. I do not have the courage. I cannot.
  When the rumours began, my qualifications and character were attacked. When those
  allegations were proven false, new allegations have already begun. I know now that I am
  not strong enough for this. I know that this weakness will cause great damage to those
  that have supported me, and particularly to Jon Matonis and Gavin Andresen. I can only
  hope that their honour and credibility is not irreparably tainted by my actions. They were
  not deceived, but I know that the world will never believe that now. I can only say I’m
  sorry.

  And goodbye.

                                                 *

The next morning I drove through the traffic to a London suburb. It was early in the
day and the high streets were empty, the happy boutiques, the delis and the
wicker-and-candle dens where people come to improve their mood or do something
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about their lifestyle. Craig and Ramona were sitting in the corner of a popular café.
They were holding hands and staring at the table. He was wearing his Billabong
T-shirt – I remembered it from his description of the clothes he’d bought in Auckland
when he began his long-distance run last December. He looked as he’d looked the
first night I met him in Mayfair: unshaven, unslept, the scar on his face more livid,
his pupils like pinpricks and his breathing heavy. He wasn’t just white, he was
empty-looking, and his hands were trembling. Ramona was crying. The light of the
café seemed too much for the darkness enclosing them. I went to shake his hand
but we hugged instead, and it was like embracing a drowning man. He hadn’t really
slept since Monday and this was Friday. He wasn’t drinking his latte, he made
clouds on the spoon, and stared.

‘Well, it was worth about a billion dollars to them,’ he said. Ramona talked about jail
and I asked if they were afraid of being prosecuted.

‘They say it’ll never happen,’ she said. ‘Of course it will … So how can he? How can
he?’ He spoke of men he knew who had sold bitcoin and had been prosecuted for
money-laundering and said they might try to do that to him. ‘It was always a present
danger,’ Ramona said. MacGregor, Wright alleged, had always had a plan to move
him if necessary to Manila or Antigua if it looked like he might be arrested.

‘It’s always been incremental,’ Craig said. ‘One step, one step, and nobody realises
that eventually that takes you over a precipice.’

‘That’s the thing,’ Ramona said. ‘Your happiness doesn’t count at all. But now we’re
stuck. You come out – you go to jail. You don’t come out – you’re a fraud. It’s got to
the point where it’s almost better if he’s a fraud.’

‘So what happened on Monday,’ I asked, ‘when it came to writing that blog?’

‘I gave them the wrong thing,’ he said. ‘Then they changed it. Then I didn’t correct it
because I was so angry. Which was stupid. I put up the wrong one. No one wants
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SN. I will never be SN. I’m not personable. You can lock me in a room and I’ll write
papers, I’ll never be personable.’

Ramona was crying. ‘They could take us down,’ she said. ‘They could really take
you down if they want to.’

They spoke about moneymaking ventures Wright was involved in a long time ago.
Wright alleged Matthews knew about these activities, which was true, because
Matthews had mentioned them to me.

‘I just couldn’t do things anymore,’ he said. ‘That’s all.’

They wanted to talk about the trust, but they didn’t really explain it. He said it was to
hide the bitcoin. ‘It’s not meant to be spent,’ he said. ‘Too many problems.’

‘It’s also a guarantee that you can’t flood the market,’ Ramona said. ‘That we can’t
use it to pay the bills, no matter how desperate things get.’ When I asked who the
trustees were they went quiet.

Ramona began to worry about my story. She tried to strong-arm me. She began to
tell me what I should say and what I shouldn’t say and how I should hide from
MacGregor and Matthews the comments she and Wright had made about them. ‘I
want to write the truth,’ I said.

She said I knew too much. She said that Craig would go to jail or harm himself if I
told everything I knew. I was stunned. There were many things that were said to me
by every party in this story that I would choose not to print. Not only things they said
about one another, but business arrangements and unsubstantiated allegations
about the past, and things I knew in the present. But I had been recording this as a
documentary from the start, as I’d said I would when we met at Claridge’s in
December. Now I was being told that my material was too hot and my story posed a
threat.
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Craig suddenly got very upset. His face crumpled and he put his head in his hands.
‘And the Brits have their equivalent of Guantánamo Bay as well,’ he said. ‘I’ll never
write, I’ll never see anyone. I’ll be in a little room. I won’t even have a pen and
paper. I won’t see my wife again. I’ll never see …’ He sobbed and was inconsolable.
‘I’ll never write again.’

‘They won’t do that,’ Ramona said. I suggested they might get a lawyer to advise
them on the possible threats they faced. Ramona said it was too expensive. She
said the bills would run into the millions. Craig talked about Ian Grigg and others
who’d ‘outed’ him last year by nominating him for various awards. Satoshi was
nominated for a Nobel Prize and a Turing Prize. Wright told me that people in the
bitcoin community wanted him to come out and receive recognition. He said it had
never been in his interest to come out, but in other people’s interest. ‘I don’t care if
people like my work,’ he said. ‘I just have to ​do​ my work. That’s the only thing that’ll
keep me sane.’

‘I would like that his reputation gets redeemed but I don’t know if that’s possible,’
Ramona told me. ‘This is what I propose, if you can do it, you do it, if you can’t, it’s
up to you. If [you say] he didn’t choose to come out … then the company gets put in
the spotlight. If you say you know he is Satoshi then we’re in trouble. If you say you
have your doubts then he looks like a fool.’

I’m sure I looked at her disbelievingly. ‘You’re basically saying that every version of
the truth of this story is untellable.’

‘But if you say it, Andrew …’

‘If you were sure that this could never be said in the end, then you should never
have allowed it to happen.’

‘It was one step, then one step …’ Craig said, again.
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‘And you let a writer into your life?’ I said.

‘Do you know how much this meant to me?’ Craig said. ‘The company. The people.
To be doing that. To get all these papers out. To be in that position. It’s my idea of
heaven, but the cost is hell.’

‘If we didn’t co-operate with you,’ Ramona said, ‘they’d stop …’

I reminded them that every time I’d tried to walk away from this story – like when
they tried to make me sign an NDA – she’d begged me to come back. I told them
that full disclosure was much less damaging than any other option. Naturally
enough, that was my view.

‘No one wants to believe me,’ Craig said.

‘And I think that’s great,’ Ramona said. ‘It’s great that no one wants to believe you.’

Craig said he’d ​filed all these patents​ and they were all from him, ​‘not just Dave’​.

‘What do you mean,’ I asked. ​‘“Not just Dave?”’

‘I mean I wrote those patents,’ he said. ‘It means I knew all this shit.’

‘Have you been able to talk to Matonis or Andresen?’ I asked.

‘No,’ Ramona said. ‘I don’t know if they’ll even talk to us.’

‘I think you should have some crisis management advice.’

‘From who?’

‘From a therapist.’

‘We don’t have time for that,’ she said.
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I walked home with them and he slumped on a sofa, looking wan, gone. ‘His mental
health is fucked,’ she said to me when he was out of the room. ‘If he goes to jail,
he’ll kill himself. I can’t leave him alone.’

When he returned he seemed almost paler than before. ‘This is all because I wrote
code,’ Craig said. ‘Not because I blew up something, because I wrote code.’

‘Just out of interest,’ I said. ‘If you are a fraud … How hard a fraud would it have
been to perpetrate?’

‘It would be the best one in human history,’ Craig said. ‘It’d be Ronnie Biggs on
steroids times a million. I invented a new form of money. Who has ever had
anything to do with money that wasn’t to do with government? Who has ever really
succeeded?’

‘You mean it’s a thankless task?’

‘It’s always Prometheus,’ he said.

                                                *

This was a story in which everybody wanted their story told, then untold, then
hidden, back in the vaults. It seemed like a very new story, but, in fact, it was a very
old one, a story of metamorphosis, and of Prometheus unbound. Craig Wright
proved cryptographically that he had Satoshi’s keys, his emails seemed to show his
involvement, his science extrapolated on the technology of the blockchain, and he
spent a full year engaged in a business plan to reveal it all. But, when it came to it,
he behaved like a fraud, he shape-shifted and he dissolved.

I began to wonder whether Craig Wright might be a man who had never known who
he was, a missing person, constantly in discussion with some inner lost boy, unable
to bear the conditions which forced him to say definitively who he was. Some
people, it could be said, ​really​ aren’t anyone, in the sense that the complications of
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being themselves have wiped them out. The internet eats its own ciphers, and
Wright is one of them. He might have sabotaged his own proof or simply flunked the
paternity test because he isn’t the right man, but his own doubts about himself are
the real drama. He was sick, he was brilliant, he was manipulative – but much of
what he said was true. And as I drove away that morning, it was the sickness that
seemed predominant. Wright was a clever man who had gone to the very end of
himself to prove who he wasn’t. ‘We are all Satoshi now,’ became a tagline for
bitcoin’s early fans. And in the end we all are Satoshi, and we’ll begin to accept it as
paper currency starts to look stale, and our minds merge with our computers. There
are new networks up ahead that will have grown from the seed Satoshi planted, and
it was odd, after all my travels, to believe that the only man who wanted to opt out of
being Satoshi was Craig Wright. A week after his ‘proof sessions’ with the BBC and
others, he was in complete disgrace, his corner office at nCrypt had been emptied
and his leather sofas had disappeared, removed from the building with the signed
Muhammad Ali picture and the rest of his stuff. Without ceremony, the best room in
the office became a conference room and his name was spoken in whispers.

My last meeting with MacGregor and Matthews was a time of conjecture and anger,
devastation and apology. They felt Wright had perjured himself, and for no good
reason. He had never admitted to problems with the trust, problems that would,
though he hadn’t admitted it, make the Satoshi reveal very difficult for him. They still
believe, as do Andresen and Matonis, that he is Satoshi. To them, there is just too
much evidence to accept Wright’s late attempt to cloak himself in deniability. But no
matter. He was now fired, they said, and the deal with Google was off. ‘He put a gun
to our head and pulled the trigger,’ MacGregor told me. ‘The world is still going to
think we got fooled, but I know the facts. He has the keys.’ There was a moment in
our meeting when I realised this had gone all the way to the bone with MacGregor.
He said he never wanted to see Wright again. ‘This was supposed to be so noble,’
he said, ‘and it became so dark.’ Matthews told me that Wright’s office, his house,
his job, his work visa, everything, was set to go. They had spent as much as $15
million and maybe lost a billion. MacGregor said the PR company would never deal
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with him again, and there were investment bankers who weren’t picking up his calls.
A way would be found, however, to continue developing the blockchain technology.
The company would go on. MacGregor shook his head. The whole thing was
unfathomable. It was baffling. For no obvious reason Wright had found a way to
disappear back into the shadows.

Coda

He seemed to miss me. Craig wanted to meet. It was a few weeks after the abortive
‘reveal’ and I saw when I got to Patisserie Valerie that he was happy again and
ready to take on the world. ‘It was unfair of me to request you not to publish certain
things about our situation,’ Ramona had written to me in an email. ‘As you said, you
have a debt to the truth, and that is as it should be.’ And yet, as we all know, the
truth has more faces than the town clock.

Wright told me in Patisserie Valerie that he felt free again. He had lost a third share
in a billion dollars but he felt unburdened. He was sorry to have let good people
down but now he could work in peace. Sherlock Holmes’s central precept came into
my mind. ‘When you have eliminated the impossible, whatever remains, however
improbable, must be the truth.’

‘Do you want to know what I think?’ I said to him after he told me again that all
would be well from now on.

‘Yes.’

‘What if you were 30 per cent Satoshi. You were there at its formation and you were
part of a brilliant group. You coded and you synthesised other people’s work and
you shared in the encryption keys. Then, some time in the last year, you upgraded
yourself to 80 or 90 per cent. You were already a lot more Satoshi than anybody
else has been hitherto, but the deal, in your eyes, required you to be more and in
the end you couldn’t carry that off.’
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‘No,’ he said. And he flew off on a tangent about elliptical curves and the nature of
the blockchain and how he never wanted to be a deity. I turned off my recording
head at that point and stared through him.

Outside the café, he shook my hand. I knew I would never see him again. For six
months we had allowed each other to think we were friends – subjects need
storytellers, and storytellers need subjects. There had been a time when he’d
imagined that I could free him from his fictions and build him a new story in reality. I
was a willing stenographer, thinking Wright was something perhaps bigger than
Satoshi. He was the internet’s habit of self-dramatisation and self-concealment all at
once; its new sort of persona. What he actually did may never be known. Either he’s
one of the greatest computer scientists of his generation, or he’s a reckless
opportunist, or he’s both. We can’t be sure. But there he was, standing in Old
Compton Street in the pouring rain, saying sorry.
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Introduction

Overview
Baker & McKenzie LLP has been engaged by EITC Holding Ltd (“EITC") to help inform its
management of the potential value of the blockchain technology currently being developed by
the group.
We understand that EITC is seeking to market and potentially sell all, or part of, its portfolio of
technology from early 2017 hence the need to understand its potential value.
This presentation summarises:
•   the valuation methodologies applied and analysis performed; and
•   the initial data points identified to benchmark the potential value of the blockchain IP
    owned (being developed) by EITC.


Scope and Limitations
•   The analysis performed has relied on information and data provided by EITC and other
    third parties. We have not independently audited or otherwise verified information
    identified or provided to us.
•   Our work will not seek to verify the validity of the technical capabilities and applications of
    the technology being developed by EITC.
•   We do not express an opinion or offer any form of assurance regarding the accuracy of the
    information, financial data or its completeness.
•   The analysis performed also focuses on the evaluation of the blockchain technology being
    developed as a standalone asset. Specifically the work undertaken does not consider:
    •   The structure of the investment and IP holding structures in place in Antigua.
    •   Licensing arrangements (as we have not reviewed the group’s IP holding structure).
    •   Any potential retention or on-going contractual obligations of key employees.

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Benchmark analysis
Market Multiples Approach
                                                                                                        Relative     Year of                                                   Acquisitio    Average    Acquisitio
                                                                                                       size of the incorporati   Funding    Implied    Acquisitio   Funding     n / max #   value per    n / min #
                                               Company                       Area of focus             Company         on          ($m)    valuation    n ($m)      multiple   employees    employee    employees
                                     Circle                    Payments, Wallet                         51-200        2013         136       480                      3.5         2.4          5.9         9.4
      >$50M Total Funding




                                     Coinbase                  Exchange, Wallet, Payments, Platform     51-200        2012        142.5     500.5                     3.5         2.5          6.2         9.8
        Needham Report




                                     Ripple                    Payments, Clearing & Settlement,         51-200        2012         100       410                      4.1         2.1          5.0         8.0
                                                               Private Blockchain, Software, FX,
                                                               Platform
                                     Bitfury                   Transaction Processing                   51-200        2012         90
                                     Digital Assets Holdings   Clearing and settlement, Software,       51-200        2014        67.2
                                                               Private & Public Blockchains
                                     21.co                     Full-stack infrastructure for Bitcoin     11-50        2013        121.1      362                      3.0         7.2         20.1         32.9
      Suggested
      by nCrpyt




                                     Blockstream               Crypto currencies, open assets and        11-50        2014        77.3      77.28                     1.0         1.5          4.3         7.0
                                                               smart contracts
                                     R3 CEV                    Crypto, exchange and venture practice    51-200        2014                               200*                     1.0          2.5         3.9
                                     INVeSHARE                 Voting technology                         11-50        2008        16.5                    135         8.18        2.7          7.5         12.3
ADVANTA
MarketLin


   GE




                                     Juzhen Financials         Clearing and settlement solutions                      2014         23
    e




                                     Align Commerce            Global payments                           11-50        2014        20.25
                                     Crosswise                 Big data and machine learning             11-50        2013          5                     50          10.0        1.0          2.8         4.5
 potential comparable acquisitions




                                     DeepMind                  Artificial Intelligence                    75          2010         50                     400         8.0         5.3          5.3         5.3
                                     Magic Pony Technology     Machine Learning and computer vision      11-50        2014         N/A                    150                     3.0          8.3         13.6
       early stage high tech




                                                               techniques for video compression
           Pre-revenue or




                                                               performance
                                     Nervana Systems           Deep Learning                            51-200        2014        24.4                    350         14.3        1.8          4.3         6.9
                                     Oculus                    Virtual reality                         501-1000       2012        96.0                   2000         20.8        2.0          3.0         4.0
                                     Otto                      Self-driving technology                    91          2016         N/A                    680                     7.5          7.5         7.5
                                     SwiftKey (Touchtype       Typing technology                        51-200        2008        21.6                    250         11.6        1.3          3.1         4.9
                                     Limited)
                                     Turi                      AI and machine learning                   11-50        2013        25.3                 100-200*       5.9         3.0        8.3           13.6
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Benchmark analysis
Market Multiples Analysis

Case 2           Valuation based on blockchain companies only                          Case 3   Valuation based on other tech start-up comparables only               Case 4   Valuation based on combined set

                 Using EITC 2016 Metrics                                                        Using EITC 2016 Metrics                                                        Using EITC 2016 Metrics

                                                         Funding        Employees                                                        Funding          Employees                                                   Funding     Employees

                 EITC Metrics                                    24              36             EITC Metrics                                   24                36            EITC Metrics                                24              36



                                    Acquisition /                      Acquisition /                               Acquisition /                      Acquisition /                              Acquisition /                   Acquisition /
                       Funding            max #     Average value            min #                    Funding            max #     Average value            min #                    Funding           max #     Average value         min #
Range £m               multiple      employees      per employee        employees                     multiple      employees      per employee        employees                     multiple     employees      per employee     employees

Minimum                    24 5             36 0                88 6          141 2                      145 5              36 0              99.8            143.7                      24.5             36.0            88 6          141 2

Lower Quartile             76.4             64.7            167 9             271 2                      208 2              58 5            110.0             173.3                      86.3             59.3           132 5          184 2

Average                    95 2            100 0            264.4             428 9                      288 6             111 6            191.7             271.7                     191.9            106.2           225 6          345.1

Median                     86.2             86.4            212.6             338.8                      264.3              90.0            173.5             219.5                     170.7             86.4           192.0          269.0

Upper Quartile             96.9             93.6            245.6             397.6                      334.4             129.0            276.6             324.5                     254.6            108.0           269.3          397.6

Max                       200.4            260 6            722.7            1184.7                      510 5             269 0            299.5             490.9                     510.5            269.0           722.7         1184.7




Case 5           Valuation based on blockchain companies only                          Case 6   Valuation based on other tech start-up comparables only               Case 7   Valuation based on combined set

                 Using EITC 2017 Metrics                                                        Using EITC 2017 Metrics                                                        Using EITC 2016 Metrics

                                                         Funding        Employees                                                        Funding          Employees                                                   Funding     Employees

                 EITC Metrics                                    31              36             EITC Metrics                                   31                36            EITC Metrics                                31              36



                                    Acquisition /                      Acquisition                                 Acquisition /                      Acquisition /                              Acquisition /                   Acquisition
                       Funding            max #     Average value            min #                    Funding            max #     Average value            min #                    Funding           max #     Average value         min #
Range £m               multiple      employees      per employee        employees                     multiple      employees      per employee        employees                     multiple     employees      per employee     employees

Minimum                    31 2             36 0                88 6          141 2                      185 6              36 0              99.8            143.7                      31.2             36.0            88 6          141 2

Lower Quartile             97 5             64.7            167 9             271 2                      265 6              58 5            110.0             173.3                     110.1             59.3           132 5          184 2

Average                   121.4            100 0            264.4             428 9                      368 2             111 6            191.7             271.7                     244.8            106.2           225 6          345.1

Median                    110.0             86.4            212.6             338.8                      337.1              90.0            173.5             219.5                     217.8             86.4           192.0          269.0

Upper Quartile            123.6             93.6            245.6             397.6                      426.5             129.0            276.6             324.5                     324.8            108.0           269.3          397.6

Max                       255 6            260 6            722.7            1184.7                      651 2             269 0            299.5             490.9                     651.2            269.0           722.7         1184.7


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